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entitled, subject to the second paragraph of this Section 2.5, to all the benefits       of this Indenture equally and
proportionately with any and all other Notes duly issued hereunder.

         The provisions of this Section 2.5 are exclusive and shall preclude (to the extent lawful) all other rights and
remedies with respect to the replacement or payment of mutilated, defaced, destroyed, lost or stolen Notes.

                          Section 2.6 Payment of Principal and Interest;    Rights Preserved.

           (a)     Interest. Each Class of Notes shall accrue interest during each Interest Period applicable to such
Class at the applicable Note Interest Rate. Interest on each Class of Notes shall be due and payable on each
Distribution Date; provided that (i) payment of interest on the Class B Notes is subordinated to the payment on each
Distribution Date of the interest due and payable on the Class A Notes (together with Defaulted Interest thereon and
interest on such Defaulted Interest, if any), (ii) payment of interest on the Class C Notes is subordinated to the
payment on each Distribution Date of the interest due and payable on the Class A Notes and the Class B Notes
(together with Defaulted Interest thereon and interest on such Defaulted Interest, if any), (iii) payment of interest on
the Class D Notes is subordinated to the payment on each Distribution Date of the interest due and payable on the
Class A Notes, Class B Notes and Class C Notes (together with Defaulted Interest thereon, interest on such
Defaulted Interest and Deferred Interest with respect to such Class, if any), (iv) payment of interest on the Class E
Notes is subordinated to the payment on each Distribution Date of the interest due and payable on the Class A
Notes, Class B Notes, Class C Notes and Class D Notes (together with any Defaulted Interest thereon, interest on
such Defaulted Interest and Deferred Interest with respect to such Classes, if any), (v) payment of Excess Interest in
respect of the Preference Shares is subordinated to the payment on each Distribution Date of the interest due and
payable on the Notes (together with any Defaulted Interest thereon, interest on such Defaulted Interest and Deferred
Interest with respect to the Notes, if any), and (vi) payments of interest on the Notes and Excess Interest in respect of
the Preference Shares are subordinated to the payment on each Distribution Date of other amounts in accordance
with the Priority of Payments. Except as provided in Article X, Sections 12.1, 12.2 and 16.1, no payment shall be
made by the Issuers hereunder other than on a Distribution Date.

          So long as any Class A Notes or Class B Notes are Outstanding, any interest due on the Class C Notes
which is not paid as a result of the operation of the Priority of Payments on any Distribution Date shall not be
considered "due and payable" for the purposes of Section 5.1(a) and shall be added to the Aggregate Outstanding
Amount of the Class C Notes. Deferred Interest in respect of the Class C Notes accrued to any Distribution Date
shall bear interest at the Class C Note Interest Rate and shall be payable on the first Distribution Date on which
funds are permitted to be used for such purpose in accordance with the Priority of Payments.

           So long as any Class A Notes, Class B Notes or Class C Notes are Outstanding, any interest due on the
Class D Notes which is not paid as a result of the operation of the Priority of Payments on any Distribution Date
shall not be considered "due and payable" for the purposes of Section 5. l(a) and shall be added to the Aggregate
Outstanding Amount of the respective Class D Notes. Deferred Interest in respect of the Class D Notes accrued to
any Distribution Date shall bear interest at the Class D Note Interest Rate and shall be payable on the first
Distribution Date on which funds are permitted to be used for such purpose in accordance with the Priority of
Payments.

           So long as any Class A Notes, Class B Notes, Class C Notes or Class D Notes are Outstanding, any interest
due on the Class E Notes which is not paid as a result of the operation of the Priority of Payments on any
Distribution Date shall not be considered "due and payable" for the purposes of Section 5.1 (a) and shall be added to
the Aggregate Outstanding Amount of the respective Class E Notes. Deferred Interest in respect of the Class E
Notes accrued to any Distribution Date shall bear interest at the Class E Note Interest Rate and shall be payable on
the first Distribution Date on which funds are permitted to be used for such purpose in accordance with the Priority
of Payments.

       Upon the payment of Deferred Interest with respect to a Class of Notes, the Aggregate                Outstanding
Amount of such Class of Notes will be reduced by the amount of such payment.




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          (b)      Principal. The principal of each Note shall be due and payable in accordance with the Priority of
Payments on each Distribution Date commencing on the First Distribution Date, and in no event later than the Stated
Maturity thereof unless the unpaid principal of such Note becomes due and payable at an earlier date by declaration
of acceleration, call for redemption or otherwise;

                    provided that, so long as any Class A Notes are Outstanding, except as provided in Article IX and
          the Priority of Payments, the payment of Principal Proceeds to the Class B Notes, the Class C Notes, the
          Class D Notes and the Class E Notes and the payment of Excess Principal Proceeds in respect of the
          Preference Shares (x) may only occur after principal of the Class A Notes has been paid in full and (y) shall
          be subordinated to the payment on each Distribution Date of the principal and interest due and payable on
          the Class A Notes and other amounts payable in priority thereto in accordance with the Priority of
          Payments;

                    provided further that, so long as any Class A Notes or Class B Notes are Outstanding, except as
          provided in Article IX and the Priority of Payments, the payment of principal of the Class C Notes, the
          Class D Notes and the Class E Notes and the payment of Excess Principal Proceeds in respect of the
          Preference Shares (x) may only occur after principal of the Class A Notes and the Class B Notes have been
          paid in full and (y) shall be subordinated to the payment on each Distribution Date of the principal and
          interest due and payable on the Class A Notes and the principal and interest due and payable on the Class B
          Notes and other amounts payable in priority thereto in accordance with the Priority of Payments;

                   provided further that, so long as any Class A Notes, Class B Notes or Class C Notes are
          Outstanding, except as provided in Article IX and the Priority of Payments, the payment of principal of the
          Class D Notes and the Class E Notes and the payment of Excess Principal Proceeds in respect of the
          Preference Shares (x) may only occur after principal of the Class A Notes, Class B Notes and Class C
          Notes have been paid in full and (y) shall be'subordinated to the payment on each Distribution Date of the
          principal and interest due and payable on the Class A Notes, the principal and interest due and payable on
          the Class B Notes, the principal and interest due and payable on the Class C Notes and other amounts
          payable in priority thereto in accordance with the Priority of Payments;

                   provided further that, so long as any Class A Notes, Class B Notes, Class C Notes or Class D
          Notes are Outstanding, except as provided in Article IX and the Priority of Payments, the payment of
          principal of the Class E Notes and the payment of Excess Principal Proceeds in respect of the Preference
          Shares (x) may only occur after principal of the Class A Notes, Class B Notes, Class C Notes and Class D
          Notes has been paid in full and (y) shall be subordinated to the payment on each Distribution Date of the
          principal and interest due and payable on the Class A Notes, the principal and interest due and payable on
          the Class B Notes, the principal and interest due and payable on the Class C Notes and the principal and
          interest due and payable on the Class D Notes and other amounts payable in priority thereto in accordance
          with the Priority of Payments;

                    provided further that, so long as any Class A Notes, Class B Notes, Class C Notes, Class D Notes
          or Class E Notes are Outstanding, except as provided in Article IX and the Priority of Payments, the
          payment of Excess Principal Proceeds in respect of the Preference Shares (x) may only occur after principal
          of the Class A Notes, Class B Notes, Class C Notes, Class D Notes and Class E Notes has been paid in full
          and (y) shall be subordinated to the payment on each Distribution Date of the principal and interest due and
          payable on the Class A Notes, the principal and interest due and payable on the Class B Notes, the principal
          and interest due and payable on the Class C Notes, the principal and interest due and payable on the Class
          D Notes and the principal and interest due and payable on the Class E Notes and other amounts payable in
          priority thereto in accordance with the Priority of Payments; and

                   provided, however, that (i) on each Distribution Date occurring during the Priority Distribution
          Period, any Excess Interest up to the Class D Priority Redemption Amount for such Distribution Date will
          be allocated to the payment of principal of the Class D Notes until 10% of the Aggregate Outstanding
          Amount of the Class D Notes as of the Closing Date is paid, (ii) on any Distribution Date occurring after
          August 2009, an amount equal to 15% of the remaining Interest Proceeds on such Distribution Date that



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          would otherwise be paid as Excess Interest will be allocated to the payment of principal of the Class D
          Notes, until the Class D Notes are paid in full, and (iii) if no Optional Redemption, Auction Call
          Redemption, Clean-Up Call Redemption or Tax Redemption has been successfully completed before the
          Accelerated Amortization Date, on any Distribution Date occurring on or after the Accelerated
          Amortization Date, any Excess Interest will be allocated, first, to the payment of principal of the Class D
          Notes until the Class D Notes have been paid in full, second, to the payment of principal of the Class C
          Notes until the Class C Notes have been paid in full, third, to the payment of principal of the Class B Notes
          until the Class B Notes have been paid in full, fourth, to the payment of principal of the Class A-2 Notes
          until the Class A-2 Notes have been paid in full and fifth, to the payment of principal of the Class A-1
          Notes until the Class A-1 Notes have been paid in full.

          (c)        [Reserved].

          (d)       Tax Certifications.

                    (i)      As a condition to the payment of any principal of or interest on any Note without the
          imposition of withholding tax, the Issuer or any Paying Agent may require certification acceptable to it to
          enable the Issuers, the Trustee and any Paying Agent (i) to determine their duties and liabilities with respect
          to any taxes or other charges that they may be required to pay, deduct or withhold in respect of such Note
          or the Holder of such Note under any present or future law or regulation of the Cayman Islands or the
          United States or any present or future law or regulation of any political subdivision thereof or taxing
          authority therein or to comply with any reporting or other requirements under any such law or regulation or
          (ii) to comply with any filing, reporting or other requirement under any present or future law, rule,
          regulation or interpretation of the Cayman Islands, the United States, any political subdivision thereof or
          any taxing authority therein in order to avoid the imposition of withholding or deduction of taxes or other
          charges on interest or principal payments on the Underlying Assets.

                    (ii)     As a condition to the payment of any principal of or interest on any Note without the
          imposition of withholding tax, any Paying Agent may require the previous delivery of properly completed
          and signed applicable U.S. federal income tax certifications (generally, an Internal Revenue Service Form
          W-9 (or applicable successor form) in the case of a person that is a "United States person" within the
          meaning of Section 7701(a)(30) of the Code or an Internal Revenue Service Form W-8 BEN (or applicable
          successor form) in the case of a person that is not a "United States person" within the meaning of Section
          7701(a)(30) of the Code) or other certification acceptable to it to enable the Co-Issuers, the Trustee, and
          any Paying Agent to determine their duties and liabilities with respect to any taxes or other charges that
          they may be required to pay, deduct or withhold in respect of such Note or the Holder of such Note under
          any present or future law or regulation of the Cayman Islands or the United States or any present or future
          law or regulation of any political subdivision thereof or taxing authority therein or to comply with any
          reporting or other requirement under any such law or regulation.

          (e)      Method of Payment. Payments in respect of principal of and interest on the Notes shall be payable
by wire transfer in immediately available funds to a Dollar account maintained by the Noteholders in accordance
with wire transfer instructions received by any Paying Agent on or before the Record Date or, if no wire transfer
instructions are received by a Paying Agent, by a Dollar check drawn on a bank in the United States mailed to the
address of such Noteholder as it appears on the Note Register at the close of business on the Record Date for such
payment.

         (f)       Record Date. The principal of and interest on any Note which is payable on a Redemption Date or
in accordance with the Priority of Payments on a Distribution Date and is punctually paid or duly provided for on
such Redemption Date or Distribution Date shall be paid to the Person in whose name that Note (or one or more
predecessor Notes) is registered at the close of business on the Record Date for such payment. All such payments
that are mailed or wired and returned to the Paying Agent shall be held for payment as herein provided at the office
or agency of the Issuers to be maintained as provided in Section 7.2.




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         Payments to Holders of the Notes of each Class shall be made in the proportion that the Aggregate
Outstanding Amount of the Notes of such Class registered in the name of each such Holder on the Record Date for
such payment bears to the Aggregate Outstanding Amount of all Notes of such Class on such Record Date.

          (g)    Alternative Payment. Payment of any Defaulted Interest may be made in any other lawful manner
in accordance with the Priority of Payments if notice of such payment is given by the Trustee to the Issuers and the
Noteholders, and such manner of payment shall be deemed practicable by the Trustee.

         (h)      Successors Bound. All reductions in the principal amount of a Note (or one or more predecessor
Notes) effected by payments of installments of principal made on any Distribution Date or Redemption Date shall be
binding upon all future Holders of such Note and of any Note issued upon the registration of transfer thereof or in
exchange therefor or in lieu thereof, whether or not such payment is noted on such Note.

          (i)      Limited Recourse. Notwithstanding any other provisions of the Notes, this Indenture or any other
Transaction Agreement, the obligations of the Issuers under the Notes and this Indenture and any other Transaction
Agreement are limited-recourse obligations of the Issuers or the Issuer, as the case may be, payable solely from the
Collateral in accordance with the Priority of Payments and, following realization of the Collateral and distribution in
accordance with the Priority of Payments, any claims of the Noteholders, the other Secured Parties, the Paying
Agents, the Transfer Agents, the Preference Share Paying Agent, the Preference Share Transfer Agent, the Note
Registrar, the Share Registrar, the Calculation Agent, the Authenticating Agent, the Auction Agent and any other
parties to any Transaction Agreement shall be extinguished.             No recourse shall be had against any Officer,
administrator, member, director, employee, security holder or incorporator of the Issuers or their respective
successors or assigns for the payment of any amounts payable under the Notes, this Indenture or any other
Transaction Agreement. It is understood that the foregoing provisions of this Section 2.6(i) shall not (i) prevent
recourse to the Collateral for the sums due or to become due under any security, instrument or agreement which is
part of the Collateral or (ii) constitute a waiver, release or discharge of any indebtedness or obligation evidenced by
the Notes or secured by this Indenture or payable under any other Transaction Agreement until such Collateral has
been realized and distributed in accordance with the Priority of Payments, whereupon any such outstanding
indebtedness or obligation shall be extinguished.        It is further understood that the foregoing provisions of this
Section 2.60) shall not limit the right of any Person to name the Issuer or the Co-Issuer as a party defendant in any
action or suit or in the exercise of any other remedy under the Notes or this Indenture or any other Transaction
Agreement, so long as no judgment in the nature of a deficiency judgment or seeking personal liability shall be
asked for or (if obtained) enforced against any such Person or entity.

          (j)      Payment Rights Upon Transfer. Subject to the foregoing provisions of this Section 2.6 and the
provisions of Sections 2.4 and 2.5, each Note delivered under this Indenture and upon registration of transfer of or in
exchange for or in lieu of any other Note shall carry the rights of unpaid interest and principal that were carried by
such other Note.

                             Section 2.7 Persons Deemed Owners.

          The Issuers, the Trustee and any agent of any of them (collectively, the "Relevant Persons")    may treat the
Person in whose name any Note on the Note Register is registered as the owner of such Note on            the applicable
Record Date for the purpose of receiving payments of principal of and interest on such Note and on       any other date
for all other purposes whatsoever (whether or not such Note is overdue), and no Relevant Person shall    be affected by
notice to the contrary.

                             Section 2.8 Cancellation.

         All Notes surrendered for payment, registration of transfer, exchange or redemption, or deemed lost or
stolen, shall, if surrendered to any Person other than the Trustee, be delivered to the Trustee, shall promptly be
canceled by it and may not be reissued or resold. No Notes shall be authenticated in lieu of or in exchange for any
Notes canceled as provided in this Section 2.8, except as expressly permitted by this Indenture. All canceled Notes
held by the Trustee shall be destroyed or held by the Trustee in accordance with its standard policy unless the




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Issuers shall direct by an Issuer Order that they be returned to it prior to such Note's's      destruction.    Any Notes
purchased by the Issuers shall be immediately delivered to the Trustee for cancellation.

                          Section 2.9   No Gross Up.

         The Issuers shall not be obligated to pay any additional amounts to the Holders or beneficial owners of the
Notes as a result of any withholding or deduction for, or on account of, any present or future taxes, duties,
assessments or government charges with respect to the Notes.

                          Section 2.10 Synthetic Security.

          (a)      Subject to the terms hereof, the Trustee, as directed in writing by the Issuer, shall take all
reasonable steps necessary to enforce the Issuer's rights under the Synthetic Securities, including receiving payments
from the respective Synthetic Security Counterparties when due and exercising the Issuer's rights under the
Synthetic Securities including, without limitation, if on any date such Synthetic Security Counterparty fails to satisfy
the Synthetic Security Counterparty Ratings Requirement (as notified to the Trustee in writing), within:

          (i)     30 days of such failure to satisfy the Synthetic Security Counterparty Ratings Requirement, the
Synthetic Security Counterparty having to, at its sole option and expense and while continuing to perform its
obligations under this Agreement take one of the actions described under (w), (x), (y) and (z) below, or

          (ii)    10 days of such failure to satisfy the Synthetic Security Counterparty Ratings Requirement and if
the unsecured, unguaranteed and otherwise unsupported long term senior debt obligations of the Synthetic Security
Counterparty are rated below "BBB+" by Standard & Poor's and the unsecured, unguaranteed and otherwise
unsupported short term debt obligations of the Synthetic Security Counterparty are rated below "A-2" by Standard &
Poor's (if the Synthetic Security Counterparty has a short-term rating from Standard & Poor's), the Synthetic
Security Counterparty having to, at its sole option and expense and while continuing to perform its obligations under
this Agreement take the action described under (x) below:

                     (w)      (i) post cash or collateral in the Synthetic Security Issuer Account in an amount that
          satisfies the Rating Condition or (ii) solely with respect to a failure of the Synthetic Security Counterparty
          to satisfy the Synthetic Security Counterparty Ratings Requirement of Standard & Poor's under the
          Synthetic Security and to the extent such amount is not already paid or posted, in an amount equal to the
          sum of (1) the Fixed Amount payable on the next succeeding Fixed Rate Payer Payment Date (as defined in
          the related Synthetic Security) and (2) in the event that any Floating Payment is, or has been within the
          preceding twelve month period, made by the Issuer to the Synthetic Security Counterparty, the amount of
          such Floating Payment minus any Additional Fixed Payments (as defined in the related Synthetic Security)
          that have been made by the Issuer to the Synthetic Security Counterparty to reimburse all or a portion of
          such Floating Payment; provided that in the event that an Early Termination Date (as defined in the related
          Synthetic Security) occurs on any date on which amounts are required to remain deposited under clause (2)
          immediately above, collateral shall continue to be posted until the earlier to occur of (x) the Synthetic
          Security Counterparty's satisfaction of the Synthetic Security Counterparty Ratings Requirements, and (y)
          the day on which no Surviving Obligation (as defined in the Synthetic Security) is outstanding; provided,
         further, that posting under this subclause (x) shall no longer be required upon the occurrence of (A) an
          Effective Maturity Date (as defined in the related Synthetic Security) (other than in connection with a
          Synthetic Security that has terminated pursuant to clause (i) of "Final Amortization Date" (as defmed in the
          related Synthetic Security)), (B) the Notes having been paid in full or (C) the Issuer being a Defaulting
          Party or Affected Party thereunder. The Synthetic Security Counterparty (other than the initial Synthetic
          Security Counterparty) shall, in addition to posting collateral as required in this clause (w), obtain or
          provide a legal opinion addressed to the Issuer and the Trustee to the effect that the collateral will be
          available to the Trustee and the Noteholders in the event of the insolvency of such Synthetic Security
          Counterparty;

                    (x)     assign or transfer all of its rights and obligations under the related Synthetic Security to a
          counterparty selected by the Collateral Manager with the consent of the Synthetic Security Counterparty



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          that satisfies the Synthetic Security Counterparty Ratings Requirement. Upon successful consummation of
          any such assignment, the related Synthetic Security Counterparty's obligations to post collateral
          contemplated by clause (a) above shall terminate and the Issuer shall release its security interest in, and
          return to the related Synthetic Security Counterparty, any then posted collateral;

                    (y)       cause an entity who satisfies the Counterparty Ratings Requirement to issue in favor of
          the Issuer a credit support of such Synthetic Security Counterparty's obligations under the related Synthetic
          Security acceptable in form and substance to Party B and that satisfies the Rating Condition; or

                   (z)    take other steps as each Rating Agency that has downgraded           the Synthetic Security
          Counterparty may require to satisfy the Rating Condition.

          (b)      The Issuer, or the Collateral Administrator acting on its behalf, shall immediately notify the
Trustee in writing on any date on which any Synthetic Security Counterparty fails to satisfy the Synthetic Security
Counterparty Ratings Requirement.       The Issuer shall perform all of its obligations set forth in the Synthetic
Securities (and upon and pursuant to written instructions from the Issuer the Trustee shall take the steps described
above in this Section 2.10, subject to the terms hereof). In addition, by 4:00 p.m., New York City time, on (i) the
Business Day prior to any Payment Date on which the Trustee has not received from a Synthetic Security
Counterparty any amount due from such Synthetic Security Counterparty on such Payment Date, (ii) the Business
Day following any such Payment Date if the Trustee has not yet received such amount due from such Synthetic
Security Counterparty, (iii) the Business Day on which such failure to pay by such Synthetic Security Counterparty
becomes an "Event of Default" (as defined in the related Synthetic Security) under the related Synthetic Security or
(iv) the Business Day on which the Trustee receives from such Synthetic Security Counterparty such amount due,
the Trustee shall give immediate notice thereof to such Synthetic Security Counterparty and the Rating Agencies. If
after the Closing Date the credit rating of a Synthetic Security Counterparty is downgraded or withdrawn, a
Responsible Officer of the Trustee upon having written notice of such downgrade or withdrawal, shall provide
notice of such downgrade or withdrawal to the Rating Agencies.

          (c)      Amendments or supplements to Synthetic Securities including any amendments and supplements
to the Credit Derivatives Definitions will apply to the Synthetic Securities executed prior to such amendment or
supplement only if the Issuer and the related Synthetic Security Counterparty agree to amend the Synthetic
Securities to incorporate such amendments or supplements and the Rating Condition has been satisfied. In addition,
subject to the Rating Condition, the Issuer and the Synthetic Security Counterparty may enter into additional
Synthetic Securities that incorporate such amendments and supplements.

                                                    ARTICLE HI

                                            CONDITIONS       PRECEDENT

                          Section 3.1 General Provisions.

         The Notes may be executed by the Issuers and delivered to the Trustee for authentication and thereupon the
same shall be authenticated and delivered by the Trustee (or an Authenticating Agent on its behalf) upon Issuer
Request, upon receipt by the Trustee of the following:

          (a)       (i)     an Officer's certificate of the Issuer, (A) evidencing the authorization by Board
          Resolution of the execution and delivery of, and the performance of the Issuer's obligations under, this
          Indenture, the Preference Share Paying Agency Agreement, the Collateral Administration Agreement, the
          Management Agreement, the Subscription Agreements, the Note Purchase Agreement and the Interest Rate
          Swap Agreement, in each case as may be amended on or prior to, and as in effect on, the Closing Date, and
          the execution, authentication and delivery of the Notes and specifying the Stated Maturity, the principal
          amount and the Note Interest Rate with respect to each Class of Notes to be authenticated and delivered and
          the number of Preference Shares to be issued and the Issue Price thereof, and (B) certifying that (1) the
          attached copy of such Board Resolution is a true and complete copy thereof, (2) such resolutions have not




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          beenrescinded
                     andareinfull forceandeffectonandasoftheClosing Dateand(3)theOfficers
                                                                                        authorized
          toexecute
                  anddeliversuchdocumentsholdtheofficesandhavethesignatures
                                                                         indicated
                                                                                 thereon;
                                                                                        and
                 (ii)    anOfficer'scertificateof the Co-Issuer
                                                              (A) evidencing theauthorization
                                                                                            by Board
          Resolutionoftheexecution
                                 anddeliveryof,andtheperformance   oftheCo-Issuer's
                                                                                  obligations
                                                                                            under,this
         ..Indenture,
                    asmaybeamended    onor priorto, andasin effecton,theClosingDate,andtheexecution,
          authentication
                       anddelivery
                                 of theNotesandspecifying theStatedMaturity,
                                                                           theprincipalamountandNote
          Interest
                RateofeachsuchClassofNotestobeauthenticated    anddelivered,and(B)certifying
                                                                                           that(1)the
          attached
                 copyofsuchBoardResolution   is atrueandcompletecopythereof,(2)suchresolutions
                                                                                             havenot
          beenrescindedandareinfullforceandeffectonandasoftheClosing   Dateand(3)theOfficersauthorized
          toexecuteanddeliversuchdocuments holdtheofficesandhavethesignaturesindicated
                                                                                     thereon;

          (b)     (i)     either(A) a certificate
                                                of theIssuer,or otherofficialdocument  evidencingthedue
          authorization,
                       approvalor consentof anygovernmental  bodyor bodies, atthetimehavingjurisdictionin
          thepremises andtheapproval of whichis required forthevalidissuanceoftheSecurities,
                                                                                           ortotheeffect
          thatnoauthorization,approvalor consent of anygovernmental bodyis requiredforthevalidissuanceof
          theSecurities,
                       or (B)anOpinionofCounsel    totheIssuersatisfactory
                                                                         informandsubstance totheTrustee
          (in theformof ExhibitG hereto)to theeffectthatno suchauthorization,   approvalor consentof any
          governmental bodyintheCayman   Islandsis requiredforthevalidissuanceoftheSecurities
                                                                                            exceptasmay
          havebeengiven;and

                  (ii)    either(A) a certificateof theCo-Issueror otherofficialdocumentevidencingthedue
          authorization,
                       approvalor consentofanygovernmental    bodyorbodies,atthetimehavingjurisdiction  in
          thepremises, andtheapproval ofwhichisrequired  forthevalidissuance oftheNotes,or totheeffectthat
          noauthorization,approvalor consent  of anygovernmental bodyis required forthevalidissuanceof the
          Notes,or (B)anOpinionofCounsel    totheCo-Issuer satisfactory
                                                                      informandsubstance  totheTrustee (in
          theformofExhibitF-1hereto)  thatnosuchauthorization, approvalorconsent  ofanyUnitedStates
                                                                                                  Federal
          or StateofNewYorkgovernmental      bodyis requiredforthevalidissuance  of theNotes,exceptasmay
          havebeengiven;

          (c)       opinionsof Allen & Overy LLP, special          counsel to the Issuers, dated the Closing Date,
substantially in the forms of Exhibits F-1 and F-2;

          (d)       an opinion of Maples and Calder, Cayman Islands counsel to the Issuer, dated the Closing Date,
substantially in the form of Exhibit G;

          (e)       an Officer's certificate of the Issuer, stating that the Issuer is not in Default under this Indenture
and that the issuance of the Securities will not result in a breach of any of the terms, conditions or provisions of, or
constitute a Default under, the Issuer Charter, any indenture or other agreement or instrument to which the Issuer is a
party or by which it is bound, or any order of any court or administrative agency entered in any Proceeding to which
the Issuer is a party or by which it may be bound or to which it may be subject; that no Event of Default shall have
occurred and be continuing; that all of the representations and warranties contained herein are true and correct as of
the Closing Date; that all conditions precedent provided in this Indenture relating to the authentication and delivery
of the Securities applied for (including in Section 3.2) have been complied with; and that all expenses due or
accrued with respect to the Offering or relating to actions taken on or in connection with the Closing Date have been
paid or provided for;

          (f)       an Officer's certificate of the Co-Issuer stating that the Co-Issuer is not in Default under this
Indenture and that the issuance of the Notes will not result in a breach of any of the terms, conditions or provisions
of, or constitute a Default under, the Certificate of Incorporation or By-Laws of the Co-Issuer, any indenture or other
agreement or instrument to which the Co-Issuer is a party or by which it is bound, or any order of any court or
administrative agency entered in any Proceeding to which the Co-Issuer is a party or by which it may be bound or to
which it may be subject; that no Event of Default shall have occurred and be continuing; that all of the
representations and warranties contained herein are true and correct as of the Closing Date; that all conditions
precedent provided in this Indenture relating to the authentication and delivery of the Notes applied for have been



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complied with; and that all expenses due or accrued with respect to the Offering or relating to actions taken on or in
connection with the Closing Date have been paid or provided for;

          (g)     an Accountants' Report (i) confn-ming the information (other than the Principal/Notional Balance,
the ratings and the Purchase Price) with respect to each Underlying Asset set forth on the Schedule of Closing
Underlying Assets attached hereto as Schedule A, by reference to such sources as shall be specified therein; (ii)
confurrning by reference to information set forth in such letter, that as of the Closing Date the Aggregate
PrincipaFNotional Balance of the Underlying Assets (including principal collections on such Underlying Assets to
be deposited in the Principal Collection Account and funds deposited in the Uninvested Proceeds Account on the
Closing Date) which the Issuer has purchased or entered into binding commitments to purchase is at least $[__]; (iii)
conftrrning compliance with the Collateral Quality Tests and the Coverage Tests; and (iv) specifying the procedures
undertaken by them to review data and computations relating to the foregoing statement;

         (h)      a certificate of an Authorized Officer of the Collateral Manager stating that the Underlying Assets
which the Issuer has purchased or entered into binding commitments to purchase on the Closing Date satisfy the
requirements of the definition of an Underlying Asset;

             (i)      an executed counterpart of each of the Transaction Agreements;

             (j)      an executed copy of the Interest Rate Swap Agreement;

         (k)     a properly completed UCC financing statement, naming the Issuer as debtor and the Trustee as
secured party, and covering the Collateral, for filing within 10 days after the Closing Date in the District of
Columbia;

          (1)     evidence of the registration      on the Issuer's Register of Mortgages and Charges of the security
interest Granted by the Issuer hereunder;

             (m)      Subscription Agreements, duly executed by the purchaser of Preference Shares;

          (n)      Issuer orders from the Co-Issuer and the Issuer, as applicable, directing the Trustee to authenticate
the Notes, in the amounts set forth therein, registered in the name(s) set forth therein and to make delivery thereof to
the Co-Issuer or the Issuer, as the case may be, or as otherwise directed by the Co-Issuer or Issuer;

        (o)       an opinion of Cadwalader, Wickersham & Taft LLP, counsel of the Collateral Manager, dated the
Closing Date, substantially in the form of Exhibit H; and

             (p)      an opinion of Seward & Kissel LLP, counsel to the Trustee, substantially in the form of Exhibit I.

                          Section 3.2   Security, for the Notes.

             Prior to the issuance of the Notes on the Closing Date, the Issuer shall cause the following conditions to be
satisfied:

         (a)      Grant of Security Interest; Delivery of Underlying Assets. The Grant pursuant to the Granting
Clauses of this Indenture of all of the Issuer's right, title and interest in and to the Collateral and the transfer of all
Underlying Assets purchased by the Issuer on the Closing Date, and any Equity Securities acquired in connection
therewith (as set forth in the Schedule of Closing Underlying Assets) to the Trustee in the manner provided in
Section 3.3(b).

          (b)      Certificate of the Issuer. The delivery to the Trustee of a certificate of an Authorized Officer of
the Issuer or the Collateral Manager, for and on behalf of the Issuer, dated as of the Closing Date, to the effect that,
in the case of each Underlying Asset and Equity Security pledged to the Trustee for inclusion in the Collateral on the
Closing Date and immediately prior to the delivery thereof on the Closing Date:




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                     (i)     the Issuer is the owner of such Underlying Asset or Equity Security free and clear of any
          liens, claims or encumbrances of any nature whatsoever except for those which are being released on the
          Closing Date and except for those Granted pursuant to this Indenture;

                    (ii)     the Issuer has acquired its ownership in such Underlying Asset or Equity Security in good
          faith without notice of any adverse claim, except as described in clause (i) above;

                   (iii)   the Issuer has not assigned, pledged or otherwise encumbered any interest in such
          Underlying Asset or Equity Security (or, if any such interest has been assigned, pledged or otherwise
          encumbered, it has been released) other than interests Granted pursuant to this Indenture;

                     (iv)      the Issuer has full right to Grant a security interest in and assign and pledge all of its
          right, title and interest in such Underlying Asset or Equity Security to the Trustee;

                    (v)       the information set forth with respect to such Underlying Asset or Equity Security in the
          Schedule of Closing Underlying Assets (or amended Schedule of Underlying Assets, as the case may be) is
          correct in all material respects;

                    (vi)     each Underlying Asset included in the Collateral satisfies the requirements of the
          definition of "Asset-Backed Security" or "Synthetic Security", as applicable, and is transferred to the
          Trustee as required by Section 3.3(b);

                    (vii)   each Underlying Asset      and Equity Security     was acquired    in accordance    with all
          applicable requirements of Section 12.2;

                   (viii)    upon the effectiveness of the Grant by the Issuer to the Trustee pursuant to the Granting
          Clauses of this Indenture, the Trustee has a first priority perfected security interest in the Collateral; and

                  (ix)      the Issuer has not consented to the Securities Intermediary maintaining any Account to
          comply with entitlement orders of any Person other than the Trustee.

         (c)      Rating Letters. The delivery to the Trustee of (i) letters signed by Standard & Poor's and Moody's
confirming that the Notes have been rated as set forth below (or higher):

                     Notes                Standard & Poor's               Moody's
                Class A-1 Notes                 AAA                        Aaa
                Class A-2 Notes                 A.AA                         Aaa
                 Class B Notes               at least AA                 at least Aa2
                 Class C Notes                at least A                 at least A2
                 Class D Notes              at least BBB                at least Baa2
                 Class E Notes               at least BB                 at least Ba2



          (d)      Accounts. The delivery by the Trustee of evidence of the establishment of the Payment Account,
the Interest Collection Account, the Principal Collection Account, the Expense Account, the Custodial Account, the
Uninvested Proceeds Account, the Substituted Collateral Account, any Synthetic Security Collateral Account, the
Synthetic Security Issuer Account and the Interest Rate Swap Counterparty Collateral Account. The delivery by the
Preference Share Paying Agent of evidence of the establishment of the Preference Share Payment Account.

          (e)       Funding Certificate. The delivery to the Trustee of a Funding Certificate, duly executed by an
Authorized Officer of the Issuer, relating to, among other things, the disposition of the proceeds of the issuance of
the Securities, dated the Closing Date, in substantially the form of Exhibit E hereto.



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         (f)     Purchases. The delivery to the Trustee of a certificate from the CoUateral Manager that, as of the
Closing Date the Issuer shall have purchased, or entered into one or more commitments to purchase, Underlying
Assets (including principal collections on such Underlying Assets to be deposited in the Uninvested Proceeds
Account on the Closing Date) having an Aggregate Principal/Notional Balance of not less than $700,106,212.

          Section 3.3        Transfer of Underlying Asset and Eligible Investments.

         (a)     Notwithstanding any other provision of this Indenture, the Trustee shall not hold any Collateral
through an agent or nominee except as expressly permitted by this Section 3.3 or Section 7.5.

          b)       The Issuer shall cause each item of Collateral (including each Underlying      Asset, Equity Security,
and Eligible Investment) to be delivered to the Trustee in the following manner:

                    (i)     with respect to such of the Collateral as constitutes an instrument, causing the Trustee to
          take possession in the State of New York of such instrument indorsed to the Trustee or in blank by an
          effective endorsement;

                    (ii)     with respect to such of the Collateral as constitutes tangible chattel paper, goods, a
          negotiable document, or money, causing the Trustee to take possession in the State of New York of such
          tangible chattel paper, goods, negotiable document, or money;

                   (iii)    with respect to such of the Collateral as constitutes a certificated security in bearer form,
          causing the Trustee to acquire possession in the State of New York of the related security certificate;

                   (iv)     with respect to such of the Collateral as constitutes a certificated security in registered
          form, causing the Trustee to acquire possession in the State of New York of the related security certificate,
          indorsed to the Trustee or in blank by an effective indorsement, or registered in the name of the Trustee,
          upon original issue or registration of transfer by the issuer of such certificated security;

                    (v)      with respect to such of the Collateral as constitutes an uncertificated security, causing the
          issuer of such uncertificated security to register the Trustee as the registered owner of such uncertificated
          security, upon original issue or registration of transfer;

                    (vi)    with respect to such of the Collateral as constitutes a security entitlement, causing the
          Securities Intermediary to indicate by book entry that the financial asset relating to such security
          entitlement has been credited to the appropriate Account;

                   (vii)     with respect to such of the Collateral as constitutes an account or a general intangible, (A)
          causing the account debtor for such account or general intangible to be notified of the grant to the Trustee
          of a security interest in such account or general intangible, (B) causing any steps necessary to perfect a
          security interest in such account or general intangible under the laws of the Cayman Islands to be taken,
          and (C) causing to be filed with the District of Columbia Recorder of Deeds a properly completed UCC
          financing statement that names the Issuer as debtor and the Trustee as secured party and that covers such
          account or general intangible;

                     (viii)  with respect to such of the Collateral as constitutes a deposit account, causing such
          deposit account to be maintained in the name of the Trustee and causing the bank with which such deposit
          account is maintained to agree in writing with the Trustee and the Issuer that (A) such bank shall comply
          with instructions originated by the Trustee directing disposition of the funds in such deposit account
          without further consent of any other person or entity, (B) such bank will not agree with any person or entity
          other than the Trustee to comply with instructions originated by any person or entity other than the Trustee,
          (C) such deposit account and the property deposited therein shall not be subject to any lien, claim, security
          interest, encumbrance, or right of set-off in favor of such bank or anyone claiming through it (other than the
          Trustee), (D) such agreement shall be governed by the laws of the State of New York, and (E) the State of
          New York shall be the bank's jurisdiction of such bank for purposes of Article 9 of the UCC; or


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                   (ix)      in the case of each of paragraphs (i) through (viii) above, such additional or alternative
          procedures as may hereafter become appropriate to grant a first priority perfected security interest in such
          items of the Collateral to the Trustee, consistent with applicable law or regulations.

          Upon the delivery of any item of the Collateral, the Trustee shall make appropriate notations on its records
indicating that such item of the Collateral is held by the Trustee pursuant to and as provided herein. The Trustee
shall hold each item of Collateral as delivered to it pursuant to Section 3.3(b), separate and apart from all other
property held by the Trustee.

           Effective upon the delivery of any item of the Collateral, the Trustee shall be deemed to have (i)
represented that its security interest in such item of the Collateral is received in good faith and without notice of any
adverse claim thereto appearing on the face of such item (if in physical form) or otherwise known to a Trust Officer
of the Trustee; provided that such representation shall not impose any other affirmative duty or obligation uponthe
Trustee with regard to inquiry or investigation of, or constructive notice of, adverse claims; and (ii) acknowledged
that it holds such item of the Collateral as Trustee hereunder for the benefit of the Secured Parties. Any additional or
alternative procedures for accomplishing delivery for purposes of clause (ix) of this definition shall be permitted
only upon delivery to the Trustee of an Opinion of Counsel to the effect that such procedures are appropriate to
grant a perfected security interest in the applicable type of collateral to the Trustee.

         To the extent that such of the Collateral as constitutes a deposit account is maintained with the Bank, the
Bank, the Trustee, and the Issuer hereby make the agreements required in order for such deposit account to be
delivered as provided in clause (viii) above.

         (c)      Such of the Collateral as constitutes Underlying Assets and Equity Securities shaU be credited to
the Custodial Account.

                                                      ARTICLE IV

                                         SATISFACTION       AND DISCHARGE


                          Section 4.1   Satisfaction and Discharge of Indenture.

          This Indenture shall be discharged and shall cease to be of further effect with respect to the Collateral and
with respect to the Notes except as to (i) rights of registration of transfer and exchange, (ii) substitution of mutilated,
defaced, destroyed, lost or stolen Notes, (iii) rights of Securityholders to receive payments of principal thereof and
interest thereon or Excess Amounts payable in respect thereof as provided herein (including as provided in the
Priority of Payments and Section 13.1), (iv) the rights, indemnities and immunities of the Trustee hereunder, (v) the
rights and immunities of the Collateral Manager hereunder and under the Management Agreement, (vi) the rights of
the Secured Parties as beneficiaries hereof with respect to the property deposited with the Trustee and payable to all
or any of them and (vii) the rights of the Preference Shareholders pursuant to the Preference Share Paying Agency
Agreement and the Trustee, on demand of and at the expense of the Issuer, shall execute proper instruments
prepared by the Issuer acknowledging satisfaction and discharge of this Indenture, when:

          (a)        either:

                    (i)      all Notes theretofore authenticated and delivered (other than (A) Notes which have been
          mutilated, defaced, destroyed, lost or stolen and which have been replaced or paid as provided in Section
          2.5 and (B) Notes for whose payment Money has theretofore irrevocably been deposited in trust and
          thereafter repaid to the Issuer or discharged from such trust, as provided in Section 7.3) have been delivered
          to the Trustee for cancellation; or

                    (ii)     all Notes not theretofore delivered to the Trustee for cancellation (A) have become due
          and payable, (B) will become due and payable at their Stated Maturity within one year or (C) are to be
          called for redemption pursuant to Article IX under an arrangement satisfactory to the Trustee for the giving
          of notice of redemption by the Issuers pursuant to Section 9.5 and the Issuer has irrevocably deposited or


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          caused to be deposited with the Trustee, in trust for such purpose, Cash or noncaUable direct obligations of
          the United States in an amount sufficient, as certified in writing by a firm of nationally recognized
          Independent certified public accountants, to pay and discharge the entire indebtedness on all Notes not
          theretofore delivered to the Trustee for cancellation, including all principal and interest (including Deferred
          Interest, Defaulted Interest and interest on Defaulted Interest, if any) accrued to the date of such deposit (in
          the case of Notes which have become due and payable) or to the Stated Maturity or the Redemption Date,
          as the case may be; provided that (x) such obligations are entitled to the full faith and credit of the United
          States and (y) this subclause (ii) shall not apply if an election to act in accordance with the provisions of
          Section 5.5(a) shall have been made and not rescinded;

         (b)       the Issuer has paid or caused to be paid all other sums payable hereunder (including the Excess
Amounts payable to the Preference Share Paying Agent in respect of the Scheduled Preference Share Redemption
Date or the final Redemption Date and amounts payable pursuant to the Interest Rate Swap Agreement and the
Synthetic Securities (including all relevant termination payments), the Administration Agreement, the Preference
Share Paying Agency Agreement and the Management Agreement) and no other amounts will become due and
payable by the Issuer; and

          (c)      the Issuers have delivered to the Trustee an Officer's certificate and an Opinion of Counsel, each
stating that all conditions precedent herein provided for relating to the satisfaction and discharge of this Indenture
have been complied with.

          Notwithstanding the satisfaction and discharge of this Indenture, the rights and obligations of the Issuers,
the Trustee, the Collateral Manager, the Interest Rate Swap Counterparty, each Synthetic Security Counterparty and,
if applicable, the Noteholders, as the case may be, under Sections 2.6, 5.4(d), 5.9, 5.18, 6.7, 6.8, 7.3 and 14.14shall
survive.

                          Section 4.2 Application of Trust Money.

          All Cash deposited with the Trustee pursuant to Section 4.1 for the payment of principal of and interest on
the Notes or Excess Amounts in respect of the Preference Shares, amounts payable pursuant to the Interest Rate
Swap Agreement, the Synthetic Securities, the Collateral Administration Agreement, the Administration Agreement,
the Preference Share Paying Agency Agreement and the Management Agreement and other Administrative
Expenses shall be held in trust and applied by it in accordance with the provisions of the Securities and this
Indenture, including the Priority of Payments, for the payment either directly or through any Paying Agent or the
Preference Share Paying Agent, as the Trustee may determine, to the Person entitled thereto of the respective
amounts in respect of which such Cash has been deposited with the Trustee.

                          Section 4.3     Repayment of Monies Held by Paying Agent.

          In connection with the satisfaction and discharge of this Indenture with respect to the Notes, all Cash then
held by any Paying Agent other than the Trustee under the provisions of this Indenture shall, upon demand of the
Issuer, be paid to the Trustee to be held and applied pursuant to Section 7.3 and in accordance with the Priority of
Payments and thereupon such Paying Agent shall be released from all further liability with respect to such Cash.

                                                          ARTICLE   V


                                           EVENTS     OF DEFAULT;       REMEDIES

                          Section   5.1   Events of Default.


          Wherever used herein, Event of Default means any one of the following events (whatever the reason for
such Event of Default and whether it shall be voluntary or involuntary or be effected by operation of law or pursuant
to any judgment, decree or order of any court or any order, rule or regulation of any administrative or governmental
body):




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                    (a)     a defaultonanyDistribution Datein thepayment  of anyinterestaccrued  duringthe
          Interest  Periodimmediatelypreceding suchDistribution
                                                              Date(i) onanyClassA Noteor ClassB Note,or
          (ii) if therearenoClassA NotesorClassB NotesOutstanding,    onanyClassC Note,(iii) if thereareno
          ClassA Notes,ClassB Notesor ClassCNotesOutstanding,      onanyClassD Noteor (iv) if thereareno
          ClassA Notes,Class   B Notes,ClassCNotesorClassD NotesOutstanding,   onanyClassENote,whenthe
          same    becomes dueandpayable,  in eachcasewhichdefaultcontinues
                                                                         foraperiodof threeBusiness   Days
          (or,in thecaseofa failureto makesuchpayment     resulting,
                                                                  ascertifiedin writingby theTrustee,solely
          fxomanadministrative   erroror omissionbytheTrustee,theAdministrator,anyPayingAgentor theNote
          Registrar, seven days);
                  (b)   a defaultin thepaymentof principalof anyNoteatitsStatedMaturityor Redemption
          Dateor,in thecaseof a failureto makesuchpayment  resulting
                                                                   solelyfromanadministrative
                                                                                            erroror
          omission bytheAdministrator,
                                     theTrustee,
                                               anyPayingAgentor theNoteRegistrarwhichcontinuesfora
          periodofsevendays;
                 (c)      thefailureon anyDistributionDateto disburse
                                                                    amounts  (otherthanprincipalof and
          interest
                payments   ontheNotesdescribedin clauses(a)and(b)above)available in theInterest
                                                                                              Collection
          Accountor PrincipalCollectionAccountin accordance  with the Priorityof Payments  whichfailure
          continuesfora periodof twoBusinessDaysor,in thecaseofa failuretomakesuchpayment     duetoan
          administrative
                       errororomissionbytheTrustee, theAdministrator,
                                                                   anyPayingAgentortheNoteRegistrar,
          whichfailurecontinuesforaperiodofsevendays;
                 (d)    eitherof theIssuers
                                          or theCollateral
                                                        becomes
                                                              aninvestment
                                                                        company
                                                                              required
                                                                                     to be
          registered
                  undertheInvestmentCompany Act;

                    (e)      a default in the performance, or breach, of any other covenant or other agreement (other
          than any covenant to meet the Collateral Quality Tests or the Coverage Tests) of the Issuer or the Co-Issuer
          under this Indenture or any representation or warranty of the Issuer or the Co-Issuer made in this Indenture
          or in any certificate or other writing delivered pursuant hereto or in connection herewith proves to be
          incorrect in any material respect when made, and the continuation of such default or breach for a period of
          30 days (or, if such default, breach or failure has an adverse effect on the validity, perfection or priority of
          the security interest granted under this Indenture, 15 days) after any of the Issuer, the Co-Issuer or the
          Collateral Manager has actual knowledge thereof or after notice thereof to the Issuer and the Collateral
          Manager by the Trustee or to the Issuer, the Collateral Manager and the Trustee by the Holders of at least
          fifty percent (50%) in Aggregate Outstanding Amount of Notes of the Controlling Class;

                   (f)     one or more final judgments being rendered against the Issuer or the Co-Issuer which
          exceed, in the aggregate, $1,000,000 (or such lesser amount as each Rating Agency may specify) and
          which remain unstayed, undischarged and unsatisfied for 30 days after such judgment(s) becomes
          nonappealable, unless adequate funds have been reserved or set aside for the payment thereof;

                    (g)       an involuntary proceeding shall be commenced or an involuntary petition shall be filed
          seeking (i) winding up, liquidation, reorganization or other relief in respect of the Issuer or the Co-Issuer or
          its debts, or of a substantial part of its assets, under any bankruptcy, insolvency, receivership or similar law
          now or hereafter in effect or (ii) the appointment of a receiver, trustee, custodian, sequestrator, conservator
          or similar official for the Issuer or the Co-Issuer or for a substantial part of its assets, and, in any such case,
          such proceeding or petition shall continue undismissed for 60 days; or an order or decree approving or
          ordering any of the foregoing shall be entered; or the Issuer or its assets shall become subject to any event
          that, under the applicable laws of the Cayman Islands, has an analogous effect to any of the foregoing; or

                    (h)     the Issuer or the Co-Issuer shall (i) voluntarily commence any proceeding or file any
          petition seeking winding up, liquidation, reorganization or other relief under any bankruptcy, insolvency,
          receivership or similar law now or hereafter in effect, (ii) consent to the institution of, or fail to contest in a
          timely and appropriate manner, any proceeding or petition described in Section 5.1(g), (iii) apply for or
          consent to the appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for



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         theIssueror theCo-Issuer   or fora substantial
                                                      partofitsassets,
                                                                     (iv) fileananswer admitting
                                                                                               thematerial
         allegationsof a petitionfiledagainst it in anysuchproceeding, (v) makea general  assignmentfor the
         benefitofcreditorsor (vi) takeanyactionforthepurpose   of effecting anyof theforegoing;
                                                                                               or theIssuer
         shallcause or become  subject toanyeventwithrespect  totheIssuerthat,undertheapplicablelawsofthe
         Cayman  Islands,hasananalogous   effecttoanyoftheforegoing.

        If eitheroftheIssuers
                            obtainsknowledge,or hasareason tobelieve,
                                                                    thatanEventof Defaultshallhave
occurred andiscontinuing,suchoftheIssuers
                                        shallpromptly
                                                    notifytheTrustee,
                                                                    thePreference
                                                                                SharePayingAgent,
theCollateral Manager,theNoteholders,
                                    theInterest
                                              RateSwapCounterparty,theSynthetic
                                                                              Security
                                                                                     Counterparty,
theInitialInvestmentAgreementProvider,
                                     theotheroftheIssuers
                                                        andeachRatingAgency inwriting.

                          Section
                                5.2   Acceleration     of Maturity; Rescission and Annulment.

          (a)       If an Event of Default occurs and is continuing (other than an Event of Default specified in
Section 5.1 (g) or 5.1(h)), (i) the Trustee (at the written direction of a Majority of the Controlling Class) by notice to
the Issuers or (ii) a Majority of the Controlling Class, by notice to the Issuers and the Trustee (and, in each case,
with written notice to each Rating Agency), may declare the principal of all the Notes to be immediately due and
payable, and upon any such declaration such principal, together with all accrued and unpaid interest thereon, and
other amounts payable hereunder, shall become immediately due and payable. Notwithstanding the preceding
sentence, if an Event of Default specified in Section 5.1(a) or 5.1 (b) occurs and is continuing solely with respect to a
default in the payment of any principal of or interest on Notes of a Class other'than the Controlling Class, neither the
Trustee nor the Holders of such non-Controlling Class shall have the right to declare such principal and other
amounts to be immediately due and payable. If an Event of Default specified in Section 5. l(g) or 5.1(tl) occurs, all
unpaid principal, together with all accrued and unpaid interest thereon, of all the Notes, and other amounts payable
hereunder, shall automatically become due and payable without any declaration or other act on the part of the
Trustee or any Noteholder.

         (b)      At any time after such a declaration of acceleration of maturity has been made and before a
judgment or decree for payment of the Money due has been obtained by the Trustee as hereinafter provided in this
Article V, a Majority of the Controlling Class, by written notice to the Issuers and the Trustee (and, in each case,
with notice to each Rating Agency), may rescind and annul such declaration and its consequences if:

                    (i)      the Issuer has paid or deposited       with the Trustee   a sum sufficient    to pay:

                             (A)      all overdue    installments    of principal   of and interest   on the Notes,

                              (B)    interest upon Deferred Interest at the applicable Note Interest Rate and to the
                    extent that payment of such interest is lawful, upon Defaulted Interest at the applicable Note
                    Interest Rate,

                            (C)     any accrued and unpaid amounts payable by the Issuer pursuant to the Interest
                    Rate Swap Agreement and the Synthetic Securities, and

                              (D)       all unpaid taxes and Administrative Expenses and other sums paid or advanced
                    by the Trustee hereunder and the reasonable compensation, expenses, disbursements and advances
                    of the Trustee, its agents and counsel;

                    (ii)      the Trustee has determined that all       Events of Default, other than the nonpayment of the
          principal of or interest on the Notes that have become        due solely by such acceleration, have been cured and
          a Majority of the Controlling Class by written notice         to the Trustee has agreed with such determination or
          waived such Events of Default as provided in Section          5.14; and

                    (iii)     the Interest Rate Swap Agreement or any other post-closing hedge in effect immediately
          prior to the declaration of such acceleration remains in effect.




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         At anysuchtimeasa Majorityof theControllingClassshallrescindandannulsuchdeclaration
                                                                                           andits
consequences, theTrustee
                       shallpreservetheCollateral
                                                in accordance
                                                            withtheprovisionsof Section
                                                                                      5.5;provided
that,if suchpreservation
                       of theCollateralis rescindedpursuant
                                                          to Section5.5,theNotesmaybe accelerated
pursuant toSection5.2(a),notwithstanding
                                      anyprevious rescission
                                                           andannulmentof a declaration
                                                                                     ofacceleration
pursuant tothisSection
                     5.2(b).
      No suchrescission
                      andannulment
                                shallaffectanysubsequent
                                                      Defaultor impairanyrightconsequent
thereon.

                          Section 5.3   Collection of Indebtedness and Suits for Enforcement    by Trustee.

          The Issuer covenants that if a Default shall occur in respect of (a) the payment of any principal of or
interest on any Class A Notes, (b) the payment of principal of or interest on any Class B Note, after the payment of
principal on the Class A Notes, (c) the payment of principal of or interest on any Class C Note (excluding Deferred
Interest) after the Class A Notes and the Class B Notes and all interest accrued thereon have been paid in full, (d) the
payment of principal of or interest on any Class D Note (excluding Deferred Interest) after the Class A Notes, Class
B Notes and Class C Notes and all interest accrued thereon have been paid in full, or (e) the payment of principal of
or interest on any Class E Note (excluding Deferred Interest) after the Class A Notes, Class B Notes, Class C Notes
and Class D Notes and all interest accrued thereon have been paid in full, the Issuer will, upon demand of the
Trustee or any affected Noteholder, pay to the Trustee, for the benefit of the Holder of such Note, the whole amount,
if any, then due and payable on such Note for principal and interest with interest upon the overdue principal and, to
the extent that payments of such interest shall be legally enforceable, upon overdue installments of interest at the
applicable Note Interest Rate and, in addition thereto, such further amount as shall be sufficient to cover the costs
and expenses of collection, including the reasonable compensation, expenses, disbursements and advances of the
Trustee and such Noteholder and their respective agents and counsel.

          If the Issuer fails to pay such amounts forthwith upon such demand, the Trustee, in its own name and as
trustee of an express trust, may institute a Proceeding for the collection of the sums so due and unpaid, and may, and
shall, upon the direction by a Majority of the Controlling Class, prosecute such Proceeding to judgment or final
decree, and may enforce the same against the Issuer or any other obligor upon the Notes and collect the Monies
adjudged or decreed to be payable in the manner provided by law out of the Collateral.

         If an Event of Default occurs and is continuing, the Trustee may in its discretion proceed to protect and
enforce its rights and the rights of the Secured Parties by such appropriate Proceedings as the Trustee shall deem
most effectual or as the Trustee may be directed by a Majority of the Controlling Class, to protect and enforce any
such rights, whether for the specific enforcement of any covenant or agreement in this Indenture or in aid of the
exercise of any power granted herein, or to enforce any other proper remedy or legal or equitable right vested in the
Trustee by this Indenture or by law.

          In case there shall be pending Proceedings relative to the Issuer, the Co-Issuer or any other obligor upon the
Notes under the Bankruptcy Code or any other applicable bankruptcy, insolvency or other similar law, or in case a
receiver, assignee or trustee in bankruptcy or reorganization, liquidator, sequestrator or similar official shall have
been appointed for or taken possession of the Issuer, the Co-Issuer or their respective property or such other obligor
or its property, or in case of any other comparable Proceedings relative to the Issuer, the Co-Issuer or other obligor
upon the Notes, or the creditors or property of the Issuer, the Co-Issuer or such other obligor, the Trustee, regardless
of whether the principal of any Notes shall then be due and payable as therein expressed or by declaration or
otherwise and regardless of whether the Trustee shall have made any demand pursuant to the provisions of this
Section 5.3, shall be entitled and empowered, by intervention in such Proceedings or otherwise:

                    (a)      to file and prove a claim or claims for the whole amount of principal and interest owing
          and unpaid in respect of the Notes upon direction by a Majority of the Controlling Class, and to file such
          other papers or documents as may be necessary or advisable in order to have the claims of the Trustee
          (including any claim for reasonable compensation to the Trustee and each predecessor Trustee, and their
          respective agents, attorneys and counsel, and for reimbursement of all expenses and liabilities incurred, and
          all advances made, by the Trustee and each predecessor Trustee) and of the Noteholders allowed in any



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         Proceedings
                   relativeto theIssuer,theCo-Issuer
                                                   or otherobligorupontheNotesor to thecreditors
                                                                                               or
         property
                oftheIssuer,theCo-Issuer
                                       orsuchotherobligor,
               (b)     unlessprohibitedby applicable
                                                   lawandregulations,
                                                                    tovoteonbehalfoftheHoldersof
         theNotes,uponthedirectionof suchHolders,in anyelectionof a trusteeor a standbytrusteein
         arrangement,
                    reorganization,liquidationor otherbankruptcyor insolvency
                                                                            Proceedingsor person
         performing
                  similarfunctions
                                 incomparable Proceedings;
                                                        and

                 (c)      tocollectandreceiveanyMoniesorotherpropertypayabletoordeliverable  onanysuch
         claims,andto distribute all amountsreceived
                                                   withrespectto theclaimsof theNoteholders   andof the
         TrusteeonbehalfoftheNoteholders   andtheTrustee;andanytrustee,receiveror liquidator,
                                                                                            custodianor
         othersimilarofficialishereby authorized
                                              byeachoftheNoteholderstomakepayments     totheTrustee,
                                                                                                  and,
         intheeventthattheTrustee   shallconsent
                                               tothemakingofpayments directlytotheNoteholders, topayto
         theTrusteesuchamounts    asshallbe sufficient
                                                     to coverreasonable
                                                                      compensation   to theTrustee,
                                                                                                  each
         predecessor Trusteeandtheirrespectiveagents,
                                                    attorneys
                                                            andcounsel, andall otherreasonable expenses
         andliabilitiesincurred,andalladvancesmade,by theTrustee andeachpredecessor   Trusteeexceptasa
         resultofnegligence orbadfaith.
        Nothinghereincontained
                             shallbedeemedtoauthorize
                                                    theTrusteetoauthorizeorconsent toorvoteforor
acceptor adoptonbehalfof anyNoteholder,
                                      anyplanof reorganization,
                                                             arrangement,adjustment or composition
affecting
        theNotesortherightsofanyHolderthereof,
                                             ortoauthorize
                                                         theTrusteetovotein respect oftheclaimof
anyNoteholderin anysuchProceeding except,
                                       asaforesaid,
                                                  tovotefor theelectionof a trustee
                                                                                  in bankruptcy
                                                                                              or
similarperson.

         All rightsofactionandofasserting
                                       claimsunderthisIndenture,orunderanyoftheNotes,maybeenforced
bytheTrustee   withoutthepossession
                                  of anyoftheNotesortheproduction  thereofinanytrialor otherProceedings
relativethereto, andanyactionorProceedingsinstituted
                                                   bytheTrustee shallbebroughtin itsownnameastrustee
ofanexpress   trust,andanyrecoveryofjudgment,subjecttothepayment ofthereasonableexpenses, disbursements
andcompensation    of theTrustee,
                                eachpredecessortrusteeandtheirrespective
                                                                       agentsandattorneys  andcounsel,
shallbefortheratablebenefitof theSecured   PartiesandpayabletotheSecured   Parties
                                                                                 in accordancewiththe
PriorityofPayments,
       InanyProceedings
                      brought
                            bytheTrustee
                                       onbehalfof theHolders
                                                           of theNotes,theTrustee
                                                                                shallbeheld
torepresent
         alltheHolders
                     oftheNotes.

       Notwithstandinganything
                             in thisSection
                                          5.3to thecontrary,
                                                          theTrusteemaynotsellor liquidatethe
Collateral
        or instituteProceedings
                             in furtherance
                                         thereofpursuant
                                                      to thisSection
                                                                   5.3exceptin accordance
                                                                                        with
Section
      5.5(a).
                       Section 5.4 Remedies.

          (a)     If an Event of Default shall have occurred and be continuing, and the Notes have been declared
due and payable and such declaration and its consequences have not been rescinded and annulled, the Issuers agree
that the Trustee may after notice to the Secured Parties, and shall, upon direction by a Majority of the Controlling
Class, to the extent permitted by applicable law, exercise one or more of the following rights, privileges and
remedies:

                  (i)       institute Proceedings for the collection of all amounts then payable on the Notes or
         otherwise payable under this Indenture, whether by declaration or otherwise, enforce any judgment
         obtained, and collect from the Collateral any Monies adjudged due;

                   (ii)      sell all or a portion of the Collateral or rights of interest therein, at one or more public or
         private sales called and conducted in any manner permitted by law and in accordance with Section 5.17;




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                  (iii)    institute Proceedings from time to time for the complete or partial foreclosure         of this
         Indenture with respect to the Collateral;

                   (iv)     exercise any remedies of a secured party under the UCC or any other applicable law and
         take any other appropriate action to protect and enforce the rights and remedies of itself and the Secured
         Parties hereunder; and

                    (v)      exercise any other rights and remedies that may be available at law or in equity;

provided that the Trustee may not sell or liquidate the Collateral or institute Proceedings        in furtherance thereof
pursuant to this Section 5.4 except in accordance with Section 5.5(a).

           The Trustee may, but need not, obtain and rely upon an opinion of an Independent investment banking fn'm
of national reputation, the cost of which shall be paid by the Issuer as an Administrative Expense, as to the
feasibility of any action proposed to be taken in accordance with this Section 5.4 and as to the sufficiency of the
proceeds and other amounts receivable with respect to the Collateral to make the required payments of principal of
and interest on the Notes, which opinion shall be conclusive evidence as to such feasibility or sufficiency.

         (b)      If an Event of Default as described in Section 5. l(e) shall have occurred and be continuing, the
Trustee may, and at the request of the Holders of not less than fifty percent (50%) of the Aggregate Outstanding
Amount of the Controlling Class shall, institute a Proceeding solely to compel performance of the covenant or
agreement or to cure the representation or warranty, the breach of which gave rise to the Event of Default under such
Section, and enforce any equitable decree or order arising from such proceeding.

          (c)     Upon any sale, whether made under the power of sale hereby given or by virtue of judicial
proceedings, any Noteholder or Noteholders may bid for and purchase the Collateral or any part thereof and, upon
compliance with the terms of sale, may hold, retain, possess or dispose of such property in its or their own absolute
right without accountability.

          Upon any sale, whether made under the power of sale hereby given or by virtue of judicial proceedings, the
receipt of the Trustee or of the Officer making a sale under such judicial proceedings shall be a sufficient discharge
to the purchaser or purchasers at any sale for its or their purchase Money, and such purchaser or purchasers shall not
be obliged to see to the application thereof.

         Ariy such sale, whether under any power of sale hereby given or by virtue of judicial proceedings, shall
bind the Issuers, the Trustee and the Noteholders, shall operate to divest all right, title and interest whatsoever, either
at law or in equity, of each of them in and to the property sold, and shall be a perpetual bar, both at law and in
equity, against each of them and their successors and assigns, and against any and all Persons claiming through or
under them.

          (d)     Notwithstanding any other provision of this Indenture or any other Transaction Agreement, the
Trustee, each other Secured Party and any other party to any Transaction Agreement may not, prior to the date
which is one year, or, if longer, the applicable preference period then in effect (including any period established
pursuant to the laws of the Cayman Islands) and one day, after the payment in full of all Notes, institute against, or
join any other Person in instituting against, the Issuer or the Co-Issuer any bankruptcy, reorganization, arrangement,
insolvency, moratorium or liquidation proceedings, or other proceedings under Federal or state bankruptcy or
similar laws. Nothing in this Section 5.4 shall preclude, or be deemed to stop, the Trustee or any other Secured
Party or any other party to any Transaction Agreement from taking any action prior to the expiration of the
aforementioned one year and one day period, or, if longer, the applicable preference period then in effect (including
any period established pursuant to the laws of the Cayman Islands), in (A) any case or proceeding voluntarily filed
or commenced by the Issuer or the Co-Issuer or 03) any involuntary insolvency proceeding filed or commenced by a
Person other than the Trustee, such Secured Party or (as the case may be) such other party; provided that the
obligations of the Issuers hereunder shall be payable solely from the Collateral in accordance with the Priority of
Payments.




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                          Section 5.5 Preservation of Collateral.

         (a)      If an Event of Default shall have occurred and be continuing when any of the Notes are
Outstanding, the Trustee shall retain the Collateral securing the Notes intact, collect and cause the collection of the
proceeds thereof and make and apply all payments and deposits and maintain all accounts in respect of the Collateral
and the Notes in accordance with the Priority of Payments and the provisions of Articles X, XII and XIII unless
either:

                    (i)      the Trustee, or an Independent investment banking firm of national reputation selected by
          the Trustee at the expense of the Issuer, determines that the anticipated proceeds of a sale or liquidation of
          the Collateral (after deducting the reasonable expenses of such sale or liquidation) would be sufficient to
          discharge in full the amounts then due and unpaid on the Notes for principal and interest (including
          Deferred Interest and Defaulted Interest and interest on Defaulted Interest, if any), due and unpaid
          Administrative Expenses as limited by paragraph (B) of Section ll.l(a)(i),         any accrued and unpaid
          amounts payable by the Issuer pursuant to the Interest Rate Swap Agreement (assuming, for this purpose,
          that such Interest Rate Swap Agreement has been terminated by reason of an event of default thereunder
          with respect to the Issuer), any accrued and unpaid amounts payable by the Issuer pursuant to the Synthetic
          Securities, and a Majority of the Controlling Class agrees with such determination; or

                    (ii)    the Holders of at least sixty-six and two-thirds percent (66 %) of the Aggregate
          Outstanding Amount of the Class A Notes, Class B Notes, Class C Notes, Class D Notes and Class E Notes
          (each Class voting as a separate Class), the Interest Rate Swap Counterparty (unless no early termination
          payment would be owing by the Issuer to such Interest Rate Swap Counterparty upon the termination of the
          Interest Rate Swap Agreement or the Collateral Manager certifies to the Trustee that all amounts due to
          such Interest Rate Swap Counterparty will be paid in full in accordance with the Priority of Payments),
          each Synthetic Security Counterparty (unless no early termination payment would be owing by the Issuer to
          such Synthetic Security Counterparty upon the termination of the related Synthetic Security or the
          Collateral Manager certifies to the Trustee that all amounts due to such Synthetic Security Counterparty
          will be paid in full in accordance with the Priority of Payments) direct the sale and liquidation of the
          Collateral.

          If either (i) or (ii) is satisfied, the Trustee shall liquidate the Collateral and terminate or assign the Synthetic
Securities, the Interest Rate Swap Agreement, the Investment Agreement and, on the second Business Day (the
"Accelerated Maturity Date") following the Business Day on which the Trustee notifies the Issuer, the Collateral
Manager and each Rating Agency that such liquidation and termination is completed, apply the proceeds thereof in
accordance with the Priority of Payments.

          For purposes of clause (ii) of the preceding paragraph, if an Interest Rate Swap Counterparty shall fail to
vote on whether to direct the sale and liquidation of the Collateral within three Business Days after written notice
from the Issuer or the Trustee requesting a vote pursuant to such clause (ii), such Interest Rate Swap Counterparty
shall not be entitled to participate in the vote requested by such notice. The Trustee shall give written notice of the
retention of the Collateral to the Issuer with a copy to the Co-Issuer, each Synthetic Security Counterparty and to the
Interest Rate Swap Counterparty. So long as such Event of Default is continuing, any such retention pursuant to this
Section 5.5(a) may be rescinded at any time when the conditions specified in clause (i) or (ii) exist.

          (b)      Nothing contained in Section 5.5(a) shall be construed          to require the Trustee to preserve the
Collateral securing the Notes if prohibited by applicable law.

          (c)      In determining whether the condition specified in Section 5.5(a)(i) exists, the Trustee, or the
Independent investment banking firm of national reputation selected by the Trustee, shall obtain bid prices with
respect to each security contained in the Collateral from two nationally recognized dealers, as specified by the
Collateral Manager in writing, which are Independent from each other and the Collateral Manager, at the time
making a market in such securities and shall compute the anticipated proceeds of sale or liquidation on the basis of
the lower of such bid prices for each such security. In addition, for the purposes of determining issues relating to the
execution of a sale or liquidation of the Pledged Securities and the execution of a sale or other liquidation thereof in



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connection
        witha determination
                         whether theconditionspecified
                                                     in Section
                                                              5.5(a)(i)exists,
                                                                             theTrusteemayretain
andconclusively
             relyonanopinionofanIndependentinvestmentbankingfwmofnational  reputation.
        TheTrustee  shalldelivertotheNoteholders, theInterest RateSwapCounterparty,     eachSynthetic Security
Counterparty andtheIssuersa reportstatingtheresultsof anydetermination     requiredpursuant to Section5.5(a)(i)
no laterthan10daysaftermakingsuchdetermination       but,in anycase,beforesuchsaleconducted        pursuant  to
Section 5.5(a)(i).TheTrustee or theIndependent investment banking  firmselected   by theTrustee shallmakethe
determinations required
                      by Section 5.5(a)(i)assoonasreasonably   practicable, aftertheTrusteereceives therequest
ofanInterest RateSwapCounterparty,   eachSynthetic Security Counterparty  oraMajorityof theControlling   Class
at anytimeduringwhichtheTrustee       retainstheCollateral pursuant  to Section5.5(a)(i).In thecaseof any
calculationmadeby theTrustee   pursuant to Section5.5(a)(i),theTrustee   shallobtaina letterof anIndependent
certifiedpublicaccountant confirmingthe accuracy    of the computations    of the Trusteeandcertifyingtheir
conformity to therequirements of thisIndenture. In determining  whether theHoldersof therequisite    Aggregate
Outstanding Amount of any Class of Notes have given any direction or notice or have agreed pursuant to Section
5.5(a), any Holder of a Note of a Class who is also a Holder of Notes of another Class or any Affiliate of any such
Holder shall be counted as a Holder of each such Note for all purposes.

          (d)       If an Event of Default shall have occurred and be continuing at a time when no Notes are
Outstanding, the Trustee shall retain the Collateral securing the Notes intact, collect and cause the collection of the
proceeds thereof and make and apply all payments and deposits and maintain all accounts in respect of the Collateral
and the Notes in accordance with the Priority of Payments and the provisions of Article X and Article XII unless a
Majority-in-Interest of Preference Shares direct the sale and liquidation of the Collateral.

                          Section 5.6   Trustee May Enforce Claims Without Possession of Notes.

         All rights of action and claims under this Indenture, the Notes may be prosecuted and enforced by the
Trustee without the possession of any of the Notes or the production thereof in any Proceeding relating thereto, and
any such Proceeding instituted by the Trustee shall be brought in its own name as trustee of an express trust, and any
recovery of judgment shall be applied as set forth in Section 5.7.

                          Section 5.7 Application of Money Collected.

         Any Money collected by the Trustee with respect to the Notes pursuant to this Article V and any Money
that may then be held or thereafter received by the Trustee with respect to the Notes hereunder shall be applied net
of reasonable costs of collection and enforcement, subject to Section 13.1 and in accordance with the provisions of
Section 11.1, at the date or dates fixed by the Trustee.

                          Section 5.8 Limitation on Suits.

          No Holder of any Note shall have any right to institute any Proceedings, judicial or otherwise, with respect
to this Indenture, or for the appointment of a receiver or trustee, or for any other remedy hereunder, unless:

                    (a)       such Holder has previously given to the Trustee written notice of an Event of Default;

                     (b)      except as otherwise provided in Section 5.9, the Holders       of at least fifty percent (50%) of
          the then Aggregate Outstanding Amount of the Notes of the Controlling               Class shall have made written
          request to the Trustee to institute Proceedings in respect of such Event            of Default in its own name as
          Trustee hereunder and such Holder or Holders have offered to the                    Trustee indemnity reasonably
          satisfactory to it against the costs, expenses and liabilities to be incurred in   compliance with such request;

                    (c)        the Trustee for 30 days after its receipt of such notice, request and offer of indemnity has
          failed to institute any such Proceeding; and

                   (d)      no direction inconsistent with such written request has been given to the Trustee during
          such 30-day period by a Majority of the Controlling Class;


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it beingunderstood
                 andintended thatnooneormoreHolders ofNotesshallhaveanyrigfitinanymanner   whatever
by virtueof,orby availingof,anyprovision
                                       ofthisIndenture
                                                     toaffect,disturb
                                                                    or prejudice
                                                                               therightsof anyother
HoldersofNotesor toobtainor toseektoobtainpriorityorpreferenceoveranyotherHolders  oftheNotesor to
enforce anyrightunderthisIndenture,
                                  except
                                       in themannerhereinprovidedandfortheequalandratable benefitof
all theHoldersof Notesof thesameClasssubjectto andin accordance  withSection13.1andthePriorityof
Payments.
       If theTrustee
                   shallreceive
                              conflicting
                                        orinconsistent
                                                     requestsandindemnity    fromtwoor moregroupsof
HoldersoftheControlling
                      Class,eachrepresentinglessthanaMajorityof theControlling   Class,theTrustee shall
taketheactionrequested
                     bytheHoldersofthelargest percentage
                                                       in Aggregate Outstanding Amount of the Notes of
the Controlling Class notwithstanding    any other provisions of this Indenture.

                          Section 5.9 Unconditional Rights of Noteholders to Receive Principal and Interest.

          Notwithstanding any other provision in this Indenture (but subject (for the avoidance of any doubt) to
Section 2.6(i)), the Holder of any Note shall have the right, which is absolute and unconditional, to receive payment
of the principal of and interest on such Note as such principal and/or interest become due and payable in accordance
with Section 13.1 and the Priority of Payments and, subject to the provisions of Section 5.8, to institute proceedings
for the enforcement of any such payment, and such right shall not be impaired without the consent of such Holder.

                          Section 5.10 Restoration of Rights and Remedies.

         If the Trustee or any Noteholder has instituted      any Proceeding to enforce any right or remedy under this
Indenture and such Proceeding has been discontinued            or abandoned for any reason, or has been determined
adversely to the Trustee or to such Noteholder, then         and in every such case the Issuers, the Trustee and the
Noteholder shall, subject to any determination in such       Proceeding, be restored severally and respectively to their
former positions hereunder, and thereafter all rights and    remedies of the Trustee and the Noteholders shall continue
as though no such Proceeding had been instituted.

                          Section 5.11 Rights and Remedies Cumulative.

          No right or remedy herein conferred upon or reserved to the Trustee, to an Interest Rate Swap
Counterparty, each Synthetic Security Counterparty or to the Noteholders is intended to be exclusive of any other
right or remedy, and every right and remedy shall, to the extent permitted by law, be cumulative and in addition to
every other right and remedy given hereunder or now or hereafter existing by law or in equity or otherwise. The
assertion or employment of any right or remedy hereunder, or otherwise, shall not prevent the concurrent assertion
or employment of any other appropriate right or remedy.

                          Section 5.12 Delay or Omission Not Waiver.

         No delay or omission of the Trustee or of the Interest Rate Swap Counterparty or each Synthetic Security
Counterparty or Noteholder to exercise any right or remedy accruing upon any Event of Default shall impair any
such right or remedy or constitute a waiver of any such Event of Defanlt or an acquiescence therein. Every right and
remedy given by this Article V or by law to the Trustee or to the Noteholders may be exercised from time to time,
and as often as may be deemed expedient, by the Trustee or by the Noteholders, as the case may be.

                          Section 5.13 Control by Controlling Class.

          Notwithstanding any other provision of this Indenture (but subject to the proviso in the definition of
"Outstanding" in Section 1.1), a Majority of the Controlling Class shall have the right to cause the institution of and
direct the time, method and place of conducting any Proceeding for any remedy available to the Trustee for
exercising any trust, right, remedy or power conferred on the Trustee; provided that:

                    (a)       such direction shall not conflict with any rule of law or with this Indenture;




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                    (b)      the Trusteemaytake any other action deemed              proper by the Trustee that is not
         inconsistent with such direction; provided that, subject to Section 6.1,    the Trustee need not take any action
         whether pursuant to direction from the Controlling Class or otherwise       that it determines might involve it in
         liability (unless the Trustee has received satisfactory indemnity against    such liability as set forth below);

                    (c)       the Trustee shall have been provided with indemnity satisfactory to it; and

                  (d)       any direction to the Trustee to undertake a Sale of the Collateral shall be made only
         pursuant to, and in accordance with, Sections 5.4 and 5.5.

                          Section 5.14 Waiver of Past Defaults.

         Prior to the time a judgment or decree for payment of the Money due has been obtained by the Trustee, as
provided in this Article V, a Majority of the Controlling Class acting together with the Synthetic Security
Counterparty may (by notice to the Trustee and the Issuer, with a copy to the Interest Rate Swap Counterparty) on
behalf of the Holders of all the Notes waive any past Default and its consequences, except a Default:

                   (a)      in the payment of the principal of any Note or in the payment of interest on the Class A
         Notes or the Class B Notes (including Defaulted Interest and interest on Defaulted Interest, if any) or, after
         the Class A Notes and the Class B Notes have been paid in full, on the Class C Notes (including Deferred
         Interest, Defaulted Interest and interest on Defaulted Interest, if any), after the Class A Notes, Class B
         Notes and Class C Notes have been paid in full, on the Class D Notes (including Deferred Interest,
         Defaulted Interest and interest on Defaulted Interest, if any), or after the Class A Notes, Class B Notes,
         Class C Notes and Class D Notes have been paid in full, on the Class E Notes (including Deferred Interest,
         Defaulted Interest and interest on Defaulted Interest, if any);

                  (b)     in respect of a covenant or provision hereof that under Section 8.2 cannot be modified or
          amended without the waiver or consent of the Holder of each Outstanding Note affected thereby; or

                    (c)       arising under Section 5. l(g) or 5.1 (h).

          Notwithstanding the grant of a waiver of a past Default pursuant to the above, the Interest Rate Swap
Counterparty may rescind such waiver by notice to the Trustee, the Collateral Manager and the Holders of the
Controlling Class of Notes (given within five Business Days after receipt of notice of such waiver) if the Interest
Rate Swap Counterparty delivers to the Trustee an Independent Opinion of Counsel or a certification from an
Independent investment banking firm of national reputation attesting that such waiver will have a material and
adverse effect on such Interest Rate Swap Counterparty, as applicable; provided, that the expense of obtaining such
Independent opinion or certification shall be paid by such Interest Rate Swap Counterparty.

         In the case of any such waiver, the Issuers, the Trustee, the related Synthetic Security Counterparty, the
Interest Rate Swap Counterparty and the Holders of the Notes shall be restored to their former positions and rights
hereunder, respectively, but no such waiver shall extend to any subsequent or other Default or impair any right
consequent thereto. The Rating Agencies shall be notified in writing by the Issuer of any such waiver.

         Upon any such waiver, such Default shall cease to exist, and any Event of Default arising therefrom shall
be deemed to have been cured for every purpose of this Indenture, but no such waiver shall extend to any subsequent
or other Default or impair any right consequent thereto.

                          Section 5.15 Undertaking for Costs.

         All parties to this Indenture agree, and each Holder of any Note by its acceptance thereof shall be deemed
to have agreed, that any court may in its discretion require, in any suit for the enforcement of any right or remedy
under this Indenture, or in any suit against the Trustee for any action taken, or omitted by it as Trustee, the filing by
any party litigant in such suit of an undertaking to pay the costs of such suit, and that such court may in its discretion
assess reasonable costs, including reasonable attorneys' fees, against any party litigant in such suit, having due


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regardtothemeritsandgoodfaithoftheclaimsor defenses madebysuchpartylitigant;buttheprovisions
                                                                                           ofthis
Section 5.15shallnotapplyto anysuitinstituted
                                            by theTrustee,
                                                         to anysuitinstituted
                                                                            byanyNoteholder,
                                                                                           or any
groupofNoteholders, holdingin theaggregatemorethantenpercent (10%)in AggregateOutstanding
                                                                                       Amountof
theControllingClass,
                   ortoanysuitinstituted
                                       byanyNoteholder fortheenforcement ofthepayment
                                                                                    oftheprincipal
oforinterestonanyNoteonoraftertheStated  Maturityexpressed
                                                         in suchNote(or,inthecase
                                                                                ofredemption,
                                                                                            onor
aftertheapplicable
                 Redemption Date).

                          Section 5.16 Waiver of Stay or Extension Laws.

         Each of the Issuers covenants (to the extent that it may lawfully do so) that it will not at any time insist
upon, or plead, or in any manner whatsoever claim or take the benefit or advantage of, any stay or extension law
wherever enacted, now or at any time hereafter in force, which may affect the covenants, the performance of or any
remedies under this Indenture; and each of the Issuers (to the extent that it may lawfully do so) hereby expressly
waives all benefit or advantage of any such law, and covenants that it will not hinder, delay or impede the execution
of any power herein granted to the Trustee, but will suffer and permit the execution of every such power as though
no such law had been enacted.

                          Section 5.17 Sale of Collateral.

         (a)       The power to effect any sale (a "Sale") of any portion of the Collateral pursuant to Sections 5.4
and 5.5 shall not be exhausted by any one or more Sales as to any portion of such Collateral remaining unsold, but
shall continue unimpaired until the entire Collateral shall have been sold or all amounts secured by the Collateral
shall have been paid. The Trustee may, upon notice to the Securityholders, and shall, upon direction of a Majority
of the Controlling Class, from time to time postpone any Sale by announcement made at the time and place of such
Sale; provided that, if the Sale is rescheduled for a date more than ten Business Days after the date of the
determination by the Trustee, or an Independent investment banking firm of national reputation selected by the
Trustee, pursuant to Section 5.5, such Sale shall not occur unless and until the Trustee has again made the
determination required by Section 5.5. The Trustee hereby expressly waives its rights to any amount fixed by law as
compensation for any Sale; provided that the Trustee shall be authorized to deduct the reasonable costs, charges and
expenses incurred by it in connection with such Sale from the proceeds thereof notwithstanding the provisions of
Section 6.8.

           (b)    The Trustee may bid for and acquire any portion of the Collateral in connection with a public Sale
thereof on an arms-length basis to the extent not prohibited by applicable law, and may pay all or part of the
purchase price thereof, by crediting all or part of the net proceeds of such Sale after deducting the reasonable costs, :
charges and expenses incurred by the Trustee in connection with such Sale notwithstanding the provisions oL
Section 6.8 against amounts owing on the Notes or other amounts secured by this Indenture in accordance with the
Priority of Payments. The Notes need not be produced in order to complete any such Sale, or in order for the net
proceeds of such Sale to be credited against amounts owing on the Notes. The Trustee may hold, lease, operate,
manage or otherwise deal with any property so acquired in any manner permitted by law in accordance with this
Indenture.

           (c)      If any portion of the Collateral consists of securities not registered under the Securities Act
("Unregistered Securities"), the Trustee may seek an Opinion of Counsel, or, if no such Opinion of Counsel can be
obtained and with the consent of a Majority of the Controlling Class, seek a no-action position from the United
States Securities and Exchange Commission or any other relevant Federal or state regulatory authorities, regarding
the legality of a public or private sale of such Unregistered Securities.

          (d)       The Trustee shall execute and deliver an appropriate instrument of conveyance transferring its
interest in any portion of the Collateral in connection with a sale thereof. In addition, the Trustee is hereby
irrevocably and by way of security appointed the agent and attorney-in-fact of the Issuer to transfer and convey the
Issuer's interest in any portion of the Collateral in connection with a sale thereof, and to take all action necessary to
effect such sale. No purchaser or transferee at such a sale shall be bound to ascertain the Trustee's authority, to
inquire into the satisfaction of any conditions precedent or see to the application of any Monies.




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                           Section 5.18 Action on the Notes.

          The Trustee's right to seek and recover judgment on the Notes or under this Indenture shall not be affected
by the seeking or obtaining of or application for any other relief under or with respect to this Indenture. Neither the
lien of this Indenture nor any rights or remedies of the Trustee or the Noteholders shall be impaired by the recovery
of any judgment by the Trustee against the Issuer or by the levy of any execution under such judgment upon any
portion of the Collateral or upon any of the assets of the Issuer or the Co-Issuer.

                                                       ARTICLE VI

                                                      THE TRUSTEE

                           Section 6.1 Certain Duties and Responsibilities.

         (a)       Except during the continuance of an Event of Default:

          (i)      the Trustee undertakes to perform such duties and only such duties as are specifically set forth in
this Indenture, and no implied covenants or obligations shall be read into this Indenture against the Trustee; and

         (ii)      in the absence of bad faith on its part, the Trustee may conclusively rely, as to the truth of the
statements and the correctness of the opinions expressed therein, upon any certificates or opinions furnished to the
Trustee and conforming to the requirements of this Indenture; provided that, in the case of any such certificates or
opinions which by any provision hereof are specifically required to be furnished to the Trustee, the Trustee shall be
under a duty to examine the same to determine whether or not they substantially conform to the requirements of this
Indenture and shall promptly, but in any event within three Business Days in the case of an Officer's certificate
furnished by the Collateral Manager, notify the party delivering the same if such certificate or opinion does not
conform.' If a corrected form shall not have been delivered to the Trustee within 15 days after such notice from the
Trustee, the Trustee shall so notify the Noteholders.

          (b)     In case an Event of Default of which a Trust Officer has actual knowledge has occurred and is
continuing, the Trustee shall, prior to the receipt of directions, if any, from a Majority of the Controlling Class,
exercise such of the rights and powers vested in it by this Indenture and use the same degree of care and skill in its
exercise as a prudent person would exercise or use under the circumstances in the conduct of such person's own
affairs.

          (c)      No provision of this Indenture shall be construed to relieve the Trustee from liability for its own
negligent action, its own negligent failure to act or its own willful misconduct, except that:

                  (i)          this subclause   (c) shall not be construed   to limit the effect of subclause   (a) of this
         Section 6.1;

                  (ii)       the Trustee shall not be liable for any error of judgment made in good faith by a Trust
         Officer, unless it shall be proven that the Trustee was negligent in ascertaining the pertinent facts;

                   (iii)   the Trustee shall not be liable with respect to any action taken or omitted to be taken by it
         in good faith in accordance with any direction of the Issuer, the Co-Issuer or the Collateral Manager in
         accordance with this Indenture and/or a Majority (or such other percentage as may be required by the terms
         hereof) of the Controlling Class (or other Class if required or permitted by the terms hereof) relating to the
         time, method and place of conducting any Proceeding for any remedy available to the Trustee, or
         exercising any trust or power conferred upon the Trustee, under this Indenture; and

                    (iv)    no provision of this Indenture shall require the Trustee to expend or risk its own funds or
          otherwise incur any liability, financial or otherwise, in the performance of any of its duties hereunder, or in
          the exercise of any of its rights or powers contemplated hereunder, if it shall have reasonable grounds for




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          believing
                  thatrepayment
                             of such funds             or indemnity against such risk or liability is not reasonably assured
          to it unless such risk or liability relates to performance of its ordinary services, including under Article V.

           (d)      For all purposes under this Indenture, the Trustee shall not be deemed to have notice or knowledge
of any Event of Default described in Section 5.1(d), 5.1(e), 5.1(g) or 5.1(h) or any Default described in Section
5.1 (e) or 5.1(f) unless a Trust Officer assigned to and working in the Corporate Trust Office has actual knowledge
thereof or unless written notice of any event which is in fact such an Event of Default or such a Default, as the case
may be, is received by the Trustee at the Corporate Trust Office. For purposes of determining the Trustee's
responsibility and liability hereunder, whenever reference is made in this Indenture to such an Event of Default or
such a Default, as the case may be, such reference shall be construed to refer only to such an Event of Default or
such a Default, as the case may be, of which the Trustee is deemed to have notice as described in this Section 6.1(d).

         (e)      Whether or not therein expressly so provided, every provision of this Indenture relating to the
conduct or affecting the liability of or affording protection to the Trustee shall be subject to the provisions of this
Article VI.

          (f)      The Trustee shall, upon reasonable (but no less than two Business Days') prior written notice to
the Trustee, permit any representative of a Holder of a Note, during the Trustee's normal business hours, to examine
all books of account, records, reports and other papers of the Trustee relating to the Notes, to make copies and
extracts therefrom (the reasonable out-of-pocket expenses incurred in making any such copies or extracts to be
reimbursed to the Trustee by such Holder) and to discuss the Trustee's actions, as such actions relate to the Trustee's
duties with respect to the Notes, with the Trustee's officers and employees responsible for carrying out the Trustee's
duties with respect to the Notes.

                           Section 6.2 Notice of Default.

          Promptly (and in no event later than two Business Days) after the occurrence of any Default actually
known to a Trust Officer of the Trustee or after any declaration of acceleration has been made or delivered to the
Trustee pursuant to Section 5.2, the Trustee shall mail to the Issuers, the Collateral Manager, each Rating Agency
(for so long as any Class of Notes is Outstanding), each Synthetic Security Counterparty, the Interest Rate Swap
Counterparty, the Initial Investment Agreement Provider and to all Holders of Securities, as their names and
addresses appear on the Note Register or Share Register and, upon written request therefor in the form of Schedule I
attached hereto certifying that it is a holder of a beneficial interest in any Note, to such holder (or its designee),
notice of all Defaults hereunder known to the Trustee, unless such Default shall have been cured or waived.

                           Section 6.3   Certain Rights of Trustee.

          Except as otherwise provided in Sections 6.1:

                    (a)       the Trustee may rely and shall be protected in acting or refraining from acting upon any
          resolution, certificate, statement, instrument, opinion, report, notice, request, direction, consent, order,
          approval, note or other paper or document believed by it in good faith to be genuine and to have been
          signed or presented by the proper party or parties;

                      (b)     any request or direction of the Issuer or the Co-Issuer mentioned            herein shall be
           sufficiently evidenced by an Issuer Request or Issuer Order, as the case may be;

                     (c)       whenever in the administration of this Indenture the Trustee shall (i) deem it desirable
           that a matter be proved or established prior to taking, suffering or omitting any action hereunder, the
           Trustee (unless other evidence be herein specifically prescribed) may, in the absence of bad faith on its
           part, rely upon an Officer's certificate or (ii) be required to determine the value of any Collateral or funds
           hereunder or the cashflows projected to be received therefrom, the Trustee may, in the absence of bad faith
           on its part, rely on reports of nationally recognized accountants, investment bankers or other Persons
           qualified to provide the information required to make such determination, including nationally recognized
           dealers in securities of the type being valued and securities quotation services;



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                 (d)    asa conditiontothetakingor omittingof anyactionby it hereunder,
                                                                                      theTrusteemay
         consult
               withcounselandtheadviceofsuchcounsel  or anyOpinionofCounsel   shallbefull andcomplete
         authorization
                     andprotection
                                 in respect
                                          ofanyactiontakenor omitted byit hereunderin goodfaithandin
         reliance
                thereon;

                (e)      theTrustee  shallbeundernoobligation   to exercise
                                                                          or to honoranyof therightsor
         powersvested in it by thisIndenture
                                           attherequestor directionofanyoftheNoteholders pursuanttothis
         Indenture,
                  unlesssuchNoteholders    shallhaveofferedto theTrusteesecurityor indemnity reasonably
         satisfactory
                   to it against thecosts,expensesandliabilitieswhichmightreasonably beincurredby it in
         compliancewithsuchrequest   ordirection;

                 (f)      theTrustee  shallnotbeboundtomakeanyinvestigation     intothefactsormatters statedin
         anyresolution, certificate,
                                   statement,instrument,  opinion,
                                                                 report,notice,request, direction,
                                                                                                 consent,
                                                                                                        order,
         approval, noteor otherpaperdocuments,      buttheTrustee, in its discretion,mayand,uponthewritten
         directionof a Majorityof anyClassor of anyRatingAgencyshallmakesuchfurtherinquiryor
         investigationintosuchfactsormatters   asit mayseefit orasit shallbedirected,    and,theTrusteeshallbe
         entitled,onreasonable  priornoticeto theIssuers   andtheCollateral Manager,  to examine thebooksand
         recordsoftheIssuers  andtheCollateral  Manager   relating
                                                                 totheNotesandtheCollateral,    personally
                                                                                                         orby
         agentorattorney  atatimeacceptable   totheIssuers  ortheCollateralManager  in theirreasonable
                                                                                                     judgment
         duringnormalbusiness    hours;provided  thattheTrustee  shallcause itsagents,  toholdin confidenceall
         suchinformation,  except(i) totheextentdisclosure  mayberequired  bylaworby anyregulatory    authority
         and(ii) to theextentthattheTrustee,     in its solejudgment (andafterconsultation   withtheCollateral
         Manager), maydetermine   thatsuchdisclosure   isconsistent
                                                                  withitsobligationshereunder;

                (g)    exceptasprovidedin Section
                                                3.3,theTrustee mayexecute  anyof thetrustsorpowers
         hereunder
                 orperformanydutieshereundereitherdirectlyorbyorthroughagents,attorneys,
                                                                                       custodians
                                                                                               or
         nomineesappointed
                         withduecare;providedthattheTrustee shallnotberesponsible
                                                                               foranymisconductor
         negligence
                  onthepartofanyagent(otherthananyAffiliateoftheTrustee),
                                                                        attorney,
                                                                                custodian
                                                                                        ornominee
         soappointed;
                 (h)    theTrusteeshallnotbeliableforanyactionit takesoromitstotakein goodfaiththatit
          reasonably
                   and,subjectto Section6.1(b)above,aftertheoccurrence andduringthecontinuance  of an
          EventofDefault,
                        prudently
                                believestobeauthorizedorwithinitsrightsorpowershereunder;

                 (i)     nothinghereinshallbeconstruedto impose anobligation
                                                                           onthepartof theTrustee
                                                                                                to
          recalculate,
                     evaluate
                           orverifyanyreport,certificate
                                                       or information
                                                                    received
                                                                           fromtheIssuerorCollateral
          Manager (exceptupontherequestofaRatingAgency oraMajorityoftheControlling
                                                                                 Class);
                (j)      theTrusteeshallnotberesponsibleor liablefor theactionsor omissions
                                                                                         of, or any
          inaccuracies
                    in therecordsof,anyClearingAgency,Common   Depository,Euroclear,
                                                                                   Clearstream
                                                                                             or the
          Depositary
                   orfortheactsoromissionsoftheCollateral
                                                       Manager  ortheIssuers;
                 (k)     to theextentanydefinedtermhereunder, or anycalculationrequiredto bemadeor
          determinedby theTrustee hereunder,
                                           is dependent
                                                      uponor definedby reference  to generally
                                                                                             accepted
          accounting
                   principlesin theUnitedStates("GA_AP"),
                                                        theTrusteeshallbeentitledtorequestandreceive
          (andconclusivelyrelyupon)instruction
                                             fromtheIssuerortheaccountants
                                                                         appointed  pursuant
                                                                                           to Section
          10.10astotheapplicationofGAAPinsuchconnection, inanyinstance;
                (I)    theenumerationofanypermissive
                                                   rightorpowerherein
                                                                    available
                                                                            totheTrustee shallnot
          beconstrued
                    tobetheimposition
                                    ofaduty(unless
                                                 andexcept totheextentexpressly
                                                                             setforthherein);
                                                                                           and

                 (m)     Inordertocomply   withlaws,rules,regulations
                                                                   andexecutive  orders in effectfromtime
          totimeapplicabletobanking institutions,
                                               includingbutnotlimitedtothoserelatingtothePatriotAct,the
          funding
                of terrorist
                           activities
                                    andmoneylaundering ("ApplicableLaw"), the Trustee is required to obtain,
          verify and record   certain information   relating to individuals   and entities which maintain a business



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          relationship with the Trustee. Accordingly, each of the parties agrees to provide to the Trustee upon its
          request from time to time such identifying information and documentation as may be available for such
          party in order to enable the Trustee to comply with Applicable Law.

                          Section 6.4   Authenticating Agents.

          Upon the request of the Issuers, the Trustee shall, and if the Trustee so chooses the Trustee may, appoint
one or more Authenticating Agents with power to act on its behalf and subject to its direction in the authentication
of Notes in connection with issuance, transfers and exchanges under Sections 2.4, 2.5 and 8.5, as fully to all intents
and purposes as though each such Authenticating Agent had been expressly authorized by those Sections to
authenticate such Notes. For all purposes of this Indenture, the authentication of Notes by an Authenticating Agent
pursuant to this Section 6.4 shall be deemed to be the authentication of Notes by the Trustee."

          Any corporation into which any Authenticating Agent may be merged or converted or with which it may be
consolidated, or any corporation resulting from any merger, consolidation or conversion to which any
Authenticating Agent shall be a party, or any corporation succeeding to the corporate trust business of any
Authenticating Agent, shall be the successor of such Authenticating Agent hereunder, without the execution or filing
of any paper with any party hereto or any further act on the part of the parties hereto or such Authenticating Agent
or such successor corporation.

          Any Authenticating Agentmay at any time resign by giving written notice of resignation to the Trustee and
the Issuer. The Trustee may at any time terminate the agency of any Authenticating Agent by giving written notice
of termination to such Authenticating Agent and the Issuers. Upon receiving such notice of resignation or upon such
a termination, the Trustee shall promptly appoint a successor Authenticating Agent and upon acceptance by the
successor of such appointment, release the resigning or terminated Authenticating Agent from its obligations
hereunder by written instrument, a copy of which instrument shall be delivered to the Issuers.

          The Issuer agrees to pay to each Authenticating Agent from time to time reasonable compensation for its
services (Pr9vided, however, that, so long as an Authenticating Agent is the Trustee, or an Affiliate thereof, such
compensation shall be deemed included in the compensation payable to the Trustee under Section 6.8 pursuant to
the Priority of Payments, and reimbursement for its reasonable expenses relating thereto and the Trustee shall be
entitled to be reimbursed for such payments, subject to Section 6.8. The provisions of Sections 2.6(i), 2.8, 6.5 and
6.6 shall be applicable to any Authenticating Agent.

                          Section 6.5   Not Responsible for Recitals or Issuance of Notes.

         The recitals contained herein and in the Notes, other than the Certificate of Authentication thereon, shall be
taken as the statements of the Issuers, and the Trustee assumes no responsibility for their correctness. The Trustee
makes no representation as to the validity or sufficiency of this Indenture (except as may be made with respect to the
validity of the Trustee's obligations hereunder), of the Collateral or of the Notes. The Trustee shall not be
accountable for the use or application by the Issuers of the Notes or the proceeds thereof or any Money paid to the
Issuers pursuant to the provisions hereof.

                          Section 6.6 May Hold Notes.

           The Trustee, any Paying Agent, the Note Registrar or any other agent of the Issuers, in its individual or any
other capacity, may become the owner or pledgee of Notes and, may otherwise deal with the Issuers or any of their
Affiliates, with the same rights it would have if it were not Trustee, Paying Agent, Note Registrar or such other
agent.

                          Section 6.7 Money Held in Trust.

         Money held by the Trustee hereunder shall be held in trust to the extent required herein. The Trustee shall
be under no liability for interest on any Money received by it hereunder except to the extent of income or other gain
on investments which are deposits in or certificates of deposit of the Trustee in its commercial capacity. Except as


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set forth in Section 10.2(d), the Trustee shall have no obligation to invest and reinvest any cash held in the absence
of timely and specific written investment direction from the Collateral Manager. In no event shall the Trustee be
liable for the selection of investments or for investment losses incurred thereon. The Trustee shall have no liability
in respect of losses incurred as a result of the liquidation of any investment prior to its stated maturity or, except as
otherwise provided in Section 10.2(d), the failure of the Collateral Manager to provide timely written investment
direction.

                           Section 6.8 Compensation and Reimbursement.

         (a)       The Issuer agrees and covenants:

                   (i)      to pay the Trustee on each Distribution Date reasonable compensation for all services,
         including custodial services, rendered by it hereunder as set forth in a letter agreement dated the Closing
         Date (which compensation shall not be limited by any provision of law in regard to the compensation of a
         trustee of an express trust);

                   (ii)     to reimburse the Trustee (subject to any written agreement between the Issuer and the
         Trustee) in a timely manner upon its request and consent by the Collateral Manager for all reasonable
         expenses, disbursements and advances incurred or made by the Trustee (as such or as Securities
         Intermediary) in accordance with any provision of this Indenture or any other documents executed in
         connection herewith (including, without limitation, securities transaction charges and the reasonable
         compensation and expenses and disbursements of its agents and legal counsel and of any accounting firm
         or investment banking farm employed by the Trustee pursuant to Section 4.1(a}, 5.4, 5.5, 5.17, 6.3, 10.8 or
         10.9, except any such expense, disbursement or advance as may be attributable to its negligence, willful
         misconduct or bad faith) but only to the extent any such securities transaction charges have not been
         waived during a Due Period due to the Trustee's receipt of a payment from a financial institution with
         respect to certain Eligible Investments, as specified by the Collateral Manager;

                   (iii)    to indemnify the Trustee, its directors, officers, employees and agents for, and to defend
         and hold them harmless against, any loss, claim, obligation, damage, injury, penalty, stamp, tax, action,
         suit, judgment, liability or expense (including, without limitation, reasonable attorney's fees and expenses)
         incurred without negligence, willful misconduct or bad faith on their part arising out of or in connection
         with the acceptance or administration of this trust, including the costs and expenses of defending
         themselves against any claim or liability in connection with the exercise or performance of any of its
         powers or duties hereunder (including as Securities Intermediary and all other capacities hereunder); and

                   (iv)    to pay the Trustee reasonable additional compensation together with its expenses
         (including reasonable counsel fees) for any collection action taken pursuant to Section 6.14.

          (b)    The Issuer may remit payment for such fees and expenses to the Trustee or, in the absence thereof,
the Trustee may from time to time deduct payment of its fees and expenses hereunder from Moneys on deposit in
the Expense Account or, to the extent such fees and expenses exceed the amount on deposit in the Expense Account,
the Payment Account on any Distribution Date in accordance with Section 11.1.

          (c)      The Trustee hereby agrees not to cause the filing of a petition in bankruptcy, insolvency,
reorganization, moratorium, receivership, conservatorship or other similar laws now or hereafter in effect against the
Issuers for the non-payment to the Trustee of any amounts provided by this Section 6.8 until at least one year and
one day, or, if longer, the applicable preference period then in effect, after the payment in full of all Notes issued
under this Indenture.

          (d)      The amounts payable to the Trustee pursuant to this Section 6.8 (other than amounts received by
the Trustee from financial institutions under clause (a)(ii) above) shall not, except as provided by Sections 11.1 (a)(i)
and 11.1 (a)(ii), exceed on any Distribution Date the limitation on the amount thereof described in clause (2) of
Section ll.l(a)(i)   for such Distribution Date and the Trustee shall have a lien ranking senior to that of the
Noteholders upon all property and funds held or collected as part of the Collateral to secure payment of amounts



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payable
      to theTrusteeunderthisSection   6.8notto exceed  suchamount   withrespectto anyDistribution
                                                                                                Date;
provided
       that(i) theTrustee shallnotinstituteanyproceedingfor enforcement of suchlienexceptin connection
withanactionpursuant  toSection
                              5.3or5.4fortheenforcement   of thelienof thisIndenture
                                                                                   forthebenefitofthe
Secured
      Partiesand(ii) theTrusteemayonlyenforce sucha lieninconjunction withtheenforcementoftherightsof
theSecuredPartiesinthemanner setforthinSection5.3.

          TheTrusteeshall,subject  tothePriorityofPayments,   receiveamounts   pursuant to thisSection6.8and
Sections  11.1(a)(i)and11.l(a)(ii)onlytotheextentthatthepayment    thereofwill notresultin anEventofDefault
andthefailuretopaysuchamounts        to theTrustee will not,by itself,constitute
                                                                               anEventof Default.Subject   to
Section  6.10,theTrustee  shallcontinue  to serveasTrustee underthisIndenture  notwithstanding thefactthatthe
Trustee  shallnothavereceived  amounts   dueit hereunder andherebyagrees nottocause   thefilingofa petitionin
bankruptcy,  insolvency,reorganization,  moratorium,receivership, conservatorshipor othersimilarlawsnowor
hereafter in effectagainst
                         theIssuers forthenonpayment   totheTrustee  ofanyamounts  provided  bythisSection6.8
untilatleastoneyearandoneday,or,if longer,theapplicable     preference periodthenineffect,afterthepayment  in
full of allNotesissued underthisIndenture.    Nodirection by a Majorityof theControlling  Classshallaffectthe
rightoftheTrustee   tocollectamounts  owedtoit underthisIndenture.

                          Section 6.9   Corporate Trustee Required_ Eligibility.

          There shall at all times be a Trustee hereunder which shall be a corporation, association or trust company
organized and doing business under the laws of the United States or of any State thereof, authorized under such laws
to exercise corporate trust powers, having a combined capital and surplus of at least $200,000,000, subject to
supervision or examination by Federal or state authority, having a rating of at least "BBB+" by Standard & Poor's, at
least "Baal" by Moody's, and if so rated, such rating is not on watch for downgrade, and at least "BBB+" by Fitch
and having an once within the United States. If such corporation publishes reports of condition at least annually,
pursuant to law or to the requirements of the aforesaid supervising or examining authority, then for the purposes of
this Section 6.9, the combined capital and surplus of such corporation shall be deemed to be its combined capital and
surplus as set forth in its most recent report of condition so published. If at any time the Trustee shall cease to be
eligible in accordance with the provisions of this Section 6.9, it shall resign immediately in the manner and with the
effect hereinafter specified in this Article VI.

                          Section 6.10 Resignation and Removal_ Appointment of Successor.

          (a)     No resignation or removal of the Trustee and no appointment of a successor Trustee pursuant to
this Article VI shall become effective until the acceptance of appointment by the successor Trustee under Section
6.11.

          (b)      The Trustee may resign at any time by giving written notice thereof to the Preference Share
Paying Agent, the Issuers, the Noteholders, the Collateral Manager and each Rating Agency. Upon receiving such
notice of resignation, the Issuers shall promptly appoint a successor trustee or trustees by written instrument, in
duplicate, executed by an Authorized Officer of the Issuer and an Authorized Officer of the Co-Issuer, one copy of
which shall be delivered to the Trustee so resigning and one copy to the successor trustee or trustees, together with a
copy to each Noteholder; provided that such successor Trustee shall be appointed only upon the written consent of a
Majority of each Class or, at any time when an Event of Default shall have occurred and be continuing, by a
Majority of the Controlling Class. If no successor trustee shall have been appointed and an instrument of acceptance
by a successor Trustee shall not have been delivered to the Trustee within 30 days after the giving of such notice of
resignation or removal, the resigning Trustee, or any Holder of a Note, on behalf of itself and all others similarly
situated, may petition any court of competent jurisdiction for the appointment of a successor Trustee.

         (c)      The Trustee may be removed at any time by Act of Holders of at least sixty-six and two-thirds
percent (66 ¾) of the Aggregate Outstanding Amount of all of the Notes (voting together as a single Class) or, at any
time when an Event of Default shall have occurred and be continuing or when a successor Trustee has been
appointed pursuant to Section 6.11, by Act of a Majority of the Controlling Class, delivered to the Trustee and to the
Issuers.




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         (d)        If atanytime:
                 (i)    theTrusteeshallcease
                                           to beeligibleunderSection6.9andshallfail to resignafter
         writtenrequest
                     therefor
                            bytheIssuersorbyanyHolder;or
                 (ii)     theTrusteeshallbecomeincapable     of actingor shallbe adjudged   asbankruptor
         insolventorareceiver  orliquidatoroftheTrusteeorofitsproperty shallbeappointed oranypublicofficer
         shalltakecharge   or controlof theTrusteeor of itspropertyor affairsfor thepurposeof rehabilitation,
         conservation orliquidation,
then,in anysuchcase(subject
                         toSection
                                 6.10(a)),
                                        (A)theIssuer,
                                                   byIssuerOrder,
                                                               mayremove
                                                                       theTrustee,
                                                                                or03)
subject to Section 5.15, any Holder may, on behalf of itself and all others similarly situated, petition any court of
competent jurisdiction for the removal of the Trustee and the appointment of a successor Trustee.

          (e)       If the Trustee shall resign, be removed or become incapable of acting, or if a vacancy shall occur
in the office of the Trustee for any reason, the Issuers, by Issuer Order, shall promptly appoint a successor Trustee.
If the Issuers shall fail to appoint a successor Trustee within 60 days after such resignation, removal or incapability
or the occurrence of such vacancy, a successor Trustee may be appointed by Act of a Majority of the Controlling
Class delivered to the Issuer and the retiring Trustee. The successor Trustee so appointed shall, forthwith upon its
acceptance of such appointment, become the successor Trustee and supersede any successor Trustee proposed by the
Issuers. If no successor Trustee shall have been so appointed by the Issuers or such Holders and shall have accepted
appointment in the manner hereinafter provided, subject to Section 5.15, any Holder may, on behalf of itself and all
others similarly situated, petition any court of competent jurisdiction for the appointment of a successor Trustee.

          (f)     The Issuers shall give prompt notice of each resignation and each removal of the Trustee and each
appointment of a successor Trustee by mailing written notice of such event by first class mail, postage prepaid, to
the Collateral Manager, each Rating Agency and to the Holders as their names and addresses appear in the Note
Register or the Share Register, as applicable. Each notice shall include the name of the successor Trustee and the
address of its Corporate Trust Office. If the Issuers fail to mail such notice within ten days after acceptance of
appointment by the successor Trustee, the successor Trustee shall cause such notice to be given at the expense of the
Issuers.

                          Section 6.11 Acceptance of Appointment by Successor.

           Every successor Trustee appointed hereunder shall execute, acknowledge and deliver to the Issuers and the
retiring Trustee an instrument accepting such appointment as of the date of such instrument. Upon delivery of the
required instruments, the resignation or removal of the retiring Trustee shall become effective and such successor
Trustee, without any other act, deed or conveyance, shall become vested with all the rights, powers, trusts, duties
and obligations of the retiring Trustee; but, on request of the Issuers or a Majority of any Class or the successor
Trustee, such retiring Trustee shall, upon payment of its charges then unpaid, execute and deliver an instrument
transferring to such successor Trustee all the rights, powers and trusts of the retiring Trustee, and shall duly assign,
transfer and deliver to such successor Trustee all property and Money held by such retiring Trustee hereunder,
subject nevertheless to its lien, if any, provided for in Section 6.8(d). Upon request of any such successor Trustee,
the Issuers shall execute any and all instruments for more fully and certainly vesting in and confirming to such
successor Trustee all such rights, powers and trusts.

         No successor Trustee shall accept its appointment unless (a) at the time of such acceptance such successor
shall be qualified and eligible under this Article VI (particularly Section 6.9) and (b) the Rating Condition with
respect to the appointment of such successor Trustee shall have been satisfied. No appointment of a successor
Trustee shall become effective if a Majority of the Controlling Class objects to such appointment; and no
appointment of a successor shall become effective until the date ten days after notice of such appointment has been
given to each Noteholder.




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                           Section 6.12 Merger_ Conversion_ Consolidation or Succession to Business of Trustee.

          Any Person into which the Trustee may be merged or converted or with which it may be consolidated, or
any Person resulting from any merger, conversion or consolidation to which the Trustee shall be a party, or any
Person succeeding to all or substantially all of the corporate trust business of the Trustee, shall be the successor of
the Trustee hereunder; provided such Person shall be otherwise qualified and eligible under this Article VI, without
the execution or filing of any paper or any further act on the part of any of the parties hereto. In case any of the
Notes have been authenticated, but not delivered, by the Trustee then in office, any successor by merger, conversion
or consolidation to such authenticating Trustee may adopt such authentication and deliver the Notes so authenticated
with the same effect as if such successor Trustee had itself authenticated such Notes.

                           Section 6.13 Co-Trustees.

          At any time or times, for the purpose of meeting the legal requirements of any jurisdiction in which any
part of the Collateral may at the time be located, the Issuers and the Trustee shall have power to appoint one or more
Persons to act as co-trustee, jointly with the Trustee of all or any part of the Collateral, with the power to file such
proofs of claim and take such other actions pursuant to Section 5.5 or Section 5.6 and to make such claims and
enforce such rights of action on behalf of the Holders of the Notes subject to the other provisions of this Section
6.13. The appointment of any such co-trustee must be approved by the Rating Agencies.

          The Issuers shall join with the Trustee in the execution, delivery and performance of all instruments and
agreements necessary or proper to appoint a co-trustee. If the Issuers do not join in such appointment within 15 days
after the receipt by them of a request to do so, the Trustee shall have power to make such appointment. Should any
written instrument fxom the Issuers be required by any co-trustee so appointed for more fully confirming to such co-
trustee such property, title, right or power, any and all such instruments shall, on request, be executed,
acknowledged and delivered by the Issuers. The Issuer agrees to pay (subject to the Priority of Payments) any
reasonable fees and expenses in connection with such appointment.

         Every co-trustee shall, to the extent permitted by law, but to such extent only, be appointed subject to the
following terms:

                    (a)     the Notes shall be authenticated and delivered and all rights, powers, duties and
          obligations hereunder in respect of the custody of securities, Cash and other personal property held by, or
          required to be deposited or pledged with, the Trustee hereunder, shall be exercised solely by the Trustee;

                     (b)     the rights, powers, duties and obligations hereby conferred or imposed upon the Trustee
          in respect of any property covered by the appointment of a co-trustee shall be conferred or imposed upon
          and exercised or performed by the Trustee or by the Trustee and such co-trustee jointly, as shall be
          provided in the instrument appointing such co-trustee, except to the extent that under any law of any
          jurisdiction in which any particular act is to be performed, the Trustee shall be incompetent or unqualified
          to perform such act, in which event such rights, powers, duties and obligations shall be exercised and
          performed by a co-trustee;

                    (c)      the Trustee at any time, by an instrument in writing executed by it, with the concurrence
           of the Issuers evidenced by an Issuer Order, may accept the resignation of or remove any co-trustee
           appointed under this Section 6.13, and in case an Event of Default has occurred and is continuing, the
           Trustee shall have the power to accept the resignation of, or remove, any such co-trustee without the
           concurrence of the Issuers. A successor to any co-trustee so resigned or removed may be appointed in the
           manner provided in this Section 6.13;

                    (d)      no co-trustee hereunder shall be personally liable by reason of any act or omission of the
           Trustee or any other co-trustee hereunder;

                     (e)       the Trustee shall not be liable by reason of any act or omission of a co-trustee; and




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                 (f)    anyActofNoteholders
                                         delivered
                                                 totheTrustee
                                                            shallbedeemed
                                                                        tohavebeendelivered
          toeachco-trustee.

                          Section 6.14 Certain Duties Related to Delayed Payment of Proceeds.

           In the event that the Trustee shall not have received a payment with respect to any Pledged Security on its
Due Date (unless otherwise directed by the Collateral Manager in connection with any Pledged Security with respect
to which there was a default in payment during the preceding Due Period as to which the Collateral Manager is
taking action under the Management Agreement), (a) the Trustee shall promptly notify the Issuer and the Collateral
Manager in writing and (b) unless within three Business Days (or the end of the applicable grace period for such
payment, if longer) after such notice (i) such payment shall have been received by the Trustee or (ii) the Issuer, in its
absolute discretion (but only to the extent permitted by Section 10.2(c)), shall have made provision for such payment
satisfactory to the Trustee in accordance with Section 10.2(c), the Trustee shall request the issuer of such Pledged
Security, the trustee under the related Underlying Instrument or a paying agent designated by either of them, as the
case may be, to make such payment as soon as practicable after such request but in no event later than three
Business Days after the date of such request. In the event that such payment is not made within such time period,
the Trustee, subject to the provisions of Section 6.1(c)(iv), shall take such action as the Collateral Manager shall
direct in writing. Any such action shall be without prejudice to any right to claim a Default under this Indenture. In
the event that the Issuer or the Collateral Manager requests a release of a Pledged Security and/or delivers a new
Underlying Asset in connection with any such action under the Management Agreement, such release and/or
delivery shall be subject to Section 10.9 and Article XII, as the case may be. Notwithstanding any other provision
hereof, the Trustee shall deliver to the Issuer or its designee any payment with respect to any Pledged Security
received after the Due Date thereof to the extent the Issuer previously made provisions for such payment satisfactory
to the Trustee in accordance with Section 10.2(c) and this Section 6.14 and such payment shall not be deemed part
of the Collateral.

                          Section 6.15 Representations     and Warranties    of the Bank.

         (a)      Organization. The Bank has been duly organized and is validly existing as a banking corporation
under the laws of the State of New York and has the power to conduct its business and affairs as a trustee.

         (b)       Authorization; Binding Obligations. The Bank has the power and authority to perform the duties
and obligations of Trustee, Paying Agent, Transfer Agent and Note Registrar under this Indenture. The Bank has
taken all necessary action to authorize the execution, delivery and performance of this Indenture, and all of the
documents required to be executed by the Bank pursuant hereto. This Indenture has been duly executed and
delivered by the Bank. Upon execution and delivery by the Issuers, this Indenture will constitute the legal, valid and
binding obligation of the Bank enforceable in accordance with its terms, except that such enforcement may be
limited by bankruptcy, insolvency, reorganization, moratorium, liquidation, or other similar laws affecting the
enforcement of creditors' rights generally, and by general principles of equity, including, without limitation,
concepts of materiality, reasonableness, good faith and fair dealing (regardless of whether such enforceability is
considered in a proceeding in equity or at law).

          (c)       Eligibility.   The Bank is eligible under Section 6.9 to serve as Trustee hereunder.

          (d)      No Conflict.     Neither the execution, delivery and performance of this Indenture, nor the
consummation of the transactions contemplated by this Indenture, (i) is prohibited by, or requires the Bank to obtain
any consent, authorization, approval or registration under, any law, statute, rule, regulation, judgment, order, writ,
injunction or decree that is binding upon the Bank or any of its properties or assets, or (ii) will violate any provision
of, result in any default or acceleration of any obligations under, result in the creation or imposition of any lien
pursuant to, or require any consent under, any agreement to which the Bank is a party.

          (e)     No Proceedings.      There are no proceedings pending, or to the best knowledge of the Bank,
threatened against the Bank before any Federal, state or other governmental agency, authority, administrator or
regulatory body, arbitrator, court or other tribunal, foreign or domestic, that could have a material adverse effect on
the performance by the Trustee of its duties hereunder.



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                          Section 6.16 Eligible Investments; Investments     and Withdrawals      Under    the Initial
                                            Investment Agreement.

         (a)       Eligible Investments acquired by the Trustee, as selected by the Collateral Manager, from time to
time with available funds in an Account shall be credited by the Trustee to such Account.

          (b)     The Issuer hereby directs the Trustee to enter into the Initial Investment Agreement on the Closing
Date and directs the Trustee to invest (i) on the Closing Date with the Initial Investment Agreement Provider, in
accordance with the terms of the Initial Investment Agreement, U.S.$ 237,000,000 from the Synthetic Security
Collateral Account, (ii) to the extent permitted under the Initial Investment Agreement, any amounts credited to a
Synthetic Security Collateral Account with the Investment Agreement Provider and (iii) to the extent that an
investment under (ii) above would exceed the amount permitted under the Initial Investment Agreement, any
amounts credited to a Synthetic Security Collateral Account in Eligible Investments as directed by the Collateral
Manager, pursuant to Section 10.2(k), to secure the obligations of the Issuer under Section 11.1A, on the Business
Day on which such amounts are deposited in such Synthetic Security Collateral Account.

          (c)     The Trustee, on behalf of the Issuer shall demand of the Initial Investment Agreement Provider by
delivering a withdrawal request to the Initial Investment Agreement Provider before 11:00 a.m. New York time at
least two Business Days prior to the date on which such funds so withdrawn are to be applied for the related purpose
as set forth below and in accordance with Section 2.2 of the Initial Investment Agreement, withdrawals from the
sums invested under the Initial Investment Agreement (i) in an amount sufficient to pay any amounts due by the
Issuer under the Synthetic Securities in accordance with Section 11.1A and (ii) withdrawals of all sums invested by,
and all other amounts due to, the Issuer under the Initial Investment Agreement upon declaration of acceleration of
Maturity of the Notes.

         (d)        The Trustee, on behalf of the Issuer, if notice of an Optional Redemption, Tax Redemption,
Auction Call Redemption or Clean up Call has been given by the Issuer and not withdrawn shall provide such notice
to the Initial Investment Agreement Provider on the date such notice is provided to holders of the Notes, shall
demand of the Initial Investment Agreement Provider, in accordance with the terms of the Initial Investment
Agreement, withdrawals of all sums invested by, and all other amounts due to, the Issuer under the Initial
Investment Agreement.

          (e)    The Trustee, on behalf of the Issuer, if as of any Determination Date, the Synthetic Security
Collateral Amount exceeds the Required Synthetic Security Collateral Amount, shall demand of the Initial
Investment Agreement Provider by delivering a withdrawal request to the Initial Investment Agreement Provider
before 11:00 a.m. New York City time on or prior to the second Business Day after such Determination Date, in
accordance with Section 2.2 of the Initial Investment Agreement, withdrawals of such excess amount.

         (t')      Five Business Days prior to the Stated Maturity, the Trustee, on behalf of the Issuer, shall demand
of the Initial Investment Agreement Provider, in accordance with the terms of the Initial Investment Agreement,
withdrawals of all sums invested by, and all other amounts due to, the Issuer under the Initial Investment
Agreement.

          (g)      If (i) a Downgrade Event (as defined in the Initial Investment Agreement) occurs and (ii) the
Initial Investment Agreement Provider does not perform any of the options set forth in the Initial Investment
Agreement for such event, the Trustee, on behalf of the Issuer, shall, at the direction of the Collateral Manager and
in accordance with the terms of the Initial Investment Agreement, terminate the Initial Investment Agreement and
demand the Initial Investment Agreement Provider withdrawals of all sums invested by, and all other amounts due
to, the Issuer under the Initial Investment Agreement.

         (h)      If an Event of Default (as defined in the Initial Investment Agreement) occurs and is continuing,
the Trustee, on behalf of the Issuer, shall (i) terminate the Initial Investment Agreement, (ii) demand the Initial
Investment Agreement Provider, in accordance with the terms of the Initial Investment Agreement, withdrawals of
all sums invested by, and all other amounts due to, the Issuer under the Initial Investment Agreement and (iii) take




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all reasonable steps necessary to exercise the Issuer's rights and remedies under the Initial Investment Agreement as
directed by the Collateral Manager.

          (i)      If the Initial Investment Agreement is terminated, the Trustee shall, if so directed in a Manager
Order, enter into a Replacement Investment Agreement and exercise the Issuer's rights thereunder on behalf of the
Issuer as directed from time to time by a Manager Order.

          (j)      The Trustee, on behalf of the Issuer, shall take all reasonable steps necessary to exercise the
Issuer's rights and remedies (A) if so directed in a Manager Order with respect to the Collateral (as defined in the
Initial Investment Agreement) in accordance with the terms of the Initial Investment Agreement and (B) under the
Policy (as defined in the Initial Investment Agreement) and in accordance with the terms thereof, by giving notice of
the claim under the Policy to the Insurer (as defined in the Initial Investment Agreement) before 1:00 p.m. New
York City time on a Business Day in order to receive a payment by 12 noon on the following Business Day and
enforcing the Policy if so directed in a Manager Order to the extent the Provider fails to pay in accordance with the
Policy.

                          Secfion 6.17 Fiduciary for Noteholders    Only; Agent       for   the Interest   Rate   Swap
                                           Counterpart, and Collateral Manager.

          With respect to the security interests created hereunder, the pledge of any item of Collateral to the Trustee
is to the Trustee as representative of the Noteholders and agent for the other Secured Parties.

                          Section 6.18 The Securities Intermediary.

         (a)      There shall at all times be one or more securities intermediaries appointed by the Trustee for
purposes of this Indenture (the "Securities Intermediary"). The Bank is hereby appointed as the initial Securities
Intermediary hereunder and the Bank hereby accepts such appointment.

           (b)      The Securities Intermediary shall be, and the Bank hereby represents and warrants that it is as of
the date hereof and shall be for so long as it is the Securities Intermediary hereunder, a corporation or national bank
that in the ordinary course of its business maintains securities accounts for others and is acting in that capacity
hereunder. The Securities Intermediary shall, and the Bank does, agree with the parties hereto that each Account
shall be an account to which financial assets may be credited and undertake to treat the Trustee as entitled to
exercise the rights that comprise such financial assets. The Securities Intermediary shall, and the Bank does, agree
with the parties hereto that each item of property credited to each Account shall be treated as a financial asset. The
Securities Intermediary shall, and the Bank does, agree with the parties hereto that the Securities Intermediary's
jurisdiction of the Securities Intermediary with respect to the Collateral for purposes of Article 8 of the UCC shall be
the State of New York. The Securities Intermediary shall, and the Bank does, represent and covenant that it is not
and will not be (as long as it is the Securities Intermediary hereunder) a party to any agreement that is inconsistent
with the provisions of this Indenture. The Securities Intermediary shall, and the Bank does, covenant that it will not
take any action inconsistent with the provisions of this Indenture applicable to it. The Securities Intermediary shall,
and the Bank does, agree that any item of property credited to any Account shall not be subject to any security
interest, claim, lien, encumbrance, or right of set-off in favor of the Securities Intermediary or anyone claiming
through the Securities Intermediary (other than the Trustee).

          (c)     It is the intent of the Trustee and the Co-Issuers that each Account shall be a securities account of
the Trustee and not an account of the Co-Issuers. Nonetheless, the Securities Intermediary shall agree to comply
with entitlement orders originated by the Trustee without further consent by the Co-Issuers or any other person or
entity, and the Bank agrees that for so long as it is the Securities Intermediary hereunder, it will comply with
entitlement orders originated by the Trustee without further consent by the Co-Issuers or any other person or entity.
The Securities Intermediary shall covenant that it will not agree with any person or entity other than the Trustee that
it will comply with entitlement orders originated by any person or entity other than the Trustee, and the Bank hereby
covenants that, for so long as it is the Securities Intermediary hereunder, it will not agree with any person or entity
other than the Trustee that it will comply with entitlement orders originated by any person or entity other than the
Trustee.



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          (d)       Nothing herein shall imply or impose upon the Securities Intermediary any duties or obligations
other than those expressly set forth herein and those applicable to a securities intermediary under the UCC (and the
Securities Intermediary shall be entitled to all of the protections available to a securities intermediary under the
UCC). Without limiting the foregoing, nothing herein shall imply or impose upon the Securities Intermediary any
duties of a fiduciary nature (such as, without limitation, the fiduciary duties of the Trustee hereunder).

          (e)       The Securities Intermediary may at any time resign by notice to the Trustee and may at any time
be removed by notice from the Trustee; provided however that it shall be the responsibility of the Trustee to appoint
a successor Securities Intermediary and to cause the Accounts to be established and maintained with such successor
Securities Intermediary in accordance with the terms hereof; and the responsibilities and duties of the retiring
Securities Intermediary hereunder shall remain in effect until all of the Collateral credited to the Accounts held by
such retiring Securities Intermediary have been transferred to such successor. Any corporation into which the
Securities Intermediary may be merged or converted or with which it may be consolidated, or any corporation
resulting from any merger, consolidation or conversion to which the Securities Intermediary shall be a party, shall be
the successor of the Securities Intermediary hereunder, without the execution or filing of any further act on the part
of the parties hereto or such successor corporation.

          (f)      All agreements between the Securities Intermediary and any party hereto shall be governed by the
laws of the State of New York.

                             Section 6.19 Right of Trustee in CapaciW, of Note Registrar_    Paying Agent_ Transfer
                                              Agent_ Authenticating   Agent_ Calculation       Agent  or Securities
                                              Intermediarv.

          In the event that the Trustee is also acting in the capacity of Paying Agent, Transfer Agent, Authenticating
Agent, Note Registrar, Calculation Agent or Securities Intermediary hereunder, the rights, protections, immunities
or indemnities afforded to the Trustee pursuant to this Article VI shall also be afforded to the Trustee in its capacity
as Paying Agent, Transfer Agent, Authenticating Agent, Note Registrar, Calculation Agent or, to the extent not
inconsistent with Section 6.18 of this Indenture and Article 8 of the UCC, Securities Intermediary.

                                                        ARTICLE     VII

                                                        COVENANTS


                             Section 7.1   Payment of Principal and Interest.

          The Issuers will duly and punctually pay all principal and interest (including Deferred Interest, Defaulted
Interest and interest thereon, if any) in accordance with the terms of the Notes and this Indenture. Amounts properly
withheld under the Code or other applicable law by any Person from a payment to any Securityholder of principal
and/or interest or Excess Amounts shall be considered as having been paid by the Issuers to such Securityholder for
all purposes of this Indenture.

         The Trustee hereby provides notice to each Noteholder that the failure of such Noteholder to provide the
Trustee with appropriate tax certifications may result in greater amounts being withheld from payments to such
Noteholder under this Indenture than would be withheld if such certifications had been provided (provided that
amounts withheld pursuant to applicable tax laws shall be considered as having been paid by the Issuers as provided
above).

                             Section 7.2 Maintenance of Office or Agency.

           The Issuers hereby appoint the Bank as the principal Paying Agent for the payment of principal of and
interest on the Notes and designate the Registrar Office as the place where such Notes may be surrendered for
registration of transfer or exchange. The Issuers hereby appoint CT Corporation System, 111 Eighth Avenue, 13th
Floor, New York, New York 10011, as the Issuers' agent where notices and demands to or upon the Issuers in
respect of the Notes or this Indenture may be served. The Issuers hereby appoint RSM Robson Rhodes LLP, RSM


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House,
     HerbertStreet,
                 Dublin2,Irelandasa PayingAgent(the"Irish Paying                  Agent") and as the Issuers' agent
where notices and demands to or upon the Issuers in respect of any Notes listed on the Exchange may be served.

           The Issuers may at any time and from time to time vary or terminate the appointment of any such agent or
appoint any additional agents for any or all of such purposes; provided that (a) the Issuers will maintain in the
Borough of Manhattan, The City of New York, an office or agency where notices and demands to or upon the
Issuers in respect of the Notes and this Indenture may be served, (b) no Paying Agent shall be appointed in a
jurisdiction which subjects payments on the Notes to with_holding tax and (c) the Issuers may not terminate the
appointment of any Paying Agent without the consent of a Majority of the Controlling Class. The Issuers shall give
prompt written notice to the Trustee, each Rating Agency and the Noteholders of the appointment or termination of
any such agent and of the location and any change in the location of any such office or agency.

          If at any time the Issuers shall fail to maintain any such required office or agency in the Borough of
Manhattan, The City of New York or shall fail to furnish the Trustee with the address thereof, presentations and
surrenders may be made at and notices and demands may be served on the Issuers, to the Paying Agent at its office
and Notes may be presented and surrendered for payment to the Paying Agent at the office designated by the Paying
Agent (and the Issuers hereby appoint such offices, respectively, as their agent to receive, as applicable such
respective presentations, and surrenders, notices and demands).

           For so long as any Class of Notes are listed on the Exchange and such exchange shall so require, the Issuers
shall maintain a listing agent, a Paying Agent and an agent where notices and demands to or upon the Issuers in
respect of any Notes listed on the Exchange may be served and where such Notes may be surrendered for
registration of transfer or exchange.

                          Section 7.3 Money for Note Payments to be Held in Trust.

          All payments of amounts due and payable with respect to any Notes that are to be made from amounts
withdrawn from the Payment Account shall be made on behalf of the Issuers by the Trustee or a Paying Agent with
respect to payments on the Notes.

         When the Issuers shall have a Paying Agent that is not also the Note Registrar, they shall furnish, or cause
the Note Registrar to furnish, no later than the fifth calendar day after each Record Date a list, if necessary, in such
form as such Paying Agent may reasonably request, of the names and addresses of the Holders and of the certificate
numbers of individual Notes held by each such Holder.

          Whenever the Issuers shall have a Paying Agent other than the Trustee, they shall, on or before the
Business Day next preceding each Distribution Date or Redemption Date, as the case may be, direct the Trustee to
deposit on such Distribution Date or Redemption Date, as the case may be, with such Paying Agent, if necessary, an
aggregate sum sufficient to pay the amounts then becoming due (to the extent funds are then available for such
purpose in the Payment Account, Interest Collection Account or Principal Collection Account, as the case may be),
such sum to be held in trust for the benefit of the Persons entitled thereto, and (unless such Paying Agent is the
Trustee) the Issuers shall promptly notify the Trustee of its action or failure so to act. Any Moneys deposited with a
Paying Agent (other than the Trustee) in excess of an amount sufficient to pay the amounts then becoming due on
the Notes with respect to which such deposit was made shall be paid over by such Paying Agent to the Trustee for
application in accordance with Article XI.

          The initial Paying Agents shall be as set forth in Section 7.2. Any additional or successor Paying Agents
shall be appointed by Issuer Order with written notice thereof to the Trustee; provided that so long as any Class of
Notes is rated by the Rating Agencies and with respect to any additional or successor Paying Agent for the Notes,
either (i) the Paying Agent for the Notes has a rating of not less than "AA-" and not less than "A-l+" by Standard &
Poor's, a rating of not less than "Aal" and not less than "P-I" by Moody's and a rating of not less than "AA-" and not
less than "FI+" by Fitch or (ii) the Rating Condition with respect to the appointment of such Paying Agent shall
have been satisfied. In the event that (i) such successor Paying Agent ceases to have a rating of at least "AA-" and
of "A-l+" by Standard & Poor's, a rating of not less than "Aal" and not less than "P-I" by Moody's and a rating of at
least "A_A-"and of "FI+" by Fitch or (ii) the Rating Condition with respect to the appointment of such Paying Agent



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shallnothavebeensatisfied,  theIssuersshallpromptly(uponbeingnotifiedor learningthereof)remove    such
PayingAgentandappoint   asuccessorPayingAgent.TheIssuers  shallnotappointanyPaying  Agent(otherthanan
initialPayingAgent)thatisnot,atthetimeof suchappointment,
                                                        adepository institution
                                                                              ortrustcompany subjectto
supervisionandexamination byFederal  and/orstateand/ornational
                                                             bankingauthorities. TheIssuers shallcause
eachPayingAgentotherthantheTrustee   toexecute anddelivertotheTrustee aninstrument in whichsuchPaying
AgentshallagreewiththeTrustee    (andif theTrusteeactsasPayingAgent,it herebysoagrees),   subject
                                                                                                to the
provisionsofthisSection7.3,thatsuchPaying Agentwill:
                (a)    allocate
                              allsumsreceived forpayment
                                                       to(i) theHoldersofNotesor (ii) thePreference
         Shares PayingAgentfor distribution
                                          to thePreference
                                                         Shareholders  on eachDistribution
                                                                                         Dateand
         Redemption DateamongsuchHoldersin theproportion  specifiedin the instructions
                                                                                    setforthin the
         applicable
                  NoteValuation
                              ReportorRedemption  DateStatementor asotherwiseprovidedherein,in each
         casetotheextent
                       permitted
                               by applicable
                                           law;
                (b)     holdallsumsheldbyit forthepayment  ofamountsduewithrespect
                                                                                 totheNotesin trust
         forthebenefitof thePersons
                                  entitledtheretountilsuchsumsshallbepaidto suchPersons
                                                                                      or otherwise
         disposedofashereinprovided
                                  andpaysuchsumstosuchPersons   asherein
                                                                       provided;
                  (c)       if suchPayingAgent is not the Trustee, immediately resign as a Paying Agent and
         forthwith pay to the Trustee all sums held by it in trust for the payment of Notes if at any time it ceases to
         meet the standards set forth above required to be met by a Paying Agent at the time of its appointment;

                  (d)      if such Paying Agent is not the Trustee, immediately give the Trustee notice of any
         Default by the Issuer or the Co-Issuer (or any other obligor upon the Notes) in the making of any payment
         required to be made; and

                  (e)     if such Paying Agent is not the Trustee at any time during the continuance of any such
         Default, upon the written request of the Trustee, forthwith pay to the Trustee all sums so held in trust by
         such Paying Agent.

         The Issuers may at any time, for the purpose of obtaining the satisfaction and discharge of this Indenture or
for any other purpose, pay, or by Issuer Order direct any Paying Agent to pay, to the Trustee all sums held in trust
by the Issuers or such Paying Agent, such sums to be held by the Trustee upon the same trusts as those upon which
such sums were held by the Issuers or such Paying Agent; and, upon such payment by any Paying Agent to the
Trustee, such Paying Agent shall be released from all further liability with respect to such Money.

          Except as otherwise required by applicable law, any Money deposited with the Trustee or any Paying
Agent in trust for the payment of the principal of or interest on any Note and remaining unclaimed for two years
after such principal or interest has become due and payable shall be paid to the Issuers on Issuer Request; and the
Holder of such Note shall thereafter, as an unsecured general creditor, look only to the Issuer or the Co-Issuer for
payment of such amounts and all liability of the Trustee or such Paying Agent with respect to such trust Money (but
only to the extent of the amounts so paid to the Issuers) shall thereupon cease. The Trustee or such Paying Agent,
before being required to make any such release of payment, may, but shall not be required to, adopt and employ, at
the expense of the Issuers, any reasonable means of notification of such release of payment, including mailing notice
of such release to Holders whose Notes have been called but have not been surrendered for redemption or whose
right to or interest in Monies due and payable but not claimed is determinable from the records of any Paying Agent,
at the last address of record of each such Holder.

                          Section 7.4 Existence of Issuers.

         The Issuer and the Co-Issuer shall maintain in full force and effect their existence and rights as an
exempted company incorporated and registered under the laws of the Cayman Islands and a corporation existing
under the laws of the State of Delaware, respectively, and shall obtain and preserve their respective qualifications to
do business in each jurisdiction in which such qualifications are or shall be necessary to protect the validity and
enforceability of this Indenture, the Securities or any of the Collateral; provided, however, that the Issuer and the



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Co-Issuer eachshallbeentitledto (andatthedirectionof a Majority-in-Interest   of thePreference Shareholders
shall)change itsjurisdictionof incorporation
                                          fromtheCayman    IslandsandDelaware,     respectively,to anyother
jurisdiction
           reasonablyselected bytheIssuer(orbythe Holders of a Majority of the Preference Shares) so long as
(i) written notice of such change shall have been given by the Issuer to the Trustee and by the Trustee to the Holders
and the Rating Agencies and the Issuer or the Trustee will have received a written conftrmation from each Rating
Agency that such action will not result in the withdrawal, reduction or other adverse action with respect to any then-
current rating of any Class of Notes, (ii) such change is not disadvantageous in any material respect to the Holders,
and (iii) on or prior to the fifteenth Business Day following such notice the Trustee shall not have received written
notice from a Majority of the Controlling Class objecting to such change.

           The Issuer and the Co-Issuer shall ensure that all corporate or other formalities regarding their respective
existences (including holding regular board of directors' and/or shareholders', or other similar, meetings) or
registrations are followed. Neither the Issuer nor the Co-Issuer shall take any action, or conduct its affairs in a
manner, that is likely to result in its separate existence being ignored or in its assets and liabilities being
substantively consolidated with any other Person in a proceeding in bankruptcy, insolvency, reorganization,
moratorium, receivership, conservatorship or other similar laws now or hereafter in effect. Without limiting the
foregoing, (a) the Issuer shall not have any subsidiaries other than the Co-Issuer, (b) the Co-Issuer shall not have any
subsidiaries and (c) the Issuer and the Co-Issuer shall not (i) have any employees, (ii) engage in any transaction with
any Holder of Ordinary Shares that would constitute a conflict of interest or (iii) pay dividends other than in
accordance with the terms of this Indenture and the Preference Share Documents; provided that the foregoing shall
not prohibit the Issuer from entering into the transactions contemplated by the Administration Agreement with the
Administrator and the Preference Share Paying Agency Agreement with the Share Registrar. In the event the Issuer
is advised by counsel to the Issuer or notified by any Holder of a Security, an Initial Purchaser or the Trustee that a
Tax Event has occurred or may occur, the Issuer shall take such actions as shall, based on the advice of its counsel,
be desirable to avoid the occurrence of a Tax Event or the existence of a Tax Materiality Condition, to reduce the
amount of tax payable by the Issuer or to cause the Tax Event to cease to occur, including (i) amendments to any of
the Transaction Agreements (pursuant to the terms set forth therein) or exercise of the rights (including termination
rights) of the Issuer under any such Transaction Agreements (pursuant to the terms set forth therein), (ii) the
dissolution of the Co-Issuer, (iii) a consolidation, merger or conveyance pursuant to Section 7.10, and (iv) any other
action which such counsel shall advise.

                           Section 7.5   Protection of Collateral.

          (a)     The Issuer shall from time to time authorize, execute and deliver, and the Collateral Manager, on
behalf of the Issuer and for the benefit of the Trustee and the Secured Parties, shall file and deliver, all such
supplements and amendments hereto, all such financing statements, amendments of financing statements,
continuation statements, instruments of further assurance and other instruments, and shall take such other action as
may be necessary or advisable or desirable to secure the rights and remedies of the Holders hereunder and to:

                    (i)        Grant more effectively all or any portion of the Collateral;

                   (ii)     maintain, preserve and perfect the lien (and its status as being of ftrst priority and free of
          any adverse claim (or the legal equivalent thereof) in accordance with the UCC) of this Indenture or to
          carry out more effectively the purposes hereof;

                   (iii)     perfect, publish notice of or protect the validity of any Grant made or to be made by this
          Indenture (including any and all actions necessary or desirable as a result of changes in law or regulations);

                    (iv)       enforce any of the Pledged Securities or other instruments or property included in the
          Collateral;

                  (v)       preserve and defend title to the Collateral and the rights therein of the Trustee and the
          Secured Parties against the claims of all persons and parties; or




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                (vi)      (A)payorcause  tobepaidanyandalltaxesleviedorassessed     uponeitherCo-Issuer or
         in respectof allor anypartof theCollateral andtimelyfile all taxreturns
                                                                               andinformationstatements as
         required,and(B)if requiredtoprevent thewithholding orimposition   ofUnitedStates
                                                                                        income tax,deliver
         orcause tobedelivered  aUnitedStates InternalRevenue   Service FormW-8BENorsuccessor   applicable
         form,to eachIssuer, counterpartyor payingagentwithrespect    to (asapplicable)
                                                                                     anitemincluded in the
         Collateralatthetimesuchitemincluded   in theCollateralis purchased orentered
                                                                                    intoandthereafterprior
         totheexpiration orobsolescenceofsuchform.

         TheIssuerherebyauthorizes   thefilingof financing  statements (andamendments    offinancing statements
andcontinuation   statements)
                            thatnametheIssuerasdebtorandtheTrustee           assecured  partyandthatcoverall
personal property of theIssuer.
                              TheIssueralsohereby     ratifiesitsauthorizationofthefilingof anysuchfinancing
statements  (oramendments offinancing statements  orcontinuation statements)thatwerefiledpriortotheexecution
hereof. TheIssuerherebydesignates  theTrustee  itsagent andattorney-in-fact to execute underhand,undersealor
asa deed(uponwritteninstructions   fromtheCollateral   Manager   onbehalfof theIssuer)anyinstrument    required
pursuant  to this Section7.5 andtheTrusteeshallfromtimeto timecauseto be filedfmancingstatements,
amendments    thereto,
                     orcontinuationstatements; provided  thatsuchappointment  shallnotimpose   upontheTrustee
anyoftheIssuer's  obligations
                            underthisSection  7.5.TheIssuer    shalltakeallaction,includingtheauthorization
                                                                                                          and
filing of financingstatements,continuation  statements,andamendments     thereto,asis necessary  to perfectand
maintain theperfection andpriorityofthesecurity  interest
                                                        in theCollateralgranted pursuant tothisIndenture.

       (b)    TheTrustee  shallnot,exceptin accordance withSection10.9(a),  (b),(c)or (e)asapplicable,
removeanyportionoftheCollateralfromthejurisdictioninwhichit washeldatthedatethemostrecent   Opinionof
Counselwasdelivered  pursuant
                            to Section 7.6(orfromthejurisdictionin whichit washeldasdescribed   in the
Opinionof Counseldelivered
                         attheClosing  Datepursuant toSection3.1(c),if noOpinionofCounsel  hasyetbeen
delivered
        pursuantto Section
                         7.6)or (B)fromthepossession  of thePerson whoheldit onsuchdateorunlessthe
Trustee
      shallhavefirstreceived
                           anOpinion  ofCounsel totheeffectthatthelienandsecurity interest
                                                                                        createdby this
Indenture
        withrespecttosuchpropertywill continuetobemaintained aftergivingeffecttosuchactionor actions.
       (c)    TheIssuer
                      shallpayorcause
                                    tobepaidtaxes,
                                                 if any,leviedonaccount
                                                                     ofthebeneficial
                                                                                  ownership
bytheIssuerofanyPledged
                      Securities
                              thatsecure
                                       theNotes.
        (d)    TheIssuer shallenforce   allofitsmaterialrightsandremediesundereachTransactionAgreement.
TheIssuerwill notenterintoanyagreement       amending, modifyingor terminatingtheSubscriptionAgreements
without(i) 10days'priornoticetoeachRatingAgency,   (ii) 10days'priornoticethereof
                                                                                totheTrustee,
                                                                                            whichnotice
shallspecifytheactionproposed  tobetakenby theIssuer(andtheTrustee    shallpromptlydelivera copyof such
noticeto eachSecurityholder), and(iii) theRatingCondition   withrespectto suchamendment, modificationor
terminationhaving
                beensatisfied.

          (e)      TheIssuershall,if anyof the Securities remain outstanding or are expected to remain outstanding
at the expiration of the term of the "Undertaking as to Tax Concessions" granted by the Governor in Council of the
Cayman Islands pursuant to Section 6 of the Tax Concessions Law (1999 Revision) in connection with the Offering,
seek a renewal of such concessions sufficiently in advance of such expiration so as to have the renewal concessions
granted prior to the expiration of said original concessions.

                          Section 7.6   Opinions as to Collateral.

         On or before March 31 in each calendar year, commencing in 2007, the Issuer shall furnish to the Trustee
and each Rating Agency an Opinion of Counsel stating that, in the opinion of such counsel, as of the date of such
opinion, the Indenture creates in favor of the Trustee a perfected security interest in the Collateral.

                          Section 7.7   Performance of Obligations.

         (a)     The Issuers shall not take any action, and will not permit any action to be taken by others, that
would release any Person from any of such Person's covenants or obligations under any instrument included in the




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Collateral,
         except
              in thecaseofenforcement
                                    actiontakenwithrespect
                                                         toanyDefaulted
                                                                      Security
                                                                            in accordance
                                                                                       with
theprovisions
            hereofandasotherwise
                               required
                                      herebyorpursuanttoSection
                                                              7.7(d).

       (b)   TheIssuersmay,withthepriorwrittenconsent     ofa MajorityoftheSecurities      (except inthecase
of theManagement
               Agreement,  Collateral
                                    Administration  Agreement,    Administration  Agreement   andPreference
SharePayingAgency
                Agreement, for which no such consent is required), contract with other Persons, including the
Collateral Manager and the Bank, for the performance of actions and obligations to be performed by the Issuers
hereunder by such Persons and the performance of the actions and other obligations with respect to the Collateral of
the nature set forth in the Management Agreement by the Collateral Manager.               Notwithstanding any such
arrangement, the Issuers shall remain liable for all such actions and obligations. In the event of such contract, the
performance of such actions and obligations by such Persons shall be deemed to be performance of such actions and
obligations by the Issuers; and the Issuers will punctually perform, and use their best efforts to cause the Collateral
Manager or such other Person to perform, all of their obligations and agreements contained in the Management
Agreement or such other agreement.

          (c)      The Issuers shall treat all acquisitions of Underlying Assets as "purchases" for tax, accounting and
reporting purposes.

          (d)       The Issuers may not enter into any amendment or waiver of or supplement to any Underlying
Instrument included in the Collateral without the prior consent of a Majority of the Controlling Class, each Synthetic
Security Counterparty and the Interest Rate Swap Counterparty materially and adversely affected thereby; provided
that, notwithstanding anything in this Section 7.7(d) to the contrary, the Issuers may enter into any amendment or
waiver of or supplement to any such Underlying Instrument:

                   (i)      if such amendment, supplement or waiver is required by the provisions of any Underlying
          Instrument or by applicable law (other than pursuant to an Underlying Instrument),

                   (ii)       if such amendment, supplement or waiver is necessary           to cure any     ambiguity,
         inconsistency    or formal defect or omission in such Underlying Instrument,

                    (iii)   to the extent expressly permitted or authorized by any amendment of or supplement to
          this Indenture entered into in accordance with Section 8.1 or 8.2 (but subject to the conditions therein
          specified),

                    (iv)      to make any other change deemed necessary by the Issuer or the Collateral Manager (but
          only if, as of the date of any such proposed amendment, waiver or supplement, the Overcollateralization
          Tests are satisfied), or

                   (v)      to make any other change deemed necessary by the Issuer or the Collateral Manager (but
          only if (A) such proposed amendment, waiver or supplement does not effect a Specified Change and (B)
          such change does not materially adversely affect the interests of the Securityholders in the Collateral as
          determined by the Collateral Manager in good faith).

                          Section 7.8   Negative Covenants.

          (a)       The Issuer and the Co-Issuer, as the case may be, will not:

                    (i)      sell, assign, participate, transfer, exchange or otherwise dispose of, or pledge, mortgage,
          hypothecate or otherwise encumber (or permit such to occur or suffer such to exist), any part of the
          Collateral, except as expressly permitted by this Indenture;

                   (ii)     claim any credit on, make any deduction _om, or dispute the enforceability of, the
          payment of the principal or interest (or any other amount) payable in respect of the Notes or payment of
          Excess Amounts in respect of the Preference Shares (other than amounts required to be paid, deducted or
          withheld in accordance with any applicable law or regulation of any governmental authority) or assert any


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         claimagainst
                    anypresentor futureSecurityholder,
                                                   byreason
                                                          ofthepayment
                                                                    ofanytaxesleviedorassessed
         tlponanypartoftheCollateral;
                (iii)   (A) incuror assumeor guaranteeanyindebtedness,
                                                                     otherthantheNotesandthis
         Indenture
                 andthetransactions
                                  contemplatedhereby,
                                                   03)issueanyadditional
                                                                       classofdebtsecurities,
                                                                                           or (C)
         issueanyadditional
                          shares
                               otherthanadditional
                                                Preference
                                                         Shares;
                 (iv)    (A) permitthevalidityor effectiveness
                                                             of thisIndentureor anyGranthereunder tobe
         impaired,or permitthelienof thisIndenture  tobeamended,  hypothecated,subordinated,
                                                                                           terminated or
         discharged,or permitanyPerson   to bereleasedfromanycovenants   or obligations
                                                                                      withrespectto this
         Indenture or theSecurities,
                                   exceptasmaybeexpressly    permittedhereby; 03)permitanylien,charge,
         adverseclaim,securityinterest,
                                      mortgage  orotherencumbrance(otherthanthelienofthisIndenture)tobe
         createdonor extend  toor otherwise ariseuponor burdentheCollateralor anypartthereof,anyinterest
         thereinor theproceeds thereof;or (C)takeanyactionthatwouldpermitthelienof thisIndenture  notto
         constitute
                  avalidfirstprioritysecurity
                                            interest
                                                   intheCollateral;
                 (v)  useanyoftheproceedsfromtheissuanceoftheSecurities  (A)toextend  "purpose credit"
         withinthemeaning
                        giventosuchterminRegulation
                                                  U or03) to purchase or otherwise acquire any Margin
          Stock;

                    (vi)       amend the Management Agreement except pursuant to Section 7.1 7 and Article XV;

                    (vii)    dissolve or liquidate in whole or in part, except as permitted hereunder; provided that the
          Issuer shall take into account the interests of the Noteholders in determining whether or not to dissolve or
          liquidate as permitted hereunder;

                   (viii)    make or incur any capital expenditures, except as reasonably required to perform its
          functions in accordance with the terms of this Indenture or the Preference Share Documents;

                    (ix)    become liable in any way, whether directly or by assignment or as a guarantor or other
          surety, for the obligations of the lessee under any lease, hire any employees or pay any dividends to its
          shareholders other than the Preference Shareholders;

                   (x)     maintain any bank accounts other than the Accounts, the Preference Share Payment
          Account and the bank account in the Cayman Islands in which (inter alia) the proceeds of the issuance of
          the Ordinary Shares and the transaction fees paid to the Issuer for agreeing to issue the Notes will be kept;

                    (xi)    change its name or its type or jurisdiction of organization unless (A) it has previously
          delivered to the Trustee, the Noteholders, the Interest Rate Swap Counterparty, each Synthetic Security
          Counterparty, the Initial Investment Agreement Provider and the Rating Agencies written notice thereof
          and an Opinion of Counsel that such name change will not adversely affect the security interest hereunder
          of the Trustee and 03) the Rating Condition is satisfied;

                    (xii)      amend its constitutional documents unless the Rating Condition is satisfied;

                    (xiii)   have any subsidiaries other than any subsidiaries permitted pursuant to Section 7.4 and
          the last two sentences of the definition of Asset-Backed Security;

                    (xiv)    for so long as any of the Notes or the Preference Shares are Outstanding, register any
          transfer of any shares (other than the Preference Shares) of the Issuer to U.S. Persons;

                   (xv)      establish or maintain an office or fixed place of business in the United States or engage in
          any other activity that would cause it to be subject to U.S. Federal, state or local income or franchise tax;




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                (xvi) makeanyrequest   or application,
                                                    whether
                                                          directlyor throughanagent,forthede-listing
          ofanyClassofNotes(priortotheStated
                                           MaturityofsuchClass)listedontheExchange;
                  (xvii) fail tomaintain
                                       atleastonedirector
                                                        whois Independent
                                                                       of theCollateral
                                                                                     Manager
                                                                                          and
          theInitialPurchaser;
                            or

                 (xviii) exceptfor anyagreements involvingthepurchase
                                                                    andsaleof Asset-Backed Securities
          havingcustomary purchaseor saletermsanddocumented withcustomarytradingdocumentation
                                                                                            (butnot
          excepting
                  anySynthetic Securityor theInterest
                                                    RateSwapAgreement), enterintoanyagreement,
                                                                                             unless
          suchagreement  contains
                                "non-petition"and"limitedrecourse"
                                                                 provisionsor amendor waiveanysuch
          provisions
                   in anysuchagreement.

        (b)     NeithertheIssuernortheTrustee
                                            shallsell,transfer,
                                                             exchange
                                                                   orotherwise
                                                                             dispose
                                                                                   ofCollateral,
or enterintoor engagein anybusinesswithrespect
                                             toanypartof theCollateral
                                                                    exceptasexpressly
                                                                                   permitted
                                                                                           or
required
       bythisIndenture andtheManagement  Agreement.
      (c)  TheCo-Issuer
                      will not investanyof its assets
                                                    in "securities"
                                                                 (assuchtermis definedin the
Investment
        Company
             Act),andwill keepallofitsassets
                                          inCash.
        (d)     Forsolongasanyof theNotesareOutstanding, theCo-Issuer
                                                                   shallnottransfer,
                                                                                   andtheIssuer
shallnotpermittheCo-Issuer
                         toissue,
                                anycapitalstockoftheCo-Issuer
                                                            toanyPerson
                                                                      otherthantheIssuer.
      (e)     TheIssuer
                      will notenterintoanymaterial   newagreements   (otherthananySynthetic Security and
replacement
          Interest
                 RateSwapAgreement   or Additional Interest Rate Swap Agreement made pursuant to Article
XVI) without the prior written consent of a Majority of the Notes and a Majority of the Preference Shares and will
provide notice of all new agreements (other than any Synthetic Security and replacement Interest Rate Swap
Agreement or Additional Interest Rate Swap Agreement) to the Holders of the Notes and the Preference Shares.
The foregoing notwithstanding, the Issuer may agree to any new agreements; provided that (i) the Issuer, or the
Collateral Manager on behalf of the Issuer, determines that such new agreements would not, upon or after becoming
effective, adversely affect the rights or interests of any Class or Classes of Noteholders or the Preference
Shareholders, (ii) the Issuer or the Collateral Manager on behalf of the Issuer gives not less than ten days' prior
written notice to the Noteholders and the Preference Shareholders of such new agreements and (iii) the Rating
Condition is satisfied.

          (f)      Notwithstanding anything to the contrary contained herein, the Collateral Manager shall not cause
the Issuer to purchase or acquire (whether as part of a Unit with an Underlying Asset, in exchange for an Underlying
Asset or otherwise) any Prohibited Asset.

                          Section 7.9 Statement as to Compliance.

         On or before September 30 in each calendar year commencing in 2007, or immediately if there has been a
Default in the fulfillment of an obligation under this Indenture, the Issuer shall deliver to the Trustee, each
Securityholder making a written request therefor, the Irish Paying Agent, the Company Announcements Office and
each Rating Agency an Officer's certificate stating, as to each signer thereof, that:

                   (a)      a review of the activities of the Issuer and of the Issuer's performance under this
          Indenture during the twelve-month period ending on December 31 of the previous year (or from the
          Closing Date until December 31, 2006, in the case of the first such Officer's certificate) has been made
          under such Officer's supervision; and

                    (b)       to the best of such Officer's knowledge, based on such review, the Issuer has fulfilled all
          of its obligations under this Indenture throughout the period, or, if there has been a Default in the
          fulfillment of any such obligation, specifying each such Default known to such Officer and the nature and
          status thereof, including actions undertaken to remedy the same.




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                          Section 7.10 Consolidation of Issuers.

          (a)       The Issuer shall not consolidate or merge with or into any other Person or transfer or convey all or
substantially all of its assets to any Person, unless permitted by Cayman Islands law and unless:

                   (i)       the Issuer shall be the surviving entity, or the Person (if other than the Issuer) formed by
         such consolidation or into which the Issuer is merged or to which all or substantially all of the assets of the
         Issuer are transferred or conveyed shall be an exempted company incorporated with limited liability and
         existing under the laws of the Cayman Islands or such other jurisdiction outside the United States as may
         be approved by a Majority of each Class; provided that no such approval shall be required in connection
         with any such transaction undertaken solely to effect a change in the jurisdiction of organization pursuant
         to Section 7.4 (any such jurisdiction or any jurisdiction approved pursuant to the preceding clause,
         "Permitted Other Jurisdictions"), and shall expressly assume, by an indenture supplemental hereto,
         executed and delivered to the Trustee and each Securityholder, the due and punctual payment of the
         principal of and interest on all Notes, the due and punctual payment of any amounts under the Interest Rate
         Swap Agreement, the due and punctual payment of any amounts under the Synthetic Securities and the due
         and punctual payment to the Preference Share Paying Agent of Excess Amounts in respect of the
         Preference Shares and the performance of every covenant of this Indenture on the part of the Issuer to be
         performed or observed, all as provided herein;

                   (ii)     each Rating Agency shall have received written notification of any consolidation, merger,
         transfer or conveyance and the Rating Condition shall have been satisfied with respect to the consummation
         of such transaction;

                   (iii)    if the Issuer is not the surviving entity, the Person formed by such consolidation or into
         which the Issuer is merged or to which all or substantially all of the assets of the Issuer are transferred or
         conveyed shall have agreed with the Trustee (A) to observe the same legal requirements for the recognition
         of such formed or surviving entity as a legal entity separate and apart from any of its Affiliates as are
         applicable to the Issuer with respect to its Affiliates and (B) not to consolidate or merge with or into any
         other Person or transfer or convey the Collateral or all or substantially all of its assets to any other Person
         except in accordance with the provisions of this Section 7.10;

                   (iv)     if the Issuer is not the surviving entity, the Person formed by such consolidation or into
         which the Issuer is merged or to which all or substantially all of the assets of the Issuer are transferred or
         conveyed shall have delivered to the Trustee and each Rating Agency an Officer's certificate and an
         Opinion of Counsel each stating that such Person shall be duly organized, validly existing and (if
         applicable) in good standing in the jurisdiction in which such Person is organized; that such Person has
         sufficient power and authority to assume the obligations set forth in subclause (a)(i) above and to execute
         and deliver an indenture supplemental hereto for the purpose of assuming such obligations; that such
         Person has duly authorized the execution, delivery and performance of an indenture supplemental hereto
         for the purpose of assuming such obligations and that such supplemental indenture is a valid, legal and
         binding obligation of such Person, enforceable in accordance with its terms, subject only to bankruptcy,
         reorganization, insolvency, moratorium and other laws affecting the enforcement of creditors' rights
         generally and to general principles of equity (regardless of whether such enforceability is considered in a
         proceeding in equity or at law); that, immediately following the event which causes such Person to become
         the successor to the Issuer, (A) such Person has good and marketable title, free and clear of any lien,
         security interest or charge, other than the lien and security interest of this Indenture, to the Collateral; (B)
         the Trustee continues to have a perfected security interest in the Collateral securing all of the Notes; and
         (C) such Person has received an Opinion of Counsel to the effect that such Person will not be subject to net
         income tax or be treated as engaged in a trade or business within the United States for U.S. Federal income
         tax purposes, and such other matters as the Trustee or any Preference Shareholder may reasonably require;

                    (v)       immediately after giving effect to such transaction, no Default shall have occurred and be
          continuing;




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                  (vi)      theIssuershallhavedelivered totheTrustee, eachSynthetic  Security Counterparty,
                                                                                                          the
         InterestRateSwapCounterparty      andeachHolderof a Preference   ShareanOfficer'scertificate  andan
         Opinionof Counseleachstatingthatsuchconsolidation,        merger,transferor conveyance      andsuch
         supplemental   indenture complywiththisSection  7.10,thatall conditions precedent in thisSection7.10
         relatingto suchtransaction  havebeencomplied   withandthat(A)nogainor losswill berecognized      for
         UnitedStates   Federal, CaymanIslands  andthePermittedOtherJurisdiction,if any,income  taxpurposesby
         theHolders  of theSecurities oranInterest RateSwapCounterparty,  eachSynthetic   SecurityCounterparty
         asaresulttherefrom,    (B)neitherpayments  ontheUnderlyingAssets   northeIssuer's or survivingentity's
         netincomeshallbecome       subjectto anyincometax(or anyincrease    in suchtax)(whether   imposed by
         withholding   or otherwise) asa resulttherefrom,(C)no change   in thecharacterization of theNotesas
         indebtedness   for UnitedStates Federalincometaxpurposes   will resulttherefrom   and(D) neitherthe
         Collateral northesurviving  entity(if applicable)
                                                        shallbesubject toincome  taxesor otherapplicabletaxes
         thatwouldreduce     in anymanner thepayments  ontheSecurities ortheamount   offundsavailable therefor
         asaresulttherefrom;
                (vii) theIssuershallhavedelivered  totheTrustee,eachSyntheticSecurityCounterpartyand
         theInterestRateSwapCounterparty   an Opinionof Counsel  statingthataftergivingeffectto such
         transaction,
                    neitherof theIssuerswill be requiredto registerasan investmentcompany  underthe
         Investment
                  Company   Act;
                 (viii) aftergivingeffecttosuchtransaction,
                                                         theoutstanding
                                                                     ordinary
                                                                            share
                                                                                capitaloftheIssuer
         will notbebeneficially
                             ownedwithinthemeaning  oftheInvestment
                                                                  Company ActbyanyU.S.Person; and

                 (ix)   if anyoftheNotesarelistedontheExchange,
                                                             theExchange  hasapproved
                                                                                   anysuccession
         resultingfromaconsolidation,
                                   mergerortransferor conveyance
                                                              oftheIssuertoanyPerson.

       (b)    TheCo-Issuershallnotconsolidate
                                           or merge
                                                  withor intoanyotherPerson
                                                                          ortransfer
                                                                                   or convey
allorsubstantially
               allofitsassets
                           toanyPerson,
                                      unless:
                 (i)  theCo-Issuer
                                shallbethesurvivingcorporation,
                                                              or thePerson
                                                                         (if otherthantheCo-
         Issuer)
              formedbysuchconsolidation
                                     or intowhichtheCo-Issuer
                                                           is mergedortowhichallorsubstantially
          _'11of the assets of the Co-Issuer are transferred or conveyed shall expressly assume, by an indenture
          supplemental hereto, executed and delivered to the Trustee, the due and punctual payment of the principal
          of and interest on all the Notes and the performance of every covenant of this Indenture on the part of the
          Co-Issuer to be performed or observed, all as provided herein;

                    (ii)      each Rating Agency shall have received written notification of any consolidation, merger,
          transfer or conveyance and the Rating Condition shall have been satisfied with respect to the consummation
          of such transaction;

                    (iii)     if the Co-Issuer is not the surviving corporation, the Person formed by such consolidation
          or into which the Co-Issuer is merged or to which all or substantially all of the assets of the Co-Issuer are
          transferred or conveyed shall have agreed with the Trustee (A) to observe the same legal requirements for
          the recognition of such formed or surviving corporation as a legal entity separate and apart from any of its
          Affiliates as are applicable to the Co-Issuer with respect to its Affiliates and (B) not to consolidate or merge
          with or into any other Person or transfer or convey all or substantially all of its assets to any other Person
          except in accordance with the provisions of this Section 7.10;

                    (iv)    if the Co-Issuer is not the surviving corporation, the Person formed by such consolidation
          or into which the Co-Issuer is merged or to which all or substantially all of the assets of the Co-Issuer are
          transferred or conveyed shall have delivered to the Trustee and each Rating Agency an Officer's certificate
          and an Opinion of Counsel each stating that such Person shall be duly organized, validly existing and (if
          applicable) in good standing in the jurisdiction in which such Person is organized; that such Person has
          sufficient power and authority to assume the obligations set forth in subclause (b)(i) above and to execute
          and deliver an indenture supplemental hereto for the purpose of assuming such obligations; that such



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         Personhasdulyauthorized  theexecution,
                                              deliveryandperformance of anindenture
                                                                                  supplemental  hereto
         forthepurpose of assuming suchobligations andthatsuchsupplementalindenture
                                                                                  is a valid,legaland
         bindingobligationof suchPerson,enforceable in accordance
                                                               withitsterms,subjectonlytobankruptcy,
         reorganization,
                       insolvency, moratoriumandotherlawsaffectingthe enforcement  of creditors'rights
         generallyandtogeneral principles
                                        of equity(regardless
                                                           ofwhether
                                                                   suchenforceabilityis consideredin a
         proceedingin equityor atlaw);andsuchothermatters astheTrusteeor anyNoteholder mayreasonably
         require;

                    (v)       immediately after giving effect to such transaction, no Default shall have occurred and be
          continuing;

                   (vi)     the Co-Issuer shall have delivered to the Trustee an Officer's certificate and an Opinion of
          Counsel each stating that such consolidation, merger, conveyance or transfer and such supplemental
          indenture comply with this Section 7.10 and that all conditions precedent in this Section 7.10 provided for
          relating to such transaction have been complied with and that no adverse tax consequences will result
          therefrom to any Noteholder;

                   (vii)   after giving effect to such transaction, neither of the Issuers will be required to register as
          an investment company under the Investment Company Act;

                    (viii)  after giving effect to such transaction, the outstanding stock of the Co-Issuer will not be
          beneficially owned by any Person other than the Issuer; and

          (ix)    if any of the Notes are listed on the Exchange, the Exchange has approved any succession
resulting from a consolidation, merger or transfer or conveyance of the Co-Issuer to any Person.

                          Section 7.11 Successor Substituted.

           Upon any consolidation or merger, or transfer or conveyance of all or substantially all of the assets of the
Issuer or the Co-Issuer, in accordance with Section 7.10, the Issuer shall notify each Rating Agency and the Person
formed by. or surviving such consolidation or merger (if other than the Issuer or the Co-Issuer), or the Person to
which such transfer or conveyance is made, shall succeed to, and be substituted for, and may exercise every right
and power of, and shall be bound by each obligation or covenant of, the Issuer or the Co-Issuer, as the case may be,
under this Indenture with the same effect as if such Person had been named as the Issuer or the Co-Issuer, as the case
may be, herein. In the event of any such consolidation, merger, transfer or conveyance, the Person named as the
"Issuer" or the "Co-Issuer" in the first paragraph of this Indenture or any successor which shall theretofore have
become such in the manner prescribed in this Article VII may be dissolved, wound-up and liquidated at any time
thereafter, and such Person thereafter shall be released from its liabilities as obligor and maker on all the Notes and
from its obligations under this Indenture.

                          Section   7.12 No Other   Business.


          The Issuer shall not engage in any business or activity other than issuing and selling the Notes pursuant to
this Indenture, issuing and selling the Preference Shares pursuant to the Preference Share Documents and acquiring,
owning, holding and pledging and selling Underlying Assets and other Collateral described in clauses (a) through
(g) of the ftrst sentence of the Granting Clauses, and the Co-Issuer shall not engage in any business or activity other
than issuing and selling the Notes pursuant to this Indenture and, with respect to the Issuer and the Co-Issuer, such
other activities which are necessary, suitable or convenient to accomplish the foregoing or are incidental thereto or
connected therewith. The Issuer will not amend the Issuer Charter, and the Co-Issuer will not amend its Certificate
of Incorporation or By-Laws, unless such amendment would satisfy the Rating Condition.




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                             Section 7.13 Notice of Changes in Ratings; Annual Rating Review.

           (a)     The Issuers shall promptly notify the Trustee in writing (which shall promptly notify the
Securityholders) if at any time they become aware that the rating of any Class of Notes has been, or it is known that
it will be, changed or withdrawn.

         (b)      With respect to any Underlying Asset that has a private or confidential rating from Moody's or
Standard & Poor's, the Issuers shall obtain and pay for an annual review of each such rating.

                             Section 7.14 Reporting.

         At any time when the Issuers are not subject to Section 13 or 15(d) of the Exchange Act and are not exempt
from reporting pursuant to Rule 12g3-2(b) under the Exchange Act, upon the request of a Holder or Beneficial
Owner of a Security, the Issuers shall promptly furnish or cause to be furnished Rule 144A Information to such
Holder or Beneficial Owner, to a prospective purchaser of such Security designated by such Holder or Beneficial
Owner or to the Trustee or the Irish Paying Agent for delivery to such Holder or Beneficial Owner or a prospective
purchaser designated by such Holder or Beneficial Owner, as the case may be, in order to permit compliance by
such Holder or Beneficial Owner with Rule 144A under the Securities Act in connection with the resale of such
Security by such Holder or Beneficial Owner.

                             Section 7.15 Calculation Agent.

          (a)      The Issuers hereby agree that for so long as any of the Notes remain Outstanding, the Issuer will at
all times cause there to be an agent appointed to calculate LIBOR in respect of each Interest Period in accordance
with the terms of Schedule B (the "Calculation Agent"), which agent shall be a financial institution, subject to
supervision or examination by Federal or state authority, having a rating of at least "BBB+" by Standard & Poor's, at
least "Baal" by Moody's, and "BBB+" by Fitch and having an office within the United States. The Issuers hereby
appoint the Trustee as Calculation Agent for purposes of determining LIBOR for each Interest Period. The
Calculation Agent may be removed by the Issuers at any time. If the Calculation Agent is unable or unwilling to act
as such or is removed by the Issuers, the Issuers will promptly appoint as a replacement Calculation Agent a leading
bank which is engaged in transactions in Dollar deposits in the international Eurodollar market and which does not
control or is not controlled by or under common control with the Issuers or any of their Affiliates. The Calculation
Agent may not resign its duties without a successor having been duly appointed.

          (b)      The Calculation Agent shall, as soon as possible after 11:00 a.m. (London time) on each LIBOR
Determination Date, but in no event later than 11:00 a.m. (London time) on the Business Day immediately following
each LIBOR Determination Date, calculate the Note Interest Rate for each Class of Notes for the related Interest
Period and the amount of interest for the related Interest Period payable in respect of each $1,000 in principal
amount of each Class of Notes (in each case rounded to the nearest cent, with half a cent being rounded upward) on
the related Distribution Date and will communicate such rates and amounts and the related Distribution Date to the
Issuers, the Trustee, each Paying Agent, the Depositary, Euroclear, Clearstream and (in the case of any Class of
Notes listed on the Exchange and so long as the rules of the Exchange shall so require) the Exchange. The
Calculation Agent will also specify to the Issuers the quotations upon which the Note Interest Rate for each Class of
Notes is based, and in any event the Calculation Agent shall notify the Issuers before 5:00 p.m. (Pacific time) on
each LIBOR Determination Date that either: (i) it has determined or is in the process of determining the Note
Interest Rate for each Class of Notes or (ii) it has not determined and is not in the process of determining such Note
Interest Rates, together with their respective reasons therefor. A determination of the Note Interest Rate for each
Class of Notes (in the absence of manifest error) shall be final and binding upon all parties.

                             Section 7.16 Listing.

         (a)     The Issuer will use its best efforts to obtain and maintain the listing of the Class A Notes, Class B
Notes, Class C Notes, Class D Notes and Class E Notes on the Exchange.




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          (b)    TheIssuershallnotifytheCompany   Announcements  Officeuponbecoming awareofanymajor
newdevelopments   whicharenotpublicknowledge     andwhichmay(i) by virtueof theireffectonitsassetsand
liabilitiesorfinancial
                    position
                           or onthegeneral  courseofitsbusiness,
                                                               leadtosubstantialmovementsinthepriceof
theNoteslistedontheExchange;  or(ii) significantly
                                                affecttheIssuer's
                                                               abilitytomeetitscommitments.

      (c)   TheIssuershall,in eachcalendar
                                         yearcommencing
                                                      in 2006,request
                                                                   fromtheExchange
                                                                                awaiver
oftheExchange's
            requirement
                      topublish annualreports
                                            andaccounts.
      (d)    TheIssuershallsubmitto theExchange draftcopiesof anyproposed
                                                                       amendments
                                                                              to theIssuer
Charter
      whichwouldaffecttherightsoftheHolders
                                          oftheNoteslistedontheExchange.

         (e)        TheIssuer
                            shallpaytheannual
                                           feeforlistingtheapplicable
                                                                   NotesontheExchange,
                                                                                    if any.
         (f)       All notices, documents, reports and          other   announcements   delivered   to   the   Company
Announcements     Office shall be in the English language.

                          Section 7.17 Amendment of Certain Documents.

          Except as otherwise provided in Section 15.4, prior to entering into any amendment or other modification
of, or consenting to or directing any assignment or termination of, the Management Agreement, any Synthetic
Security or an Interest Rate Swap Agreement (except as provided in the Interest Rate Swap Agreement), the Rating
Condition with respect to such amendment, modification, assignment or termination shall have been satisfied. Prior
to entering into any waiver in respect of the Management Agreement, any Synthetic Security or an Interest Rate
Swap Agreement, the Issuer shall provide each Rating Agency, each Synthetic Security Counterparty, the Interest
Rate Swap Counterparty and the Trustee with written notice thereof. The Issuer shall not amend or modify, or
consent to or direct any assignment or termination of the Administration Agreement, without the prior written
consent of the Holders of at least sixty-six and two-thirds percent (66 %) of the Preference Shares, each Synthetic
Security Counterparty (if such Synthetic Security Counterparty would be materially and adversely affected thereby)
and the Interest Rate Swap Counterparty (if such Interest Rate Swap Counterparty would be materially and
adversely affected thereby), or the Management Agreement, without complying with Section 15.4.

                          Section 7.18 German   Foreign Investment Act.

          If any Securityholder notifies the Issuer that it is subject to the German Foreign Investment Act, the Issuer
will appoint, and maintain for so long as such Securityholder holds any Securities, a tax representative with respect
to the Securities pursuant to Article 18, paragraph 2 of the German Foreign Investment Act, as amended from time
to time, and make available to the German tax authorities the information required under such Act for tax purposes.

                          Section 7.19 Compliance With Laws.

          The Issuer will comply in all material respects with applicable laws, rules, regulations, writs, judgments,
injunctions, decrees, awards and orders with respect to it, its business and its properties.

                          Section 7.20 Maintenance   of Books and Records.

          The Issuer shall maintain and implement administrative and operating procedures reasonably necessary in
the performance of its obligations hereunder and the Issuer shall keep and maintain at all times, or cause to be kept
and maintained at all times in its Cayman Islands principal office, all documents, books, records, accounts and other
information customarily maintained for the performance of its obligations hereunder.




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                          Section 7.21 [Reserved.[

                          Section 7.22 DTC..

          (a)     The Issuer shall direct DTC to include the "3c7" marker in the DTC 20-character security
descriptor and the 48-character additional descriptor for the Notes in order to indicate that sales are limited to
Qualified Purchasers.

           (b)     The Issuer shall direct DTC to cause each physical DTC delivery order ticket delivered by DTC to
purchasers to contain the 20-character security descriptor and will direct DTC to cause each DTC delivery order
ticket delivered by DTC to purchasers in electronic form to contain the "3c7" indicator and the related user manual
for participants.

          (c)      On the Closing Date, the Issuer shaU instruct DTC to send an "Important Notice" to all DTC
participants in connection with the offering of the Notes. The "Important Notice" will notify DTC's participants that
the Notes are Section 3(c)(7) securities.

          (d)      The Issuer shall request that DTC include the Notes in DTC's "Reference Directory" of Section
3(c)(7) offerings.

          (e)        The Issuer shall from time to time (upon the request of the Trustee) request DTC to deliver to the
Issuer a list of all DTC participants holding an interest in the Notes.

         (f)       The Issuer shall from time to time at its expense request all third-party vendors (including
Bloomberg) to include on screens maintained by such vendors appropriate legends regarding the Rule 144A and
Section 3(c)(7) restrictions on the Notes.

          (g)      The Issuer shall cause each "CUSIP" number obtained for a Note to have an attached "fixed field"
that contains "3c7" and "144A" indicators.

          Section 7.23        Representations   Relating to Security Interests   in the Collateral.

          (a)      The Issuer hereby represents that, as of the Closing Date (which representations shall survive the
execution of this Indenture and shall be deemed to be repeated on each date on which the Collateral is delivered to
the Trustee as if made at the time of such delivery and which representations may not be waived unless the Rating
Condition with respect to Standard & Poor's has been satisfied), with respect to the Collateral:

                    (i)      The Issuer owns and has good and marketable title to the Collateral free and clear of any
          lien, claim or encumbrance of any Person, other than such as are created under, or expressly permitted by,
          this Indenture;

                    (ii)      Other than the security interest granted to the Trustee pursuant to this Indenture, except
          as expressly permitted by this Indenture, the Issuer has not pledged, assigned, sold, granted a security
          interest in, or otherwise conveyed any of the Collateral. The Issuer has not authorized the filing of and is
          not aware of any financing statements against the Issuer that include a description of collateral covering the
          Collateral other than any financing statement relating to the security interest granted to the Trustee
          hereunder or that has been terminated; the Issuer is not aware of any judgment, Pension Benefit Guaranty
          Corp. liens, or tax lien filings against the Issuer;

                    (iii)    The Collateral is comprised of "instruments" (as defmed in the applicable Uniform
          Commercial Code), "general intangibles" (as defmed in the applicable Uniform Commercial Code),
          "security entitlements" (as defined in the applicable Uniform Commercial Code) or "securities accounts"
          (as defined in the applicable Uniform Commercial Code).




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             (iv)   All Accountsconstitute
                                         securitiesaccounts
                                                          (as definedin the applicable
                                                                                     Uniform
         Commercial
                 Code).

                (v)     This Indenture
                                     createsa valid andcontinuingsecurityinterest(as definedin the
         applicable
                  UniformCommercial Code)in theCollateralin favoroftheTrustee,forthebenefitandsecurity
         of theSecuredParties,whichsecurityinterest
                                                  is priorto all otherliens(exceptasexpressly
                                                                                            permitted
         otherwise
                 inthisIndenture),
                                andisenforceable assuchagainst creditorsofandpurchasers
                                                                                      fxomtheIssuer.

                (vi)   TheIssuerhasreceived
                                          all consents
                                                    andapprovals required
                                                                        by thetermsof eachsuch
         itemofCollateral
                       tothegranthereunder
                                        totheTrustee
                                                   ofitsinterest
                                                              andrightsinsuchitemofCollateral.

        (b)     TheIssuerherebyrepresents andwarrants
                                                    that,asoftheClosing
                                                                      Date(whichrepresentations
                                                                                             and
warrantiesshallsurvivetheexecutionof thisIndenture
                                                 andbedeemed   toberepeatedoneachdateonwhichthe
Collateral
         is delivered
                    asif madeatandasthattimeandwhichrepresentations andwarranties
                                                                                maynotbewaived
unlesstheRatingCondition  withrespectto Standard
                                               & Poor'shasbeensatisfied),
                                                                        withrespect
                                                                                  to Collateral
                                                                                             that
constitute
         "instruments"
                     (asdefinedintheapplicableUniformCommercial Code):
                   (i)      (A) All originalexecuted    copiesof each promissory note or mortgage note that
         constitutes or evidences such instruments have been delivered to the Trustee and 03) none of the
         promissory notes or the mortgage notes that constitute or evidence the instruments has any marks or
         notations indicating that they have been pledged, assigned or otherwise conveyed to any Person other than
         the Trustee.

          (c)       The Issuer hereby represents and warrants that, as of the Closing Date (which representations and
warranties shall survive the execution of this Indenture and be deemed to be repeated on each date on which the
Collateral is delivered as if made at and as that time and which representations and warranties may not be waived
unless the Rating Condition with respect to Standard & Poor's has been satisfied), with respect to Collateral that
constitute "security entitlements" (as defmed in the applicable Uniform Commercial Code):

                  (i)      All of such security entitlements have been and will have been credited to one of the
         Accounts. The Securities Intermediary for each Account has agreed to treat all assets credited to such
         Account as financial assets within the meaning of the applicable Uniform Commercial Code.

                   (ii)    The Issuer has taken all steps necessary to cause the Securities Intermediary to identify in
         its records the Trustee as the Person having a security entitlement against the Securities Intermediary in
         each of the Accounts.

                  (iii)    The Accounts are not in the name of any Person other than the Trustee. The Issuer has
         not consented to the Securities Intermediary of any Account to comply with the entitlement order of any
         Person other than the Trustee.

          (d)       The Issuer hereby represents and warrants that, as of the Closing Date (which representations and
warranties shall survive the execution of this Indenture and be deemed to be repeated on each date of which the
Collateral is delivered as if made at and as that time and which representations and warranties may not be amended
or waived unless the Rating Condition with respect to Standard & Poor's has been satisfied), with respect to
Collateral that constitutes "general intangibles" (as defined in the applicable Uniform Commercial Code):

                    (i)       The Issuer has caused or will have caused, within ten days after the Closing Date, the
          filing of all appropriate fmancing statements in the proper filing office in the appropriate jurisdictions under
          applicable law in order to perfect the security interest in such Collateral granted hereunder to the Trustee
          for the benefit and security of the Secured Parties.

          (d)     The Trustee shall provide notice to the Rating Agencies if any of the representations       set forth in
this Section 7.23 have been amended or waived.




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                                                     ARTICLE      VIH

                                          SUPPLEMENTAL            INDENTURES


                          Section 8.1 Supplemental Indentures Without Consent of Securityholders.

         Without the consent of the Holders of any Securities, each Synthetic Security Counterparty, the Interest
Rate Swap Counterparty or the Initial Investment Agreement Provider, the Issuers, when authorized by Board
Resolutions, and the Trustee, at any time and from time to time subject to the requirement provided below in this
Section 8.1 with respect to the ratings of the Notes and subject to Section 8.3, may enter into one or more indentures
supplemental hereto, in form satisfactory to the Trustee, for any of the following purposes:

                   (a)      to evidence the succession of another Person to the Issuer or the Co-Issuer and the
         assumption by any such successor Person of the covenants of the Issuer or the Co-Issuer herein and in the
         Notes pursuant to Section 7.4, 7.10 or 7.11 or (subject to Section 7.8(a)(xi)) to change the name of the
         Issuer or the Co-Issuer;

                  (b)        to add to the covenants of the Issuers or the Trustee for the benefit of the Holders of all of
         the Securities or to surrender any right or power herein conferred upon the Issuers;

                    (c)       to convey, transfer, assign, mortgage or pledge any property to or with the Trustee;

                    (d)     to evidence and provide for the acceptance of appointment hereunder by a successor
         trustee, collateral manager, listing agent, calculation agent, custodian, securities intermediary, note
         registrar, paying agent and/or collateral administrator and the compensation thereof and to add to or change
         any of the provisions of this Indenture as shall be necessary to facilitate the administration of the trusts
         :hereunder by more than one Trustee, pursuant to the requirements of Sections 6.10, 6.11, 6.12 and 6.13;

                   (e)      to correct or amplify the description of any property at any time subject to the lien of this
         Indenture, or to better assure, convey and confirm unto the Trustee any property subject or required to be
         subjected to the lien of this Indenture (including any and all actions necessary or desirable as a result of
         changes in law or regulations) or to subject to the lien of this Indenture any additional property;

                    (f)       to make administrative and other non-material changes as the Issuer deems appropriate;

                    (g)       to obtain ratings on one or more Classes of the Notes from any rating agency;

                    (h)      with the written consent of the Collateral Manager, to modify the restrictions on and
         procedures for resale and other transfer of the Notes in accordance with any change in any applicable law
         or regulation (or the interpretation thereof) or to enable the Issuers to rely upon any less restrictive
         exemption from registration under the Securities Act or the Investment Company Act or to remove
         restrictions on resale and transfer to the extent not required thereunder;

                   (i)       with the written consent of the Collateral Manager, to correct any inconsistency, defect or
          ambiguity in this Indenture;

                     (j)      with the written consent of the Collateral Manager, modify the restrictions on and
          procedures for resales and other transaction of the Notes to reflect any changes in applicable law or
          regulation (or the interpretation thereof) or in accordance with the USA PATRIOT Act or other similar
          applicable laws or regulations to enable the Issuers to rely upon any less restrictive exemption from
          registration under the Securities Act or the Investment Company Act or to remove restrictions on resale and
          transfer to the extent not required thereunder;

                  (k)      avoid the imposition of tax on the net income of the Issuer (or to reduce the amount of
          such tax payable by the Issuer) or of withholding tax on any payment to the Issuer, or prevent the


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         Noteholders,thePreferenceShareholders
                                             or theTrustee frombeingsubjecttowithholding  or othertaxes,
         feesorassessments, orprevent
                                    theIssuer
                                            frombeingtreated  asengaged
                                                                      in aUnitedStates  tradeorbusiness
         forU.S.federalincome  taxpurposes
                                         or otherwise subject
                                                            toU.S.federal,
                                                                         state,localor foreignincome or
         franchisetaxona netincometaxbasis,or avoidtheIssuerbeingrequired   to register asaninvestment
         company  undertheInvestment Company Act (ortoreflectanychange permitted by Section 7.4toavoid
         theoccurrence of aTaxEventortheexistence  of aTaxMateriality
                                                                    Condition); provided thatsuchaction
         will notcausetheNoteholderstobeadversely affected
                                                         toanymaterialextentbyanychange    tothetiming,
         characterorsource oftheincomefromtheNote;
                 (1)   withthepriorwrittenconsent
                                               oftheCollateral
                                                            Manager,toavoidtheconsolidation
                                                                                         ofthe
         IssuerwiththeCollateral
                              Manageronthefinancial
                                                  statements
                                                          oftheCollateral
                                                                       Manager;
                    (m)     to accommodate the issuance of any Class of Notes as Definitive Notes;

                   (n)      if one hundred percent (100%) of the Holders of the Preference Shares request in writing
         to the Issuer and the Trustee, to accommodate the issuance of additional Preference Shares with terms
         identical to those of the existing Preference Shares;

                    (o)     to modify the Auction Procedures, with the written consent of the Collateral Manager;
          and

                  (p)      to correct any manifest error in any provision hereof upon receipt by the Trustee of
         written direction from the Issuers (as to which the Trustee may rely) describing in reasonable detail such
         error and the modification necessary to correct such error.

         The Trustee is hereby authorized to join in the execution of any such supplemental indenture and to make
any further appropriate agreements and stipulations which may be therein contained, but the Trustee shall not be
obligated to enter into any such supplemental indenture which affects the Trustee's own rights, duties, liabilities or
indemnities under this Indenture or otherwise, except to the extent required by law.                              ":_

          Subject to the last sentence of this paragraph, the Trustee shall not enter into any such supplemental
indenture if, as a result of such supplemental indenture, the interests of any Noteholder or any Preference
Shareholder would be materially and adversely affected thereby, or the interests of the Interest Rate Swap
Counterparty would be adversely affected thereby, or the interests of each Synthetic Security Counterparty would be
adversely affected thereby, or the interests of the Initial Investment Agreement Provider would be adversely affected
thereby. Unless, prior to the Trustee's execution of such supplemental indenture, the Trustee is notified by a
Majority of any Class of Notes that such Class will be materially and adversely affected, or by a Majority-in-Interest
of Preference Shareholders that the Preference Shareholders will be materially and adversely affected, or by the
Interest Rate Swap Counterparty that such Interest Rate Swap Counterparty will be adversely affected, or by each
Synthetic Security Counterparty that such Synthetic Security Counterparty will be adversely affected, or by the
Initial Investment Agreement Provider that such Initial Investment Agreement Provider will be adversely affected,
the Trustee shall be entitled to rely upon an Opinion of Counsel provided at the expense of the party requesting such
supplemental indenture as to whether the interests of any Noteholder or any Preference Shareholder would be
materially and adversely affected, or the Interest Rate Swap Counterparty would be adversely affected, or each
Synthetic Security Counterparty would be adversely affected, or the Initial Investment Agreement Provider would
be adversely affected, by any such supplemental indenture (after giving notice of such change to the
Securityholders, each Synthetic Security Counterparty, the Interest Rate Swap Counterparty and the Initial
Investment Agreement Provider). Pursuant to Section 1 of the Collateral Management Agreement, the Issuer agreed
that it will not permit any amendment, supplement or other modification to the Indenture that changes the rights,
obligations, liabilities or duties of the Collateral Manager to become effective unless the Collateral Manager has
been given at least 10 Business Days' prior written notice and a copy of such amendment, supplement or other
modification and has consented thereto in writing. At the cost of the Issuer, the Trustee shall provide to the
Noteholders, the Preference Shareholders, the Collateral Manager, the Exchange (for as long as any Class of Notes
is listed thereon), each Synthetic Security Counterparty, the Interest Rate Swap Counterparty and the Initial
Investment Agreement Provider a copy of such proposed supplemental indenture (or a notice containing a summary



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thereof) at least 10 days prior to the execution thereof by the Trustee and a copy of the executed supplemental
indenture (or a summary thereof) after its execution. At the cost of the Issuer, the Trustee shall provide to each
Rating Agency a copy of such proposed supplemental indenture at least 15 Business Days prior to the execution
thereof by the Trustee, and, for so long as any Notes are Outstanding, request from Standard & Poor's that the
Rating Condition with respect to such supplemental indenture be satisfied, and, as soon as practicable after the
executionby the Trustee and the Issuers of any such supplemental indenture, provide to each Rating Agency a copy
of the executed supplemental indenture. The Trustee shall not enter into any such supplemental indenture if, with
respect to such supplemental indenture, the Rating Condition has not been satisfied; provided that the Trustee may,
with the consent of the Holders of one hundred percent (100%) of the Aggregate Outstanding Amount of the Notes
of each Class with respect to which the Rating Condition has not been satisfied, enter into any such supplemental
indenture notwithstanding any such reduction or withdrawal of the ratings of such Class of Notes.

                          Section 8.2   Supplemental Indentures with Consent of SecuriWholders.

           With the consent of the Holders of not less than a Majority of each Class materially and adversely affected
thereby (by Act of said Holders delivered to the Trustee and the Issuers), the consent of all of the Preference
Shareholders if materially and adversely affected thereby (by Act of said Preference Shareholders delivered to the
Trustee and the Issuers), the consent of each Synthetic Security Counterparty adversely affected thereby (delivered
by the Synthetic Security Counterparty to the Trustee and the Issuers), the consent of the Interest Rate Swap
Counterparty adversely affected thereby (delivered by the Interest Rate Swap Counterparty to the Trustee and the
Issuers) and the consent of the Initial Investment Agreement Provider adversely affected thereby (delivered by the
Initial Investment Agreement Provider to the Trustee and the Issuer), the Trustee and Issuers may, subject to Section
8.3, enter into one or more indentures supplemental hereto to add any provisions to, or change in any manner or
eliminate any of the provisions of, this Indenture or modify in any manner the rights of the Holders of the Notes of
such Class, the Preference Shareholders, each Synthetic Security Counterparty, the Interest Rate Swap Counterparty
or the Initial Investment Agreement Provider, as the case may be, under this Indenture; provided that,
notwithstanding anything in this Indenture to the contrary, no such supplemental indenture shall, without the consent
of each Holder of each Outstanding Note of each Class affected thereby and the consent of each Preference
Shareholder if the Preference Shares are affected thereby:

                    (a)       change the Stated Maturity of any Notes or the Scheduled Preference Share Redemption
          Date, as the case may be, or the due date of any installment of interest on any Note or distribution of Excess
          Interest in respect of a Preference Share, reduce the principal amount of any Note or the Note Interest Rate
          thereon or the Redemption Price with respect to any Note or Preference Share, or change the earliest date
          on which any Note or Preference Share may be redeemed or the amount of Excess Interest or Excess
          Principal Proceeds payable in respect of a Preference Share, change the provisions of this Indenture relating
          to the application of proceeds of any Collateral to the payment of principal of or interest on Notes or the
          payment of Excess Amounts in respect of the Preference Shares or change any place where, or the coin or
          currency in which, any Note or any Preference Share, or the principal thereof or interest thereon or any
          Excess Amount in respect thereof, respectively, is payable, or impair the right to institute suit for the
          enforcement of any such payment on or after the Stated Maturity thereof or the Scheduled Preference Share
          Redemption Date, as the case may be (or, in the case of redemption, on or after the applicable Redemption
          Date);

                   (b)      reduce the percentage of the Aggregate Outstanding Amount of Holders of Notes of each
          Class or the percentage of Preference Shares whose consent is required for the authorization of any such
          supplemental indenture or for any waiver of compliance with applicable provisions of this Indenture or
          certain Defaults hereunder or their consequences provided for in this Indenture;

                    (c)       impair or adversely affect the Collateral except as otherwise expressly permitted in this
          Indenture;

                   (d)     permit the creation of any lien ranking prior to or on a parity with the lien of this
          Indenture with respect to any part of the Collateral or terminate such lien on any property at any time




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         subject
               hereto(otherthaninconnection
                                         withthesalethereofin accordance
                                                                      withthisIndenture)
                                                                                      ordeprive
         theHolderofanyNoteoftheSecurity
                                       afforded
                                              bythelienofthisIndenture;

                  (e)       reducethepercentage    oftheAggregate   Outstanding   Amount of Holders of Notes of each
         Class whose consent is required to request the Trustee to preserve the Collateral or rescind the Trustee's
         election to preserve the Collateral pursuant to Section 5.5 or to sell or liquidate the Collateral pursuant to
         Section 5.4 or 5.5;

                  (f)       modify any of the provisions of this Section 8.2, except to increase the percentage of
         Outstanding Notes (or percentage of Preference Shares) whose Holders' consent is required for any such
         action or to provide that certain other provisions of this Indenture cannot be modified or waived without the
         consent of the Holder of each Outstanding Security affected thereby;

                    (g)     modify the definition of the term "Outstanding,"   Section 11.1 or Section 13.1;

                 (h)      change the permitted minimum denominations           of any Class of Notes or the minimum
         number of Preference Shares; or

                   (i)      modify any of the provisions of this Indenture in such a manner as to affect the
         calculation of interest on or principal of any Note or the calculation of the amount of any Excess Amount
         with respect to any Preference Share on any Distribution Date or to affect the rights of the Holders of Notes
         or Preference Shares to the benefit of any provisions for the redemption of such Notes or Preference Shares
         contained herein;

provided further that no such supplemental indenture shall modify the rights of the Holders of the Preference Shares
without the written consent of each Holder of Preference Shares.

          Not later than 15 Business Days prior to the execution of any proposed supplemental indenture pursuant to
this Section 8.2, the Trustee, at the expense of the Issuers shall mail to the Securityholders, the Interest Rate Swap
Counterparty, each Synthetic Security Counterparty, the Initial Investment Agreement Provider, the Collateral
Manager and each Rating Agency a copy of such supplemental indenture (or a description of the substance thereof)
and shall request that the Rating Condition with respect to such supplemental indenture be satisfied. If any Class of
Notes is then rated by any Rating Agency, the Trustee shall not enter into any such supplemental indenture if, as a
result of such supplemental indenture, the Rating Condition has not been satisfied with respect to such supplemental
indenture, unless the Holders of one hundred percent (100%) of the Aggregate Outstanding Amount of the Notes of
each Class with respect to which the Rating Condition has not been satisfied have consented to such supplemental
indenture. Unless notified by a Majority of any Class of Notes that such Class will be materially and adversely
affected, or by a Majority-in-Interest of Preference Shareholders that the Preference Shares will be materially and
adversely affected, or by each Synthetic Security Counterparty that such Synthetic Security Counterparty will be
adversely affected, or by the Interest Rate Swap Counterparty that such Interest Rate Swap Counterparty will be
adversely affected, or by the Initial Investment Agreement Provider that such Initial Investment Agreement Provider
will be adversely affected, prior to the Trustee's execution of such supplemental indenture, the Trustee shall be
entitled to rely upon an Opinion of Counsel provided at the expense of the party requesting such supplemental
indenture as to whether the interests of any Securityholder would be materially and adversely affected, or each
Synthetic Security Counterparty would be adversely affected, or the Interest Rate Swap Counterparty would be
adversely affected, or the Initial Investment Agreement Provider would be adversely affected, by any such
supplemental indenture.       Such determination shall be conclusive and binding on all present and future
Securityholders, each Synthetic Security Counterparty, the Interest Rate Swap Counterparty and the Initial
Investment Agreement Provider. The Trustee shall not be liable for any such determination made in good faith and
in reliance in good faith upon an Opinion of Counsel delivered to the Trustee as described in Section 8.3.

         It shall not be necessary for any Act of Securityholders under this Section 8.2 to approve the particular
form of any proposed supplemental indenture, but it shall be sufficient if such Act shall approve the substance
thereof.




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       PromptlyaftertheexecutionbytheIssuersandtheTrustee ofanysupplementalindenture
                                                                                   pursuanttothis
Section
      8.2,theTrustee, attheexpenseof theIssuers,
                                               shallmailtotheHoldersof theSecurities,
                                                                                   eachSynthetic
SecurityCounterparty,theInterestRateSwapCounterparty,  the Initial Investment
                                                                           AgreementProvider,the
Collateral
        Manager andeachRatingAgency   a copy(orsummary) thereof.AnyfailureoftheTrustee
                                                                                     topublishor
mailsuchnotice,or anydefecttherein,
                                  shallnot,however,in anywayimpairor affectthevalidityof anysuch
supplemental
           indenture.

                           Section 8.3 Execution of Supplemental Indentures.

           In executing or accepting the additional trusts created by any supplemental indenture permitted by this
Article VIII or the modifications thereby of the trusts created by this Indenture, the Trustee shall be entitled to
receive, and (subject to Sections 6.1 and 6.3) shall be fully protected in relying in good faith upon, an Opinion of
 Counsel stating that the execution of such supplemental indenture is authorized or permitted by this Indenture and
 that all conditions precedent thereto have been complied with. The Trustee may, but shall not be obligated to, enter
into any such supplemental indenture which affects the Trustee's own rights, duties or indemnities under this
 Indenture or otherwise. The Trustee shall forward any proposed supplemental indenture to the Collateral Manager
 and the Trustee shall not enter into any such supplemental indenture (including a supplemental indenture entered
 into pursuant to Section 8.1 or 8.2) without the prior written consent of the Collateral Manager, if such supplemental
 indenture adversely affects the Collateral Manager (as determined by the Collateral Manager in its reasonable
judgment and so certified in writing to the Trustee by the Collateral Manager) in any respect or changes the rights or
 obligations of the Collateral Manager in any respect.

                           Section 8.4 Effect of Supplemental     Indentures.

         Upon the execution of any supplemental indenture under this Article VIII, this Indenture shall be modified
in accordance therewith, and such supplemental indenture shall form a part of this Indenture for all purposes; and
every Holder of Securities theretofore and thereafter authenticated and delivered hereunder shall be bound thereby.

                           Section 8.5 Reference in Notes to Supplemental Indentures.

         Notes authenticated and delivered after the execution of any supplemental     indenture pursuant to this Article
VIII may, and if required by the Trustee shall, bear a notation in form approved        by the Trustee as to any matter
provided for in such supplemental indenture. If the Issuers shall so determine,          new Notes, so modified as to
conform in the opinion of the Trustee and the Issuers to any such supplemental         indenture, may be prepared and
executed by the Issuers and authenticated and delivered by the Trustee in exchange     for Outstanding Notes.

                                                      ARTICLE IX

                                            REDEMPTION      OF SECURITIES


                           Section 9.1   Clean-Up Call Redemption.

          At the direction of the Collateral Manager, the Notes will be subject to redemption by the Issuer, in whole
but not in part (a "Clean-Up Call Redemption"), at the Redemption Price, on any Distribution Date on which the
Aggregate Outstanding Amount of the Notes is less than or equal to ten percent (10%) of the aggregate principal
amount of the Notes as of the Closing Date. Any such redemption may only be effected on a Distribution Date and
only from (a) the Disposition Proceeds and (b) the Balance of the Cash and Eligible Investments in the Accounts
(other than the Interest Rate Swap Counterparty Collateral Account and the Synthetic Security Issuer Account).

            Any Clean-Up Call Redemption is subject to (i) the purchase of the Collateral (other than the Cash and
 Eligible Investments referred to in clause (b) of this sentence) by the Collateral Manager or any of its Affiliates from
 the Issuer, on the scheduled Redemption Date, for a purchase price in Cash at least equal to (a) the Redemption
 Amount minus (b) the Balance of the Cash and Eligible Investments in the Accounts (other than that in the Interest
 Rate Swap Counterparty Collateral Accounts and the Synthetic Security Issuer Accounts, but including the payment
 in full to the Issuer of all amounts that can be withdrawn under the Investment Agreement) and (ii) the receipt by the


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Trustee from the Collateral Manager, prior to such purchase, of certification from the Collateral Manager that the
sum so received satisfies clause (i). Upon receipt by the Trustee of the certification referred to in the preceding
sentence, the Trustee (pursuant to written direction from the Issuer) and the Issuer shall take all actions necessary to
sell, assign and transfer the Collateral to the Collateral Manager upon payment in immediately available funds of the
Redemption Price. The Trustee shall deposit such payment into the Collection Accounts and apply the funds therein
in accordance with the Priority of Payments on such Redemption Date.

          If the Collateral Manager so requests, the Trustee and the Issuer will enter into a Bailee Letter with the
Collateral Manager and a bank selected by the Collateral Manager with the approval of the Issuer (which bank has
been assigned ratings at least equal to those required by the Successor Trustee Ratings Requirement) and will deliver
the Underlying Assets pursuant thereto prior to the closing on the disposition of the Underlying Assets and accept
payment of the purchase price pursuant thereto. If such Redemption Price is not paid in full in immediately
available funds on the Redemption Date, the Trustee shall decline to consummate the sale and shall give notice (in
accordance with Section 9.5) that the Clean-Up Call Redemption will not occur.

          Any direction of the Collateral Manager requiring a Clean-Up Call Redemption shall be given in writing to
the Issuer, with a copy to the Trustee and Standard & Poor's, at least ten Business Days prior to the relevant
Distribution Date. The Issuer shall, upon receipt from the Collateral Manager of a direction in writing to effect a
Clean-Up Call Redemption, set the Redemption Date and the Record Date for any redemption pursuant to this
Section and give written notice thereof to the Trustee pursuant to Section 9.5 hereof.

                          Section 9.2 Tax Redemption.

          The Notes will be subject to redemption (a "Tax Redemption"), in whole but not in part, by the Issuer at the
direction in writing of a Majority-in-Interest of Preference Shareholders. Any such redemption may only be effected
on a Distribution Date at the applicable Redemption Price and only from (a) the Disposition Proceeds and (b) the
Balance of the Cash and Eligible Investments in the Accounts (other than that in the Interest Rate Swap
Counterparty Collateral Accounts and the Synthetic Security Issuer Accounts).            No Tax Redemption may be
effected, however, unless (i) all such Disposition Proceeds (including the payment in full to the Issuer of all amounts
that can be withdrawn under the Investment Agreement) under clause (a) above are used, in whole or in part, to
make such Tax Redemption, (ii) funds under clauses (a) and (b) above are at least equal to the Redemption Amount,
(iii) a Tax Event shall have occurred and (iv) the Tax Materiality Condition is satisfied.

          Any Tax Redemption is subject to (i) the disposition of the Collateral (other than the Cash and Eligible
Investments referred to in clause (b) of this sentence) arranged by the Collateral Manager, on the scheduled
Redemption Date, for a sale price in Cash at least equal to (a) the Redemption Amount minus (b) the Balance of the
Cash and Eligible Investments in the Accounts (other than that in the Interest Rate Swap Counterparty Collateral
Accounts and the Synthetic Security Issuer Accounts, but including the payment in full to the Issuer of all amounts
that can be withdrawn under the Investment Agreement) and (ii) the receipt by the Trustee from the Collateral
Manager of certification from the Collateral Manager that the sum so received f_om the purchaser satisfies clause (i).
Upon receipt by the Trustee of the certification referred to in the preceding sentence, the Issuer shall take all actions
necessary to sell, assign and transfer the Collateral to the prospective purchaser upon payment in immediately
available funds of the sum referred to above and the Trustee shall release the Collateral from the lien of this
Indenture. The Trustee shall deposit such payment into the Collection Accounts. The Collateral Manager or an
Affiliate thereof may be the purchaser of the Collateral.

          If the purchaser of Underlying Assets so requests, the Trustee and the Issuer will enter into a Bailee Letter
with such purchaser and a bank selected by the purchaser with the approval of the Issuer (which bank has been
assigned ratings at least equal to those required by the Successor Trustee Ratings Requirement, as certified to the
Trustee) and will deliver the applicable Underlying Assets pursuant thereto prior to the closing on the disposition of
the such Underlying Assets and accept payment of the purchase price pursuant thereto. If the agreed price is not
paid by such purchaser in full in immediately available funds by the fifth Business Day immediately preceding the
Redemption Date, the Trustee shall decline to consummate the sale and shall give notice (in accordance with Section
9.5) that the Tax Redemption will not occur.




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        AnydirectionfromthePreference
                                   ShareholderstoeffectaTaxRedemption   shallbegiveninwritingtothe
Issuer,withcopiesto theTrusteeandtheCollateralManager, at leasttenBusinessDayspriorto therelevant
Distribution
           Date.TheIssuer,uponreceipt
                                    of thedirection
                                                  fromthePreference Shareholders,shallsettheRecord
Datefortheredemption  pursuant
                            tothisSectionandgi_,ewrittennoticethereoftotheTrusteepursuant toSection
9.5hereof.

                          Section 9.3   Auction Call Redemption.

          (a)       In accordance with the procedures set forth in Schedule G (the "Auction Procedures"), the Auction
Agent shall, at the expense of the Issuer, conduct an auction (an "Auction") of the Underlying Assets if, on or prior
to the Distribution Date occurring in August 2012, the Notes have not been redeemed in full and the holders of the
Preference Shares have not previously directed the Issuer to redeem the Notes pursuant to Section 9.4. The Auction
shall be conducted not later than seven (7) Business Days prior to, but not earlier than ten (10) Business Days prior
to (1) the Distribution Date occurring in August 2012 (the "First Auction Call Date"), and (2) if the Notes are not
redeemed in full on the prior Distribution Date, each subsequent Distribution Date occurring on or closest to any six-
month anniversary of the First Auction Call Date until the Notes have been redeemed in full (each such date, an
"Auction Date"). Any of the Collateral Manager (if it is not the Auction Agent), the Initial Purchaser, any Preference
Shareholder, the Trustee or their respective Affiliates may, but shall not be required to, bid at the Auction. The
Issuer shall dispose of and transfer the Underlying Assets (which may be divided into up to eight Subpools) to the
highest bidder therefor identified by the Auction Agent (or to the highest bidder for each Subpool) identified by the
Auction Agent at the Auction and the Trustee shall, pursuant to an Issuer Order in accordance with Section 10.9,
release the Collateral from the lien of this Indenture provided that:

                    (i)       the Auction has been conducted in accordance with the Auction Procedures;

                   (ii)     the Auction Agent has received bids for the Underlying Assets from at least two (2)
         Qualified Bidders (including the winning Qualifying Bidder) for (i) the purchase of the Underlying Assets
         or (ii) the purchase of each Subpool; provided that if the Auction Agent has not received bids for one or
         more Synthetic Securities, the requirements of this clause may be satisfied by determining required
         payments from or to the Issuer relating to the termination of such Synthetic Securities and including such
         aggregate amount in the calculation of the Redemption Amount;

                   (iii)   the Auction Agent certifies that the Highest Auction Price would result in Disposition
         Proceeds from the Underlying Assets (or the related Subpools) which, together with the Balance of all
         Eligible Investments (including the payment in full to the Issuer of all amounts that can be withdrawn under
         the Investment Agreement) and Cash in the Accounts (other than Eligible Investments and Cash in the
         Interest Rate Swap Counterparty Collateral Accounts) will be at least equal to the sum of (i) the
         Redemption Amount and (ii) the Minimum Preference Share Redemption Amount; and

                     (iv)    the bidder(s) who offered the Highest Auction Price for the Underlying Assets (or the
          related Subpools) enter(s) into a written agreement with the Issuer (which the Issuer shall execute if the
          conditions set forth in (i) through (iii) of this Section 9.3 are satisfied, which execution shall constitute
          certification by the Issuer that such conditions have been satisfied) that obligates the highest bidder (or the
          highest bidder for each Subpool) to purchase all of the Underlying Assets (or the relevant Subpool) with the
          closing of such purchase (and full payment in Cash to the Trustee of (i) the purchase price of the Cash
          Assets and (ii) any amount due to the Issuer as a result of the assignment of the Synthetic Securities) to
          occur on or prior to the sixth Business Day following the relevant Auction Date.

         Provided that all of the conditions set forth in clauses (i) through (iv) of the last sentence of the preceding
paragraph of this Section 9.3 have been met, the Issuer shall dispose of and transfer the Underlying Assets (or each
related Subpool), without representation, warranty or recourse, to such highest bidder identified by the Auction
Agent (or the highest bidder for each Subpool, as the case may be) and the Trustee shall release the Collateral from
the lien of this Indenture in accordance with and upon completion of the Auction Procedures. The Trustee shall
deposit the purchase price for the Underlying Assets in the Collection Accounts and on the Distribution Date
immediately following the relevant Auction Date (i) pay the Redemption Amount and (ii) make a payment to the



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PreferenceSharePayingAgentfordistribution
                                        tothePreferenceShareholders
                                                                 in anamount (thatshallnotbeless
thantheMinimumPreferenceShare Redemption Amount) equaltotheremainder
                                                                   ofsuchDisposition Proceeds
                                                                                            and
cashintheCollection
                  Accounts
                         (suchredemption, the"AuctionCallRedemption").
                                                                     Notwithstandingtheforegoing,
theholdersofonehundredpercent(100%)oftheAggregate  Outstanding
                                                             AmountofaClassofNotesmayelect,in
connectionwithanyAuctionCallRedemption,toreceivelessthanonehundredpercent(100%) oftheRedemption
Pricethatwouldotherwise
                      bepayabletoholders of suchClass(andtheRedemptionPriceshallbereducedbysuch
amount).


         The Collateral Manager or any of its Affiliates may bid in an Auction of the Underlying Assets; provided
however if the Collateral Manager or any of its Affiliates intends to submit a bid, the Collateral Manager shall resign
as Auction Agent for that Auction and shall select a Substitute Auction Agent.

          (b)      If any of the foregoing conditions is not met with respect to any Auction, or if the highest bidder
(or the highest bidder for any Subpool, as the case may be) fails to pay the purchase price before the sixth Business
Day following the relevant Auction Date, (i) the Auction Call Redemption shall not occur on the Distribution Date
following the relevant Auction Date, (ii) the Auction Agent shall notify the Trustee and the Trustee shall give notice
of the withdrawal pursuant to Section 9.5, (iii) subject to clause (iv) below, the Trustee on behalf of the Issuer shall
decline to consummate such sale and shall not solicit any further bids or otherwise negotiate any further disposition
of Underlying Assets in relation to such Auction and (iv) unless the Notes are redeemed in full prior to the next
succeeding Auction Date, the Auction Agent shall conduct another Auction on the next succeeding Auction Date.

          (c)       In addition, the Auction Redemption shall not occur on the Distribution Date following the
relevant Auction Date unless, at least four Business Days before such Distribution Date, the Collateral Manager
shall have furnished to the Trustee, each Synthetic Security Counterparty and each Interest Rate Swap Counterparty
evidence, in form satisfactory to the Trustee (which evidence may be set forth in an Officer's Certificate of the
Collateral Manager), that the Issuer has entered into a binding agreement or agreements with (or guaranteed by) a
financial institution or institutions (whose long-term unsecured debt obligations (other than such obligations whose
rating is based on the credit of a person other than such institution) have a credit rating from each Rating Agency at
least equa! to the highest rating of the Notes then outstanding or whose short-term unsecured debt obligations have a
credit rating of at least "A-I" by Standard & Poor's and (if rated by Fitch) at least "FI" by Fitch and provided that in
case such fmancial institution is the Collateral Manager no credit rating is required) to sell, not later than the
Business Day immediately preceding the relevant Distribution Date, in immediately available funds, all or part of
the Underlying Assets at a sale price (including in such price an amount equal to any accrued interest) which,
together with the Balance of the Cash and Eligible Investments in the Accounts (other than the Interest Rate Swap
Counterparty Collateral Account and the Synthetic Security Issuer Account, but including the payment in full to the
Issuer of all amounts that can be withdrawn under the Investment Agreement), is at least equal to (i) the Redemption
Amount and (ii) the Minimum Preference Share Redemption Amount.

         (d)      The Issuer shall be permitted to withdraw the notice of redemption pursuant to this Section 9.3 if
the conditions for an Auction Call Redemption are not satisfied, by written notice to the Trustee and the Collateral
Manager.

                           Section 9.4 Optional   Redemption.

          The Notes shall be redeemable, in whole but not in part, at the option of the Issuer (if so directed by the
holders of at least sixty-six and two-thirds percent (66 %) of the Preference Shares), on any Distribution Date on or
after the August 2009 Distribution Date at the applicable Redemption Price. Any such redemption of the Notes is
referred to herein as an "Optional Redemption". No redemption pursuant to this Section 9.4 shall occur unless the
Redemption Amount is paid in full on the date of such redemption in accordance with the priorities set forth in
Section 11.1. Any such redemption may only be effected on a Distribution Date at the applicable Redemption Price
and only from (a) the Disposition Proceeds and (b) the Balance of the Cash and Eligible Investments in the Accounts
(other than that in the Interest Rate Swap Counterparty Collateral Accounts and the Synthetic Security Issuer
Accounts, but including the payment in full to the Issuer of all amounts that can be withdrawn under the Investment
Agreement).     No Optional Redemption may be effected, however, unless (i) all such Disposition Proceeds
(including the payment in full to the Issuer of all amounts that can be withdrawn under the Investment Agreement)



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areused,inwholeorinpart,tomakesuchOptional
                                        Redemption
                                                and(ii) suchDisposition
                                                                      Proceeds
                                                                            areatleastequal
totheRedemptionAmount.

       Any OptionalRedemption    is subjectto (i) thesaleof theCollateral   (otherthantheCashandEligible
Investmentsreferredto in clause(b) of this sentence)    arranged by theCollateralManager,    on theproposed
Redemption Date,forasalepriceinCashatleastequalto(a)theRedemption         Amountminus(b)theBalance     ofthe
CashandEligibleInvestments  in theAccounts  (otherthanthatin theInterest   RateSwapCounterparty     Collateral
AccountsandtheSynthetic  SecurityIssuerAccounts,   butincluding thepayment   in fulltotheIssuerof allamounts
thatcanbewithdrawn   undertheInvestment  Agreement)     and(ii) thereceiptby theTrustee    fromtheCollateral
Managerofcertification
                     fromtheCollateral Manager   thatthesumsoreceived    fromthepurchaser   satisfies
                                                                                                    clause
                                                                                                         (i).
Uponreceipt bytheTrustee ofthecertification
                                          referred  tointhepreceding   sentence, theIssuershalltakeallactions
necessaryto sell,assignandtransfertheCollateral    to theprospective purchaser   uponpayment  in immediately
available
        fundsof thesumreferredto aboveandtheTrusteeshallrelease           theCollateral  fromthelienof this
Indenture.TheTrustee  shalldepositsuchpayment    intotheCollection   Accounts. The Collateral Manager or an
Affiliate thereof may be the purchaser           of the Collateral   in accordance   with the procedures    set forth in the
Management Agreement.

          If any of the Asset-Backed Securities are in physical form and if the purchaser of such Asset-Backed
Securities so requests, the Trustee and the Issuer will enter into a Bailee Letter with such purchaser and a bank
selected by the purchaser with the approval of the Issuer (which bank has been assigned ratings at least equal to
those required by the Successor Trustee Ratings Requirement) and will deliver the applicable Asset-Backed
Securities pursuant thereto prior to the closing on the sale of such Asset-Backed Securities and accept payment of
the purchase price pursuant thereto. If the agreed price is not paid by such purchaser in full in immediately available
funds by the fifth Business Day immediately preceding the Redemption Date, the Trustee on behalf of the Issuer
shall decline to consummate the sale and shall give notice (in accordance with Section 9.5) that the Optional
Redemption will not occur.

          Any direction from the      Preference Shareholders to effect an Optional Redemption shall be given in writing
to the Issuer, with copies to the     Trustee and the Collateral Manager, at least fifteen (15) Business Days prior to the
relevant Distribution Date. The       Issuer, upon receipt of the direction from the Preference Shareholders, shall set the
Record Date for the redemption         pursuant to this Section and give written notice thereof to the Trustee pursuant to
Section 9.5.

                             Section 9.5   Notice of Tax Redemption_ Clean-Up Call Redemption_ Auction Call
                                               Redemption_ Optional Redemption or Stated Maturity, by the Issuers.

          The Trustee shall give notice of a Redemption Date pursuant to Section 9.1 through Section 9.4 or notice of
the Stated Maturity of any Class of Notes or the Scheduled Preference Share Redemption Date by fn'st class mail,
postage prepaid, mailed not less than ten (10) days nor more than thirty (30) days prior to such date, to the
Depositary, to the registered Holders of the Regulation S Global Notes by delivery of the relevant notice to
Clearstream and Euroclear for communication by them to entitled Accountholders, and to each Holder of Preference
Shares at such Holder's address in the Share Register, with a copy (mailed at the same time as notice is mailed to the
Holders) to each Rating Agency, each Synthetic Security Counterparty, the Interest Rate Swap Counterparty and the
Initial Investment Agreement Provider. In addition (and so long as the rules of the Exchange shall so require), the
Trustee shall promptly notify the Exchange of any Clean-Up Call Redemption, Tax Redemption, Auction Call
Redemption or Optional Redemption, and cause notice of such redemption to be delivered to the Company
Announcements Office of the Exchange.

          All notices of redemption shall state:

                  (a)      the applicable        Redemption    Date,   Stated Maturity   or Scheduled      Preference   Share
          Redemption Date;

                     (b)         the applicable Record Date;




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                    (c)       the Redemption Price, including the Preference Share Redemption Price, if any;

                   (d)    the principal amount of each Class of Notes to be redeemed and that interest on such
         principal amount of Notes shall cease to accrue on the date specified in the notice; and

                  (e)      the place or places where the certificates relating to such Securities are to be surrendered
         for payment of the Redemption Price, which shall be the office or agency designated in such notice.

         Notice of redemption shall be given by the Trustee in the name and at the expense of the Issuer.

         Failure to give notice of redemption, or any defect therein, to any Holder of any Security selected for
redemption shall not impair or affect the validity of the redemption of any other Security.

          Any such notice may be withdrawn by the Issuer up to the fifth Business Day prior to the scheduled
Redemption Date by written notice to the Trustee, the Initial Investment Agreement Provider, each Synthetic
Security Counterparty, the Interest Rate Swap Counterparty and the Collateral Manager, but only if the Disposition
Proceeds and certificate of the Collateral Manager or the Auction Agent required by Section 9.1, 9.2, 9.3 or 9.4, as
applicable, have not been delivered to the Trustee by such date in form satisfactory to the Trustee.

         At the cost of the Issuer, the Trustee shall give notice of any withdrawal as follows. Notice of any such
withdrawal shall be sent by overnight courier guaranteeing next day delivery to the Depositary, to the registered
holders of the Regulation S Global Notes by delivery of the relevant notice to Clearstream and Euroclear for
communication by them to entitled Accountholders, and to each Holder of a Preference Share at such Holder's
address in the Note Register or the Share Register, as applicable, and to each Rating Agency. The Trustee will
promptly notify the Exchange and cause notice of such withdrawal to be delivered to the Company Announcements
Office of the Exchange.

                          Section 9.6   Securities Payable on Redemption   Date.

          Notice of redemption having been given as aforesaid (and not withdrawn), the Notes so to be redeemed
shall, on the Redemption Date, become due and payable at the Redemption Price therein specified, and from and
after the Redemption Date (unless the Issuer shall default in the payment of the Redemption Price and accrued
interest) such Notes shall cease to bear interest on the Redemption Date. Upon final payment on a Note to be
redeemed, the Holder shall present and surrender such Note at the place specified in the notice of redemption on or
prior to such Redemption Date; provided that if there is delivered to the Issuers and the Trustee (i) in the case of.a
Holder that is not a Qualified Institutional Buyer, such security or indemnity as may be required by them to save
each of them harmless and (ii) an undertaking thereafter to surrender such Note, then, in the absence of notice to the
Issuers and the Trustee that the applicable Note has been acquired by a protected purchaser, such final payment shall
be made without presentation or surrender. Installments of interest on Notes of a Class so to be redeemed whose
Stated Maturity is on or prior to the Redemption Date shall be payable to the Holders of such Notes, or one or more
predecessor Notes, registered as such at the close of business on the relevant Record Date according to the terms and
provisions of Section 2.6(0.

          If any Note called for redemption shall not be paid upon surrender thereof for redemption, the principal
thereof shall, until paid, bear interest from the Redemption Date at the applicable Note Interest Rate for each
successive Interest Period the Note remains Outstanding.

         Installments of principal and interest or Excess Interest due on or prior to a Redemption Date shall continue
to be payable to the Holders of such Notes or Preference Shares, respectively as of the relevant Record Dates
according to their terms. The election of the Issuers to redeem any Securities pursuant to this Article IX shall be
evidenced by an Issuer Order from the Collateral Manager directing the Trustee to make the payment to the Paying
Agent and the Preference Share Paying Agent, as applicable of the Redemption Price of all of the Securities to be
redeemed from funds in the Payment Account in accordance with the Priority of Payments. The Issuer shall deposit,
or cause to be deposited, the funds required for a redemption pursuant to this Article IX in the Payment Account on
or before the fifth Business Day prior to the Redemption Date or, if later, upon receipt.


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                          Section 9.7 Mandatory Redemption.

         One or more Classes of the Notes may be subject to mandatory redemption, in whole or in part, as set forth
in and in accordance with Section 11.1 (a), if any Interest Coverage Test or Overcollateralization Test is not satisfied
on a Determination Date.

                                                          ARTICLE       X


                                    ACCOUNTS,         ACCOUNTINGS           AND RELEASES


                          Section   10.1 Collection   of Money.

          (a)      Except as otherwise expressly provided herein, the Trustee may demand payment or delivery of,
and shall receive and collect, directly and without intervention or assistance of any fiscal agent or other
intermediary, all Money and other property payable to or receivable by the Trustee pursuant to this Indenture,
including all payments due on the Pledged Securities, in accordance with the terms and conditions of such Pledged
Securities. The Trustee shall segregate and hold all such Money and property received by it in trust for the Secured
Parties and shall apply it as provided in this Indenture.

        (v)      Each Account shall be a securities account established with the Securities Intermediary in the
name of the Trustee pursuant to section 6.18. The Accounts established by the Trustee pursuant to this Indenture
may include any number of sub-accounts for the convenience of the Trustee or as requested by the Collateral
Manager for convenience in administering the Accounts.

                          Section 10.2 Principal Collection Account_ Interest Collection Account; Custodial
                                           Aceount_ Uninvested Proceeds Account_ Synthetic Security Collateral
                                           Aceount_ Synthetic Security Issuer Account.

          (a)      The Trustee shall, prior to the Closing Date, cause to be established a securities account which
shall be designated as the "Interest Collection Account," which shall be a non-interest bearing, segregated trust
account established with the Securities Intermediary in the name of the Trustee and held by the Trustee in trust for
the benefit of the Secured Parties, to which the Trustee shall from time to time credit, in addition to the credits
required pursuant to Section 10.9(d), (i) all amounts, if any, received by the Issuer pursuant to the Interest Rate
Swap Agreement (other than amounts received by the Issuer by reason of an Event of Default or Termination Event
(each as defined in such Interest Rate Swap Agreement)), (ii) all proceeds received from the disposition of any
Collateral to the extent such proceeds constitute "Interest Proceeds" and (iii) all other Interest Proceeds.

         (b)      The Trustee shall, prior to the Closing Date, cause to be established a securities account which
shall be designated as the "Principal Collection Account," which shall be a non-interest bearing, segregated mast
account established with the Securities Intermediary in the name of the Trustee and held by the Trustee in mast for
the benefit of the Secured Parties, to which the Trustee shall from time to time credit, in addition to the credits
required pursuant to Section 10.9(d), (i) all proceeds received from the disposition of any Collateral to the extent
such proceeds constitute "Principal Proceeds" and (ii) all other Principal Proceeds.

          (c)      The Issuer may, but under no circumstances shall be required to, credit to or cause to be credited
to a Collection Account from time to time such funds as it deems, in its sole discretion, to be advisable and, to the
extent such funds do not constitute "Interest Proceeds" or "Principal Proceeds" may, by notice to the Trustee
designate that such funds are to be treated as Principal Proceeds or Interest Proceeds hereunder at the Issuer's
discretion. All funds credited from time to time to a Collection Account pursuant to this Indenture shall be held by
the Trustee as part of the Collateral and shall be applied to the purposes herein provided. The Collection Accounts
shall remain at all times with a financial institution having a long-term debt rating of at least "BBB+" by Standard &
Poor's, at least "Baal" by Moody's, and at least "BBB+" by Fitch and a combined capital and surplus in excess of
$200,000,000.




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          (d)      All Distributions, any credit required pursuant to Section 10.2(e) and any net proceeds from the
sale or disposition of an Underlying Asset or Equity Security received by the Trustee shall be immediately credited
to the Interest Collection Account or the Principal Collection Account, as the case may be. Subject to Sections
10.2(e), 10.2(0, 10.2(g) and 16.1, all amounts credited to the Collection Accounts, together with any securities in
which funds included in such property are or will be invested during the term of this Indenture, and any income or
other gain realized from such investments, shall be held by the Trustee in the Collection Accounts as part of the
Collateral subject to disbursement and withdrawal as provided in this Section 10.2. By Issuer Order executed by an
Authorized Officer of the Collateral Manager (which may be in the form of standing instructions), the Issuer shall at
all times direct the Trustee to, and, upon receipt of such Issuer Order, the Trustee shall, invest all funds credited to
the Collection Accounts during a Due Period, and amounts received in prior Due Periods and retained in the
Collection Accounts, as so directed in Eligible Investments; provided, however, that if the Trustee shall not have
received such Issuer Order or such standing instructions, subject to Section 10.2(e), it shall invest in an investment
which complies with paragraph (c) of the defmition of Eligible Investments. The Trustee, within one Business Day
after receipt of any Distribution or other proceeds which are not Cash, shall so notify the Issuer and the Issuer shall,
within five Business Days of receipt of such notice from the Trustee, sell such Distribution or other proceeds for
Cash in an arms length transaction to a Person which is not an Affiliate of the Issuer or the Collateral Manager and
credit the proceeds thereof to the Interest Collection Account or Principal Collection Account, as the case may be,
for investment pursuant to this Section 10.2; provided that the Issuer need not sell such Distributions or other
proceeds if it delivers an Officer's certificate to the Trustee certifying that such Distributions or other proceeds
constitute Underlying Assets or Eligible Investments.

          (e)      If, prior to the occurrence of an Event of Default, the Issuer shall not have given any investment
directions pursuant to Section 10.2(d), the Trustee shall seek instructions from the Collateral Manager within three
Business Days after transfer of such funds to a Collection Account. If the Trustee does not thereupon receive
written instructions fi'om the Collateral Manager within five Business Days after transfer of such funds to a
Collection Account, it shall invest and reinvest the funds held in such Collection Account, as fully as practicable, but
only in one or more Eligible Investments of the type described in paragraph (c) of the definition thereof. After the
occurrence of an Event of Default, the Trustee shall invest and reinvest such funds as fully as practicable in Eligible
Investments of the type described in clause (c) of the definition thereof maturing not later than the earlier of (i) 30
days after the date of such investment or (ii) the Business Day immediately preceding the next Distribution Date.
All interest and other income from such investments shall be credited to such Collection Account, any gain realized
from such investments shall be credited to such Collection Account, and any loss resulting from such investments
shall be charged to such Collection Account. Any gain or loss with respect to an Eligible Investment shall be
allocated in such a manner as to increase or decrease, respectively, Principal Proceeds and/or Interest Proceeds in the
proportion which the amount of Principal Proceeds and/or Interest Proceeds used to acquire such Eligible
Investment bears to the purchase price thereof. The Trustee does not guarantee the performance of any Eligible
Investment and shall not in any way be held liable by reason of any insufficiency of any Account resulting from any
loss relating to any investment; provided that nothing herein shall relieve the Bank of its obligations under any
security or obligation issued by the Bank or any Affiliate thereof.

          (f)      The Trustee shall transfer to the Payment Account for application pursuant to Section 11. l(a) and
in accordance with the calculations and the instructions contained in the Note Valuation Report prepared by or on
behalf of the Issuer pursuant to Section 10.8(b), on or prior to the Business Day prior to each Distribution Date, any
amounts then held in the Collection Accounts other than Interest Proceeds or Principal Proceeds received after the
end of the Due Period with respect to such Distribution Date; except that, to the extent that Principal Proceeds in the
Principal Collection Account as of such date are in excess of the amounts required to be applied pursuant to the
Priority of Payments on the next Distribution Date as shown in the Note Valuation Report with respect to such
Distribution Date, the Issuer or the Collateral Manager on behalf of the Issuer may direct the Trustee to retain such
excess amounts in the Principal Collection Account and not to transfer such excess amounts to the Payment
Account.

         (g)   The Trustee shall apply amounts credited to in the Collection Accounts in accordance with any
Redemption Date Statement delivered to the Trustee in connection with the redemption of Securities pursuant to
Section 9.1.




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          (h)        TheTrusteeshall,uponIssuerOrder,applyamounts
                                                                creditedto in thePrincipalCollection
Account in accordance with Section 11.1.

           (i)     The Trustee shall, prior to the Closing Date, establish at the Securities Intermediary a securities
account which shall be designated as the "Custodial Account," which shall be a non-interest beating, segregated
trust account established with the Securities Intermediary in the name of the Trustee and held by the Trustee in trust
for the benefit of the Secured Parties and to which the Trustee shall from time to time credit Collateral. All
Collateral from time to time credited to the Custodial Account pursuant to this Indenture shall be held by the Trustee
as part of the Collateral and shall be applied to the purposes herein provided. The Trustee agrees to give the Issuer
immediate notice if a Trust Officer receives written notice that the Custodial Account or any funds or property
credited thereto, have become subject to any writ, order judgment, warrant of attachment, execution or similar
process. The Issuers shall not have any legal, equitable or beneficial interest in the Custodial Account other than in
accordance with the Priority of Payments.        The Custodial Account shall remain at all times with a financial
institution having a long-term debt rating of at least "BBB+" by Standard & Poor's, at least "Baal" by Moody's, and
at least "BBB+" by Fitch and a combined capital and surplus in excess of $200,000,000 and subject to supervision
by federal or state authority.

          (j)       The Trustee shall credit the net proceeds (if any) from the issuance and sale of the Securities
(including the net proceeds from the issuance and sale of the Preference Shares to be transferred by the Preference
Share Paying Agent to the Trustee pursuant to the Preference Share Paying Agency Agreement) that are not invested
in Underlying Assets on the Closing Date, that are not credited to the Collection Accounts on the Closing Date, and
that are not credited to the Expense Account pursuant to Section 10.4 on the Closing Date in a non-interest bearing,
segregated trust account established with the Securities Intermediary in the name of the Trustee and held by the
Trustee in trust for the benefit of the Secured Parties (which shall be designated as the "Uninvested Proceeds
Account"). The Collateral Manager on behalf of the Issuer may by Issuer Order direct the Trustee to, and upon
receipt of the Issuer Order the Trustee shall, apply funds in the Uninvested Proceeds Account to purchase
Underlying Assets or Eligible Investments designated by the Collateral Manager, which Eligible Investments shall
be in overnight deposits. Investment earnings on Eligible Investments in the Uninvested Proceeds Account will be
transferred to the Interest Collection Account and treated as Interest Proceeds on the First Distribution Date.: In
addition, any Uninvested Proceeds in the Uninvested Proceeds Account on the Determination Date preceding the
First Distribution shall be transferred to the Payment Account and treated as Principal Proceeds on the First
Distribution Date and distributed in accordance with Section 11.1. The Uninvested Proceeds Account shall remain
at all times with a financial institution having a long-term debt rating of at least "BBB+" by Standard & Poor's, at
least "Baal" by Moody's, and at least "BBB+" by Fitch and a combined capital and surplus in excess of
$200,000,000 and subject to supervision by federal or state authority.

          (k)       The Trustee shall establish one segregated securities account, with respect to each Synthetic
Security Counterparty, (each such account, a "Synthetic Security Collateral Account"), that shall be held in trust
in accordance with the applicable Synthetic Security and this Indenture. Upon Manager Order, the Trustee shall
credit to a related Synthetic Security Collateral Account all Cash and Eligible Investments in an amount equal to the
Aggregate Principal/Notional Balance of all Synthetic Securities related to such account to secure the obligations of
the Issuer in accordance with Section 11.1A and the terms of the related Synthetic Security. The Synthetic Security
Collateral Account shall remain at all times with a financial institution having a long-term debt rating of at least
"BBB+" by Standard & Poor's, at least "Baal" by Moody's, and at least "BBB+" by Fitch and a combined capital
and surplus in excess of $200,000,000.

         Amounts credited to a Synthetic Security Collateral Account shall be applied pursuant to Section 11.1A
upon a Manager Order (i) to the payment of any amounts owed by the Issuer to the related Synthetic Security
Counterparty in accordance with the related Synthetic Security on the date any such amounts are due and (ii) if as of
any Determination Date, the Synthetic Security Collateral Amount of such Synthetic Security Collateral Account
exceeds the related Required Synthetic Security Collateral Amount, such excess amount shall be withdrawn from
such Synthetic Security Collateral Account and credited to (a) the Principal Collection Account or with respect to
any substitution, to the Substituted Collateral Account, or (b) if such amounts constitute interest of investments in
Eligible Investments, to the Interest Collection Account.     As directed by a Manager Order and subject to the
previous sentence, cash credited to a Synthetic Security Collateral Account for the benefit of the related Synthetic



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Security
       Counterparty
                  shallbeinvestedin EligibleInvestments.
                                                       Exceptasdescribedin thefirstsentence
                                                                                         of this
paragraph,
         CashandEligibleInvestments
                                  creditedtoaSyntheticSecurity
                                                             Collateral
                                                                      Account,shallnotbeavailable
tomakepayments undertheNotesandshallnotbeconsidered tobeanassetoftheIssuerforpurposesofanyofthe
Collateral
        QualityTestsor theCoverageTests,buttheSynthetic Security
                                                               thatrelates
                                                                         to suchSynthetic
                                                                                        Security
Collateral
        Accountshallbeconsidered
                               anasset oftheIssuer.

        In theeventa Synthetic   Securityis terminatedor novated priorto its scheduled   maturitywithoutthe
occurrence of a "creditevent",orupontheoccurrence  of a "creditevent",in accordance   withSection   ll.IA, the
TrusteeshalldelivertotherelatedSynthetic    Security
                                                   Counterparty suchportionof thecollateral     credited to the
relatedSynthetic SecurityCollateralAccount required
                                                  tomakeanytermination     or novation  payment  owedtosuch
SyntheticSecurity Counterparty,andtheremaining collateral
                                                        creditedtosuchSynthetic   Security Collateral  Account
shallremainsubject tothelienofthisIndenture  andshallbetransferredtotheSubstituted   Collateral Account  in the
caseof a terminationor novation of a SyntheticSecurity
                                                     pursuant toSection  12.1 (a)(v)or in allothercases  tothe
PrincipalCollection Account.Any cash received upon the maturity or liquidation of any collateral credited to a
Synthetic Security Collateral Account shall be Principal Proceeds and credited to the Principal Collection Account.

         (1)       If and to the extent that any Synthetic Security requires the Synthetic Security Counterparty to
secure its obligations with respect to such Synthetic Security, the Trustee shall establish with the Securities
Intermediary a securities account held in trust in the name of the Trustee (each such account, a "Synthetic Security
Issuer Account"). The Trustee shall credit to each Synthetic Security Issuer Account all amounts that are required to
secure the obligations of the Synthetic Security Counterparty in accordance with the terms of such Synthetic
Security. The Synthetic Security Issuer Accounts shall remain at all times with a fmancial institution having a long-
term debt rating of at least "BBB+" by Standard & Poor's, at least "Baal" by Moody's, and at least "BBB+" by Fitch
and a combined capital and surplus in excess of $200,000,000.

         As directed by a Manager Order and in accordance with the applicable Synthetic Security, Cash credited to
a Synthetic Security Issuer Account shall be invested in Eligible Investments. Income received on amounts credited
to each Synthetic Security Issuer Account shall be withdrawn from such account and paid to the related Synthetic
Security Counterparty in accordance with the applicable Synthetic Security.

         Cash and Eligible Investments credited to each Synthetic Security Issuer Account shall not be available to
make payments under the Notes other than as a result of an event of default or termination event under the related
Synthetic Security caused by the related Synthetic Security Counterparty.     Amounts contained in any Synthetic
Security Issuer Account shall not be considered to be an asset of the Issuer for purposes of any of the Collateral
Quality Tests or the Coverage Tests, but the Synthetic Security that relates to such Synthetic Security Issuer
Account shall be so considered an asset of the Issuer.

          Upon the occurrence of an event of default or a termination event under any Synthetic Security, amounts
held in the related Synthetic Security Issuer Account shall, as directed by a Manager Order, be withdrawn by the
Trustee and applied to the payment of any termination payment payable by the related Synthetic Security
Counterparty as a result of such event of default or termination event. Any excess amounts held in a Synthetic
Security Issuer Account after payment of all amounts owing from the related Synthetic Security Counterparty as a
result of an event of default or termination event shall be withdrawn from such Synthetic Security Issuer Account
and paid to the related Synthetic Security Counterparty in accordance with the applicable Synthetic Security.

                          Section 10.3 Payment Account.

         The Trustee shall, prior to the Closing Date, cause to be established a securities account which shall be
designated as the "Payment Account," which shall be a non-interest bearing, segregated trust account established
with the Securities Intermediary in the name of the Trustee and held by the Trustee in trust for the benefit of the
Secured Parties. Any and all funds at any time credited to the Payment Account shall be held in trust by the Trustee
for the benefit of the Secured Parties. Except as provided in Sections 11.1 and 11.2, the only permitted withdrawal
from or application of funds credited to the Payment Account shall be to pay the interest on and the principal of the
Notes in accordance with their terms and the provisions of this Indenture and to credit Excess Amounts to the
Preference Share Payment Account and, upon Issuer Order, to pay Administrative Expenses and other amounts



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specifiedtherein,eachin accordance with thePriorityof Payments.TheTrusteeagrees    to givetheIssuers
immediate noticeif aTrustOfficerreceives
                                       writtennoticethatthePayment Accountoranyfundsorotherproperty
creditedto thePayment   Account,havebecome   subjectto anywrit, order,judgment, warrantof attachment,
executionor similarprocess.TheIssuers shallnothaveanylegal,equitable or beneficial
                                                                                interest
                                                                                       in thePayment
Accountotherthanin accordance  withthePriorityof Payments.  ThePayment  Accountshallremainatalltimes
witha financial
              institution
                        havingalong-term debtratingof atleast"BBB+"by Standard & Poor's,atleast"Baal"
byMoody's,  andatleast"BBB+"byFitchandacombined     capitalandsurplus
                                                                    inexcessof$200,000,000 andsubject
tosupervisionbyfederalorstateauthority.

                          Section 10.4 Expense Account.

          (a)      The Trustee shall, prior to the Closing Date, cause to be established a securities account which
shall be designated as the "Expense Account," which shall be a non-interest bearing, segregated trust account
established with the Securities Intermediary in the name of the Trustee and held by the Trustee in trust for the
benefit of the Secured Parties. Any and all funds at any time credited to the Expense Account shall be held in trust
by the Trustee for the benefit of the Secured Parties. Except as provided in the next sentence and in Sections 6.8(b),
11.1 and 11.2, the only permitted withdrawal fi:om or application of funds credited to the Expense Account shall be
to pay (on any day other than a Distribution Date) accrued and unpaid Administrative Expenses of the Issuers as
consented to by the Collateral Manager (other than fees of the Trustee but including other amounts payable by the
Issuer to the Collateral Manager under the Management Agreement or the Indenture). Amounts credited to the
Expense Account shall be (i) applied on or prior to the first Determination Date, upon delivery of written
instructions from the Collateral Manager to the Trustee, to pay amounts due in connection with the offering of the
Securities, and (ii) on the First Distribution Date, to the extent that the Balance of the Expense Account exceeds
$150,000 on the related Determination Date, transferred to the Payment Account and applied as Interest Proceeds.
On the Closing Date, the Trustee shall credit to the Expense Account an amount set forth in the Funding Certificate
(attached hereto as Exhibit E) from the net proceeds received by the Issuer on such date from the initial issuance of
the Securities and from any other sources. Thereafter, the Trustee shall transfer to the Expense Account from the
Payment Account amounts required to be credited thereto pursuant to Section l l.l(a) and in accordance with the
calculations and the instruction contained in the Note Valuation Report prepared by the Issuer pursuant to Section
10.8(b). On the date on which substantially all of the Issuer's assets have been sold or otherwise disposed of, the
Issuer by Issuer Order executed by an Authorized Officer of the Collateral Manager shall direct the Trustee to, and,
upon receipt of such Issuer Order, the Trustee shall, transfer all amounts credited to the Expense Account to the
Payment Account for application pursuant to Section 11.1(a) as Interest Proceeds on the immediately succeeding
Distribution Date.
          i


          (b)      The Trustee agrees to give the Issuers immediate notice if a Trust Officer receives written notice
that the Expense Account or any funds or other property credited to the Expense Account, has become subject to any
writ, order, judgment, warrant of attachment, execution or similar process. The Expense Account shall remain at all
times with a financial institution having a long-term debt rating of at least "BBB+" by Standard & Poor's, at least
"Baal" by Moody's, and at least "BBB+" by Fitch and a combined capital and surplus in excess of $200,000,000 and
subject to supervision by federal or state authority.

         (c)       By Issuer Order executed by an Authorized Officer of the Collateral Manager (which may be in
the form of standing instructions), the Issuer shall at all times direct the Trustee to, and, upon receipt of such Issuer
Order the Trustee shall, invest all funds credited to the Expense Account during a Due Period, and amounts received
in prior Due Periods and retained in the Expense Account, as so directed in Eligible Investments. All interest and
other income from such investments shall be credited to the Expense Account, any gain realized from such
investments shall be credited to the Expense Account, and any loss resulting from such investments shall be charged
to the Expense Account.

                          Section   10.5 Interest   Rate Swap Counterparty   Collateral   Accounts.

         If and to the extent that the Interest Rate Swap Agreement requires the Interest Rate Swap Counterparty to
secure its obligations with respect to such Interest Rate Swap Agreement, the Issuer will establish a securities
account (each such account, an "Interest Rate Swap Counterparty Collateral Account") which shall be a non-interest



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bearing,segregated
                 trustaccount
                           established
                                    withtheSecurities
                                                    Intermediary
                                                              inthename
                                                                      oftheTrustee
                                                                                 andshallbe
heldin trustbytheTrustee.TheTrustee
                                  shallcredittoanInterest
                                                        RateSwapCounterparty
                                                                         Collateral
                                                                                 Account all
amounts, securities and other collateral that are received from the Interest Rate Swap Counterparty to secure the
obligations of such Interest Rate Swap Counterparty in accordance with the terms of the Interest Rate Swap
Agreement. Except for investment earnings, no Interest Rate Swap Counterparty shall have any legal, equitable or
beneficial interest in the Interest Rate Swap Counterparty Collateral Accounts, other than in accordance with this
Indenture, the Interest Rate Swap Agreement and applicable law.

         As directed by an Issuer Order executed by an Authorized Officer of the Collateral Manager in accordance
with the Interest Rate Swap Agreement, amounts credited to an Interest Rate Swap Counterparty Collateral Account
shall be invested in Eligible Investments.     Income received on amounts credited to the Interest Rate Swap
Counterparty Collateral Accounts shall be withdrawn from such account and paid to the Interest Rate Swap
Counterparty in accordance with the Interest Rate Swap Agreement.

         As directed by an Issuer Order executed by an Authorized Officer of the Collateral Manager, amounts
credited to an Interest Rate Swap Counterparty Collateral Account shall be withdrawn by the Trustee and paid to the
Interest Rate Swap Counterparty in accordance with the terms of the Interest Rate Swap Agreement.

          Amounts credited to the Interest Rate Swap Counterparty Accounts shall not be considered to be an asset of
the Issuer for purposes of any of the Collateral Quality Tests or Coverage Tests.

         Upon the occurrence of an Event of Default or a Termination Event (each as defined in the Interest Rate
Swap Agreement) under the Interest Rate Swap Agreement, amounts credited to the Interest Rate Swap
Counterparty Collateral Account shall, as directed by the Collateral Manager in writing, be withdrawn by the
Trustee and applied to the payment of any termination payment due to the Issuer under the Interest Rate Swap
Agreement as a result of any Event of Default or Termination Event. Any excess amounts credited to such Interest
Rate Swap Counterparty Collateral Account after payment of all amounts owing from the Interest Rate Swap
Counterparty to the Issuer as a result of an Event of Default or Termination Event shall be withdrawn from such
Interest Rate Swap Counterparty Collateral Account and paid to such Interest Rate Swap Counterparty in accordance
with the Interest Rate Swap Agreement. The Interest Rate Swap Counterparty Collateral Account shall remain at all
times with a financial institution having a long-term debt rating of at least "BBB+" by Standard & Poor's, at least
"Baal" by Moody's, and if so rated, such rating is not on watch for downgrade and at least "BBB+" by Fitch and a
combined capital and surplus in excess of $200,000,000 and subject to supervision by federal or state authority.

                          Section 10.6 Substituted   Collateral Account.

          The Trustee shall, prior to the Closing Date, cause to be established a securities account which shall be
designated as the "Substituted Collateral Account," which shall be a non-interest bearing, segregated trust account
established with the Securities Intermediary in the name of the Trustee and held by the Trustee in trust for the
benefit of the Secured Parties. Any and all funds at any time credited to the Substituted Collateral Account shall be
held in trust by the Trustee for the benefit of the Secured Parties.

          The Trustee, if so directed in writing by the Collateral Manager shall withdraw any amount identified by
the Collateral Manager for acquisition of Eligible Substitute Assets; provided that the condition set forth in Section
12.1(a)(v) is satisfied.

          Trustee shall withdraw any amount credited to the Substituted Collateral Account 10 Business Days after
such amount was credited to the Substituted Collateral Account, and credit such amount to the Principal Collection
Account to be applied as Principal Proceeds. In no event shall Substituted Collateral Proceeds be deemed to be
Interest Proceeds.

          The Trustee agrees to give the Issuers immediate notice if a Trust Officer receives written notice that the
Substituted Collateral Account or any funds or other property credited to the Substituted Collateral Account, has
become subject to any writ, order, judgment, warrant of attachment, execution or similar process. The Substituted
Collateral Account shall remain at all times with a financial institution having a long-term debt rating of at least



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"BBB+"by Standard& Poor's,
                        atleast"Baal"by Moody's,
                                              andatleast"BBB+"byFitchanda combined
                                                                                 capital
andsurplus
         in excess
                of$200,000,000
                             andsubject
                                      tosupervision
                                                 byfederal
                                                         orstateauthority.
                          Section 10.7 General Reporting by Trustee.

          (a)      The Trustee shall supply in a timely fashion to each Rating Agency, the Issuer, the Collateral
Administrator and the Collateral Manager any information regularly maintained by the Trustee that the Issuer or the
Collateral Manager may from time to time reasonably request with respect to the Pledged Securities, the Expense
Account, the Interest Collection Account, the Principal Collection Account, the Payment Account, the Uninvested
Proceeds Account or the Interest Rate Swap Counterparty Collateral Accounts reasonably needed to complete the
Note Valuation Report, the Monthly Report or the Redemption Statement and shall provide any other information
reasonably available to the Trustee by reason of its acting as Trustee hereunder to permit the Collateral Manager to
perform its obligations under the Management Agreement.

          (b)       [Reserved]

         (c)       The Trustee shall forward to the Issuer, the Preference Share Paying Agent, the Collateral
Manager and to any Holder or Beneficial Holder of a Note shown on the Note Register or to the Interest Rate Swap
Counterparty, in each case, upon request therefor, copies of notices and other writings received by it from the issuer
of any Asset-Backed Security or from any Clearing Agency with respect to any Asset-Backed Security advising the
holders of such security of any rights that the holders might have with respect thereto (including notices of calls and
redemptions of securities) as well as all periodic financial reports received from such issuer and Clearing Agencies
with respect to such issuer.

         (d)       The Trustee shall, so long as any Class of Notes is listed on the Exchange and the rules of the
Exchange so require, notify the Exchange not later than the Business Day preceding each Distribution Date of the
amount of principal payments to be made on the Notes of each Class on such Distribution Date, the amount of any
Deferred Interest in respect of the Class C Notes, the Class D Notes or the Class E Notes and the Aggregate
Outstanding Amount of the Notes of each Class and as a percentage of the original Aggregate Outstanding Amount
of the Notes of such Class after giving effect to the principal payments, if any, on such Distribution Date.

                          Section 10.8 Reports   by the Issuer.

          (a)       Monthly. Not later than the eighth Business Day after the last day of each month (excluding any
month immediately preceding a month in which a Note Valuation Report is rendered) commencing with the [eighth]
Business Day after the last day of September 2006, the Issuer shall deliver, or cause to be delivered to the Trustee,
Moody's, Standard & Poor's (via e-mail to CDO_Surveillance@standardandpoors.com),         the Collateral Manager, the
Preference Share Paying Agent, each Synthetic Security Counterparty, the Interest Rate Swap Counterparty, the
Initial Investment Agreement Provider, and, upon written request therefor in the form of Schedule I attached hereto
certifying that it is a Holder of a Note or beneficial interest in any Note, each Holder of a beneficial interest in a
Note (or its designee), a monthly report (the "Monthly Report") containing the following information and
instructions with respect to the Pledged Securities included in the Collateral, determined as of the [last day of such
calendar month] (based, in part, on information received from the Collateral Manager):

                    (i)     (A) the Aggregate Principal/Notional Balance of all Underlying Assets, together with a
          calculation, in reasonable detail, of the sum of (i) the Aggregate Principal/Notional Balance of all
          Underlying Assets (other than Defaulted Securities and Written Down Securities) plus (ii) with respect to
          each Defaulted Security, the Calculation Amount of such Defaulted Security plus (iii) with respect to each
          Written Down Security, the Aggregate Principal/Notional Balance of all such Written Down Securities; and
          03) the Balance of all Eligible Investments and Cash in each of the Interest Collection Account, the
          Principal Collection Account, the Uninvested Proceeds Account, any Synthetic Security Collateral
          Account, the Synthetic Security Issuer Account, the Substituted Collateral Account and the Expense
          Account;




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